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                            EXHIBIT A




                                                                     Exhibit A
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                                                                              113TH CONGRESS                                                                                              REPORT
                                                                                             " HOUSE OF REPRESENTATIVES                                                           !
                                                                                 1st Session                                                                                              113–44




                                                                              TO ENACT TITLE 54, UNITED STATES CODE, ‘‘NATIONAL
                                                                               PARK SERVICE AND RELATED PROGRAMS’’, AS A POSI-
                                                                               TIVE LAW TITLE


                                                                                     APRIL 19, 2013.—Referred to the House Calendar and ordered to be printed



                                                                                          Mr. GOODLATTE, from the Committee on the Judiciary,
                                                                                                       submitted the following


                                                                                                                               R E P O R T
                                                                                                                            [To accompany H.R. 1068]

                                                                                                 [Including cost estimate of the Congressional Budget Office]

                                                                                The Committee on the Judiciary, to whom was referred the bill
                                                                              (H.R. 1068) to enact title 54, United States Code, ‘‘National Park
                                                                              Service and Related Programs’’, as positive law, having considered
                                                                              the same, report favorably thereon and recommend that the bill do
                                                                              pass.
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                                                                                    29–006




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                                                                                                              Purpose and Summary
                                                                                H.R. 1068 gathers provisions relating to the National Park Serv-
                                                                              ice and related programs and restates these provisions as a new
                                                                              positive law title of the United States Code. The new title replaces
                                                                              the former provisions, which are repealed by the bill.
                                                                                                Background and Need for the Legislation
                                                                                 Since the mid-19th century, numerous laws relating to the orga-
                                                                              nization and management of the National Park System by the Na-
                                                                              tional Park Service have been enacted. The Service also is respon-
                                                                              sible for carrying out the Historic Sites, Buildings, and Antiquities
                                                                              Act, the National Historic Preservation Act, and other laws relating
                                                                              to protecting and preserving sites that illustrate America’s history.
                                                                              These laws have been classified as part of title 16, United States
                                                                              Code, ‘‘Conservation’’, but are classified throughout title 16 rather
                                                                              than being in one distinct place in the title. Furthermore, as laws
                                                                              relating to the National Park System are amended and new laws
                                                                              are enacted that relate closely to these laws, the Code classifica-
                                                                              tions have become cumbersome to use.
                                                                                 The bill gathers provisions relating to the National Park Service
                                                                              and related programs and restates these provisions as a new posi-
                                                                              tive law title of the United States Code. The new positive law title
                                                                              replaces the former provisions, which are repealed by the bill.
                                                                                 The bill was prepared by the Office of the Law Revision Counsel
                                                                              as part of the Office’s ongoing responsibility under section 205(c) of
                                                                              House Resolution No. 988, 93d Congress, as enacted into law by
                                                                              Public Law 93–554 (2 U.S.C. 285b), ‘‘[t]o prepare, and submit to the
                                                                              Committee on the Judiciary one title at a time, a complete compila-
                                                                              tion, restatement, and revision of the general and permanent laws
                                                                              of the United States’’.
                                                                                 H. R. 1950, a predecessor bill to H.R. 1068, was introduced in the
                                                                              112th Congress by Chairman Smith and Ranking Member Conyers
                                                                              on May 23, 2011. When H.R. 1950 was introduced, Chairman
                                                                              Smith placed an introductory statement in the Congressional
                                                                              Record inviting interested parties to review the bill and submit
                                                                              comments to the Law Revision Counsel. A number of comments
                                                                              were received, and H.R. 1950 incorporated revisions made in light
                                                                              of those comments.
                                                                                 H.R. 1950 was ordered favorably reported by the Committee on
                                                                              July 10, 2012. H.R. 1950 passed the House on August 1, 2012, and
                                                                              was received in the Senate and referred to the Committee on the
                                                                              Judiciary on August 2, 2012. No further action was taken during
                                                                              the 112th Congress.
                                                                                 H.R. 1068 was introduced on March 12, 2013, by Chairman
                                                                              Goodlatte and Ranking Member Conyers. It incorporates changes
                                                                              based on laws enacted during the second session of the 112th Con-
                                                                              gress.
                                                                                                                          Hearings
                                                                                   The Committee on the Judiciary held no hearings on H.R. 1068.
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                                                                                                            Committee Consideration
                                                                                On March 14, 2013, the Committee met in open session and or-
                                                                              dered the bill H.R. 1068 favorably reported by a voice vote, a
                                                                              quorum being present.
                                                                                                                   Committee Votes
                                                                                In compliance with clause 3(b) of rule XIII of the Rules of the
                                                                              House of Representatives, the Committee advises that there were
                                                                              no recorded votes during the Committee’s consideration of H.R.
                                                                              1068.
                                                                                                       Committee Oversight Findings
                                                                                 In compliance with clause 3(c)(1) of rule XIII of the Rules of the
                                                                              House of Representatives, the Committee advises that the findings
                                                                              and recommendations of the Committee, based on oversight activi-
                                                                              ties under clause 2(b)(1) of rule X of the Rules of the House of Rep-
                                                                              resentatives, are incorporated in the descriptive portions of this re-
                                                                              port.
                                                                                            New Budget Authority and Tax Expenditures
                                                                                Clause 3(c)(2) of rule XIII of the Rules of the House of Represent-
                                                                              atives is inapplicable because this legislation does not provide new
                                                                              budgetary authority or increased tax expenditures.
                                                                                                Congressional Budget Office Cost Estimate
                                                                                In compliance with clause 3(c)(3) of rule XIII of the Rules of the
                                                                              House of Representatives, the Committee sets forth, with respect to
                                                                              the bill, H.R. 1068, the following estimate and comparison prepared
                                                                              by the Director of the Congressional Budget Office under section
                                                                              402 of the Congressional Budget Act of 1974:
                                                                                                                       U.S. CONGRESS,
                                                                                                          CONGRESSIONAL BUDGET OFFICE,
                                                                                                             Washington, DC, March 27, 2013.
                                                                              Hon. LAMAR SMITH, CHAIRMAN,
                                                                              Committee on the Judiciary,
                                                                              House of Representatives, Washington, DC.
                                                                                DEAR MR. CHAIRMAN: The Congressional Budget Office has pre-
                                                                              pared the enclosed cost estimate for H.R. 1068, a bill to enact title
                                                                              54, United States Code, ‘‘National Park Service and Related Pro-
                                                                              grams,’’ as positive law.
                                                                                If you wish further details on this estimate, we will be pleased
                                                                              to provide them. The CBO staff contact is Martin von Gnechten,
                                                                              who can be reached at 226–2860.
                                                                                     Sincerely,
                                                                                                                 DOUGLAS W. ELMENDORF,
                                                                                                                                DIRECTOR.
                                                                              Enclosure
                                                                              cc: Honorable John Conyers, Jr.
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                                                                                   Ranking Member




                                                                                                                                                                           Exhibit A
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                                                                              H.R. 1068—A bill to enact title 54, United States Code, ‘‘Na-
                                                                               tional Park Service and Related Programs,’’ as positive
                                                                               law.
                                                                                   As ordered reported by the House Committee on the Judiciary
                                                                                                        on March 14, 2013.

                                                                                H.R. 1068 would make technical and conforming changes to es-
                                                                              tablish title 54 of the United States Code as the sole title related
                                                                              to the National Park System. Information from the Office of Law
                                                                              Revision Counsel indicates that the bill would make no substantive
                                                                              changes to the law; therefore, CBO estimates that implementing
                                                                              H.R. 1068 would have no impact on the Federal budget. Enacting
                                                                              H.R. 1068 would not affect direct spending or revenues; therefore,
                                                                              pay-as-you-go procedures do not apply.
                                                                                H.R. 1068 contains no intergovernmental or private-sector man-
                                                                              dates as defined in the Unfunded Mandates Reform Act and would
                                                                              not affect the budgets of State, local, or tribal governments.
                                                                                The CBO staff contact for this estimate is Martin von Gnechten.
                                                                              The estimate was approved by Theresa Gullo, Deputy Assistant Di-
                                                                              rector for Budget Analysis.
                                                                                                      Duplication of Federal Programs
                                                                                 No provision of H.R. 1068 establishes or reauthorizes a program
                                                                              of the Federal government known to be duplicative of another Fed-
                                                                              eral program, a program that was included in any report from the
                                                                              Government Accountability Office to Congress pursuant to section
                                                                              21 of Public Law 111–139, or a program related to a program iden-
                                                                              tified in the most recent Catalog of Federal Domestic Assistance.
                                                                                                   Disclosure of Directed Rule Makings
                                                                                The Committee estimates that H.R. 1068 specifically directs to be
                                                                              completed no specific rule makings within the meaning of 5 U.S.C.
                                                                              551.
                                                                                                     Performance Goals and Objectives
                                                                                 The Committee states that pursuant to clause 3(c)(4) of rule XIII
                                                                              of the Rules of the House of Representatives, H.R. 1068 will enact
                                                                              title 54, United States Code, ‘‘National Park Service and Related
                                                                              Areas’’, as positive law.
                                                                                                              Advisory on Earmarks
                                                                                In accordance with clause 9 of rule XXI of the Rules of the House
                                                                              of Representatives, H.R. 1068 does not contain any congressional
                                                                              earmarks, limited tax benefits, or limited tariff benefits as defined
                                                                              in clause 9(e), 9(f), or 9(g) of Rule XXI.
                                                                                                           Section-by-Section Analysis
                                                                                 The following discussion describes the bill as reported by the
                                                                              Committee.
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                                                                                 Sec. 1. Table of contents. Section 1 sets forth the table of contents
                                                                              of the bill




                                                                                                                                                                           Exhibit A
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                                                                                 Sec. 2. Purpose; conformity with original intent. Section 2 sets
                                                                              forth the purpose of the bill and states that the intent of the bill
                                                                              is to conform to the understood policy, intent, and purpose of Con-
                                                                              gress in the original enactment.
                                                                                 Sec. 3. Enactment of title 54, United States Code. Section 3 enacts
                                                                              title 54, United States Code, ‘‘National Park Service and Related
                                                                              Programs.’’
                                                                                 Sec. 4. Conforming amendments. Section 4 makes conforming
                                                                              amendments required by the enactment of title 54, United States
                                                                              Code.
                                                                                 Sec. 5. Conforming cross-references. Section 5 makes conforming
                                                                              cross-references in laws classified to various titles of the United
                                                                              States Code required by the enactment of title 54, United States
                                                                              Code.
                                                                                 Sec. 6. Transitional and savings provisions. Section 6 sets forth
                                                                              transitional and savings provisions for the bill.
                                                                                 Sec. 7. Repeals. Section 7 repeals provisions replaced by the bill,
                                                                              along with unnecessary and obsolete provisions.
                                                                                     Changes in Existing Law Made by the Bill, as Reported
                                                                                In compliance with clause 3(e) of rule XIII of the Rules of the
                                                                              House of Representatives, changes in existing law made by the bill,
                                                                              H.R. 1068, as reported are shown as follows:
                                                                                                                                         DISPOSITION TABLE
                                                                                The table below shows a disposition for each section of the
                                                                              United States Code affected by the bill. In addition, with respect
                                                                              to provisions of law set out as notes in the United States Code, the
                                                                              table shows a disposition for each provision repealed by the bill.
                                                                                Where the disposition column shows a title 54 citation, it means
                                                                              the provision of law classified to the former United States Code
                                                                              section is being restated and reenacted as part of title 54 by section
                                                                              3 of the bill. The provision is also included in the Schedule of Laws
                                                                              Repealed in section 7 of the bill.
                                                                                Where the disposition column shows ‘‘Repealed . . .’’, it means
                                                                              the provision of law classified to the former United States Code
                                                                              section is being repealed by section 7 of the bill, without being re-
                                                                              stated and reenacted as part of title 54.
                                                                                Where the disposition column shows ‘‘Not repealed but omitted
                                                                              from the text of title 54’’, it means the provision of law classified
                                                                              to the former United States Code section is not being repealed or
                                                                              restated and reenacted as part of title 54 by the bill. After enact-
                                                                              ment of the bill, the Law Revision Counsel will determine whether
                                                                              the provision is to be editorially eliminated from the United States
                                                                              Code or reclassified to a new section or note. In any case, the provi-
                                                                              sion will remain in force.

                                                                                                                                                   Disposition Table
                                                                                                   Former United States Code Section                                                       Disposition

                                                                              16 U.S.C. 1 (1st sentence words before 1st comma) .............                          54 U.S.C. 100301
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                                                                              16 U.S.C. 1 (1st sentence words after 1st comma, 2d                                      54 U.S.C. 100302
                                                                                through 5th sentences).
                                                                              16 U.S.C. 1 (last sentence) ......................................................       54 U.S.C. 100101




                                                                                                                                                                                                                 Exhibit A
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                                                                                                                                                                            6
                                                                                                                                              Disposition Table—Continued
                                                                                                     Former United States Code Section                                                                   Disposition

                                                                              16 U.S.C. 1a .............................................................................        Previously repealed.
                                                                              16 U.S.C. 1a–1 .........................................................................          54 U.S.C. 100101
                                                                              16 U.S.C. 1a–2 (matter before (a)) .........................................                      54 U.S.C. 100751, 100901, 100906, 101302, 101702,
                                                                                                                                                                                   101703, 102102
                                                                              16 U.S.C. 1a–2(a) .....................................................................           54 U.S.C. 101302
                                                                              16 U.S.C. 1a–2(b) .....................................................................           54 U.S.C. 101302
                                                                              16 U.S.C. 1a–2(c) .....................................................................           54 U.S.C. 100906
                                                                              16 U.S.C. 1a–2(d) .....................................................................           54 U.S.C. 101302
                                                                              16 U.S.C. 1a–2(e) .....................................................................           54 U.S.C. 100901
                                                                              16 U.S.C. 1a–2(f) .....................................................................           54 U.S.C. 100901
                                                                              16 U.S.C. 1a–2(g) .....................................................................           54 U.S.C. 101702
                                                                              16 U.S.C. 1a–2(h) .....................................................................           54 U.S.C. 100751
                                                                              16 U.S.C. 1a–2(i) ......................................................................          54 U.S.C. 101302
                                                                              16 U.S.C. 1a–2(j) ......................................................................          54 U.S.C. 101702
                                                                              16 U.S.C. 1a–2(k) .....................................................................           54 U.S.C. 102102
                                                                              16 U.S.C. 1a–2(l ) .....................................................................          54 U.S.C. 101703
                                                                              16 U.S.C. 1a–3 .........................................................................          54 U.S.C. 100754
                                                                              16 U.S.C. 1a–4 .........................................................................          Repealed as obsolete. Provided that the uniform allowance
                                                                                                                                                                                   for uniformed employees of the National Park Service may
                                                                                                                                                                                   be up to $400 annually. Superseded by 5 U.S.C. 5901(a),
                                                                                                                                                                                   which provides a uniform allowance of $400 for employ-
                                                                                                                                                                                   ees of each agency.
                                                                              16 U.S.C. 1a–5 .........................................................................          54 U.S.C. 100507
                                                                              16 U.S.C. 1a–6 .........................................................................          54 U.S.C. 102701
                                                                              16 U.S.C. 1a–7(a) .....................................................................           Repealed as obsolete. Required the Secretary of the Interior
                                                                                                                                                                                   to transmit to the Committee on Energy and National Re-
                                                                                                                                                                                   sources of the Senate and the Committee on Natural Re-
                                                                                                                                                                                   sources of the House of Representatives a detailed pro-
                                                                                                                                                                                   gram for the development of facilities, structures, or
                                                                                                                                                                                   buildings for each unit of the National Park System con-
                                                                                                                                                                                   sistent with general management plans. Repealed as ob-
                                                                                                                                                                                   solete because of the termination of the reporting re-
                                                                                                                                                                                   quirement with respect to Congress, effective May 15,
                                                                                                                                                                                   2000. See section 3003 of the Federal Reports Elimi-
                                                                                                                                                                                   nation and Sunset Act of 1995 (Pub. L. 104–66, 31
                                                                                                                                                                                   U.S.C. 1113 note) and page 110 of House Document No.
                                                                                                                                                                                   103–7.
                                                                              16 U.S.C. 1a–7(b) .....................................................................           54 U.S.C. 100502
                                                                              16 U.S.C. 1a–7a .......................................................................           54 U.S.C. 102702
                                                                              16 U.S.C. 1a–7b (relating to National Park System) ..............                                 54 U.S.C. 104906
                                                                              16 U.S.C. 1a–7b (relating to National Wildlife Refuge Sys-                                        See § 4(d) of bill.
                                                                                tem).
                                                                              16 U.S.C. 1a–8(a) .....................................................................           54 U.S.C. 101301
                                                                              16 U.S.C. 1a–8(b) .....................................................................           Previously repealed.
                                                                              16 U.S.C. 1a–9 through 1a–11 ................................................                     54 U.S.C. 100505
                                                                              16 U.S.C. 1a–12, 1a–13 ..........................................................                 54 U.S.C. 100506
                                                                              16 U.S.C. 1a–14 .......................................................................           54 U.S.C. 100906
                                                                              16 U.S.C. 1b (matter before (1)) ..............................................                   54 U.S.C. 100901, 101901, 102711
                                                                              16 U.S.C. 1b(1) .........................................................................         54 U.S.C. 102711
                                                                              16 U.S.C. 1b(2) .........................................................................         54 U.S.C. 100901
                                                                              16 U.S.C. 1b(3) .........................................................................         Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                                   for transportation of employees of Carlsbad Caverns Na-
                                                                                                                                                                                   tional Park.
                                                                              16 U.S.C. 1b(4) .........................................................................         54 U.S.C. 101901
                                                                              16 U.S.C. 1b(5) through (8) .....................................................                 54 U.S.C. 100901
                                                                              16 U.S.C. 1c(a) .........................................................................         54 U.S.C. 100501
                                                                              16 U.S.C. 1c(b) .........................................................................         54 U.S.C. 100755
                                                                              16 U.S.C. 1d .............................................................................        54 U.S.C. 103102
                                                                              16 U.S.C. 1e ..............................................................................       54 U.S.C. 102302
                                                                              16 U.S.C. 1f ..............................................................................       54 U.S.C. 101701
                                                                              16 U.S.C. 1g .............................................................................        54 U.S.C. 101702
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                                                                              16 U.S.C. 1h .............................................................................        54 U.S.C. 103103
                                                                              16 U.S.C. 1i ..............................................................................       54 U.S.C. 101704
                                                                              16 U.S.C. 1j(a) through (c) ......................................................                54 U.S.C. 101702




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                                                                                                                                                                            7
                                                                                                                                              Disposition Table—Continued
                                                                                                     Former United States Code Section                                                                   Disposition

                                                                              16 U.S.C. 1j(d) ..........................................................................        Repealed as unnecessary. Authorized to be appropriated
                                                                                                                                                                                  sums necessary to carry out this section.
                                                                              16 U.S.C. 2 ...............................................................................       54 U.S.C. 100302
                                                                              16 U.S.C. 3 (1st sentence words before ‘‘and any violation’’)                                     54 U.S.C. 100751
                                                                              16 U.S.C. 3 (1st sentence words after ‘‘National Park Serv-                                       See § 4(a)(1) of bill.
                                                                                ice’’).
                                                                              16 U.S.C. 3 (2d sentence) ........................................................                54 U.S.C. 100753
                                                                              16 U.S.C. 3 (3d sentence) ........................................................                54 U.S.C. 100752
                                                                              16 U.S.C. 3 (last sentence) ......................................................                54 U.S.C. 102101
                                                                              16 U.S.C. 3a .............................................................................        54 U.S.C. 103104
                                                                              16 U.S.C. 3b .............................................................................        Repealed as obsolete. Provided that privileges, leases, and
                                                                                                                                                                                   permits granted by the Secretary to use land to accom-
                                                                                                                                                                                   modate park visitors could have provided for the mainte-
                                                                                                                                                                                   nance and repair of Government improvements by the
                                                                                                                                                                                   grantee. The grant authority was repealed in 1998.
                                                                              16 U.S.C. 4 ...............................................................................       54 U.S.C. 100303
                                                                              16 U.S.C. 5 ...............................................................................       100902
                                                                              16 U.S.C. 6 ...............................................................................       54 U.S.C. 101101
                                                                              16 U.S.C. 6a .............................................................................        Previously repealed.
                                                                              16 U.S.C. 7 ...............................................................................       Previously repealed.
                                                                              16 U.S.C. 7a through 7e ..........................................................                54 U.S.C. 101501
                                                                              16 U.S.C. 8 ...............................................................................       54 U.S.C. 101511
                                                                              16 U.S.C. 8–1 ...........................................................................         Previously repealed.
                                                                              16 U.S.C. 8a through 8c ..........................................................                54 U.S.C. 101511
                                                                              16 U.S.C. 8d .............................................................................        Repealed as unnecessary. National monuments are included
                                                                                                                                                                                   in the term ‘‘System unit’’.
                                                                              16 U.S.C. 8e, 8f ........................................................................         54 U.S.C. 101512
                                                                              16 U.S.C. 9 ...............................................................................       Previously repealed.
                                                                              16 U.S.C. 9a .............................................................................        Repealed as unnecessary. Under 16 U.S.C. 3 (1st sentence),
                                                                                                                                                                                   restated as section 100751(a) of the new title, the Sec-
                                                                                                                                                                                   retary of the Interior may make such regulations as the
                                                                                                                                                                                   Secretary considers necessary or proper for the use and
                                                                                                                                                                                   management of System units and a criminal penalty is
                                                                                                                                                                                   provided for a violation of those regulations.
                                                                              16 U.S.C. 10 .............................................................................        Previously repealed.
                                                                              16 U.S.C. 10a ...........................................................................         Previously repealed.
                                                                              16 U.S.C. 11 .............................................................................        54 U.S.C. 101303
                                                                              16 U.S.C. 12 .............................................................................        54 U.S.C. 102712
                                                                              16 U.S.C. 13 .............................................................................        54 U.S.C. 101303
                                                                              16 U.S.C. 14 .............................................................................        Previously repealed.
                                                                              16 U.S.C. 14a ...........................................................................         Repealed as obsolete and unnecessary. Made appropriations
                                                                                                                                                                                   available for the printing of cloth information and direc-
                                                                                                                                                                                   tional signs.
                                                                              16 U.S.C. 14b through 14e ......................................................                  54 U.S.C. 103101
                                                                              16 U.S.C. 15 .............................................................................        54 U.S.C. 103101
                                                                              16 U.S.C. 16 .............................................................................        54 U.S.C. 104901
                                                                              16 U.S.C. 17 .............................................................................        54 U.S.C. 101304
                                                                              16 U.S.C. 17a ...........................................................................         Previously repealed.
                                                                              16 U.S.C. 17b ...........................................................................         54 U.S.C. 104902
                                                                              16 U.S.C. 17b–1 .......................................................................           Previously repealed.
                                                                              16 U.S.C. 17c ............................................................................        54 U.S.C. 102712
                                                                              16 U.S.C. 17d ...........................................................................         Repealed as obsolete. Provided that section 543 of former
                                                                                                                                                                                   title 31 should not be construed to prohibit the accept-
                                                                                                                                                                                   ance of traveler’s checks and other forms of money
                                                                                                                                                                                   equivalent in payment of automobile license fees, etc.
                                                                                                                                                                                   charged at national parks. Section 543 was repealed by
                                                                                                                                                                                   section 5(b) of Public Law 97–258.
                                                                              16 U.S.C. 17e ............................................................................        54 U.S.C. 104903
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                                                                              16 U.S.C. 17f through 17h .......................................................                 54 U.S.C. 101304
                                                                              16 U.S.C. 17i ............................................................................        54 U.S.C. 104904
                                                                              16 U.S.C. 17j ............................................................................        54 U.S.C. 101305




                                                                                                                                                                                                                                                Exhibit A
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                                                                                                                                                                           8
                                                                                                                                              Disposition Table—Continued
                                                                                                     Former United States Code Section                                                                   Disposition

                                                                              16 U.S.C. 17j–1 ........................................................................         Repealed as obsolete. Provision relating to travel expenses
                                                                                                                                                                                  for attendance of National Park Service field employees at
                                                                                                                                                                                  authorized meetings was last enacted as section 1 (pro-
                                                                                                                                                                                  viso in paragraph headed ‘‘General expenses’’ under
                                                                                                                                                                                  heading ‘‘NATIONAL PARK SERVICE’’) of the Interior De-
                                                                                                                                                                                  partment Appropriations Act, 1941 (ch. 395, 54 Stat.
                                                                                                                                                                                  445) and was not repeated in subsequent appropriation
                                                                                                                                                                                  acts.
                                                                              16 U.S.C. 17j–2(a) ....................................................................          Not repealed but omitted from the text of title 54. Authorizes
                                                                                                                                                                                  appropriations for necessary protection of various system
                                                                                                                                                                                  units.
                                                                              16 U.S.C. 17j–2(b) through (g) ................................................                  54 U.S.C. 103102
                                                                              16 U.S.C. 17j–2(h) ....................................................................          Not repealed but omitted from the text of title 54. Authorizes
                                                                                                                                                                                  appropriations for acquisition of rights-of-way and main-
                                                                                                                                                                                  tenance of a water supply line outside the boundaries of
                                                                                                                                                                                  Mesa Verde National Park.
                                                                              16 U.S.C. 17j–2(i), (j) ...............................................................          54 U.S.C. 103102
                                                                              16 U.S.C. 17k through 17n ......................................................                 54 U.S.C. 100504
                                                                              16 U.S.C. 17o (1) ......................................................................         Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                                  purposes of this section.
                                                                              16 U.S.C. 17o (2) ......................................................................         54 U.S.C. 101332
                                                                              16 U.S.C. 17o (3) ......................................................................         54 U.S.C. 101333
                                                                              16 U.S.C. 17o (4) ......................................................................         Repealed as obsolete. Required that a report detailing the
                                                                                                                                                                                  results of revisions of housing criteria be submitted to
                                                                                                                                                                                  the Committee on Resources of the House of Representa-
                                                                                                                                                                                  tives and the Committee on Energy and Natural Re-
                                                                                                                                                                                  sources of the Senate not later than 180 days after No-
                                                                                                                                                                                  vember 12, 1996.
                                                                              16 U.S.C. 17o (5) ......................................................................         Repealed as obsolete. Provided that the Secretary undertake
                                                                                                                                                                                  a review of existing Government-owned housing provided
                                                                                                                                                                                  to employees of the National Park Service.
                                                                              16 U.S.C. 17o (6) ......................................................................         54 U.S.C. 101334
                                                                              16 U.S.C. 17o (7), (8) ...............................................................           54 U.S.C. 101335
                                                                              16 U.S.C. 17o (9) ......................................................................         54 U.S.C. 101332
                                                                              16 U.S.C. 17o (10) ....................................................................          54 U.S.C. 101336
                                                                              16 U.S.C. 17o (11) ....................................................................          54 U.S.C. 101337
                                                                              16 U.S.C. 17o (12) ....................................................................          54 U.S.C. 101339
                                                                              16 U.S.C. 17o (13), (14) ...........................................................             54 U.S.C. 101340
                                                                              16 U.S.C. 17o (15) ....................................................................          Repealed as obsolete. Provided that within 12 months after
                                                                                                                                                                                  November 12, 1996, the Secretary shall conduct a study
                                                                                                                                                                                  to determine the feasibility of providing eligible employ-
                                                                                                                                                                                  ees of the National Park Service with housing allowances
                                                                                                                                                                                  rather than Government housing.
                                                                              16 U.S.C. 17o (16) ....................................................................          Repealed as obsolete. Provided that within 18 months after
                                                                                                                                                                                  November 12, 1996, the Secretary complete a study of
                                                                                                                                                                                  the sale of Government quarters to a cooperative con-
                                                                                                                                                                                  sisting of field employees.
                                                                              16 U.S.C. 17o (17)(A), (B) .........................................................             54 U.S.C. 101332
                                                                              16 U.S.C. 17o (17)(C) ................................................................           54 U.S.C. 101338
                                                                              16 U.S.C. 17o (18) ....................................................................          54 U.S.C. 101338
                                                                              16 U.S.C. 17o (19) ....................................................................          54 U.S.C. 101331
                                                                              16 U.S.C. 18 .............................................................................       Transfer to 15 U.S.C. 1543
                                                                              16 U.S.C. 18a ...........................................................................        Transfer to 15 U.S.C. 1544
                                                                              16 U.S.C. 18b ...........................................................................        Transfer to 15 U.S.C. 1545
                                                                              16 U.S.C. 18c ............................................................................       Transfer to 15 U.S.C. 1546
                                                                              16 U.S.C. 18d ...........................................................................        Transfer to 15 U.S.C. 1547
                                                                              16 U.S.C. 18e ............................................................................       Previously repealed.
                                                                              16 U.S.C. 18f (1st sentence) ....................................................                54 U.S.C. 102501
                                                                              16 U.S.C. 18f (less 1st sentence) ............................................                   54 U.S.C. 102503
                                                                              16 U.S.C. 18f–1 ........................................................................         Not repealed but omitted from text of title 54. Provides that
                                                                                                                                                                                  the Secretary may exercise the authorities granted in 16
                                                                                                                                                                                  U.S.C. 18f in administration of the Department of the In-
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                                                                                                                                                                                  terior Museum and may dispose of unnecessary or dupli-
                                                                                                                                                                                  cate museum objects.
                                                                              16 U.S.C. 18f–2(a) ...................................................................           54 U.S.C. 102503




                                                                                                                                                                                                                                                Exhibit A
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                                                                                                                                                                           9
                                                                                                                                              Disposition Table—Continued
                                                                                                     Former United States Code Section                                                                  Disposition

                                                                              16 U.S.C. 18f–2(b) ...................................................................           54 U.S.C. 102504
                                                                              16 U.S.C. 18f–3(a) ...................................................................           Repealed as obsolete. Provided that authorities were avail-
                                                                                                                                                                                  able to the Secretary with regard to museum objects and
                                                                                                                                                                                  collections under the administrative jurisdiction of the
                                                                                                                                                                                  Secretary before November 12, 1996, as well as those ac-
                                                                                                                                                                                  quired on or after November 12, 1996.
                                                                              16 U.S.C. 18f–3(b) ...................................................................           54 U.S.C. 102502
                                                                              16 U.S.C. 18g through 18j .......................................................                54 U.S.C. 102301
                                                                              16 U.S.C. 19 through 19c ........................................................                Previously repealed.
                                                                              16 U.S.C. 19d ...........................................................................        Previously repealed.
                                                                              16 U.S.C. 19e ............................................................................       54 U.S.C. 101111
                                                                              16 U.S.C. 19f ............................................................................       54 U.S.C. 101112
                                                                              16 U.S.C. 19g ...........................................................................        54 U.S.C. 101113
                                                                              16 U.S.C. 19h ...........................................................................        54 U.S.C. 101114
                                                                              16 U.S.C. 19i ............................................................................       54 U.S.C. 101115
                                                                              16 U.S.C. 19j ............................................................................       54 U.S.C. 101116
                                                                              16 U.S.C. 19k ............................................................................       54 U.S.C. 101117
                                                                              16 U.S.C. 19l ............................................................................       54 U.S.C. 101118
                                                                              16 U.S.C. 19m ..........................................................................         54 U.S.C. 101119
                                                                              16 U.S.C. 19n ...........................................................................        Repealed as obsolete. Required the National Park Foundation
                                                                                                                                                                                  to transmit to Congress an annual report of its pro-
                                                                                                                                                                                  ceedings and activities. Repealed as obsolete because of
                                                                                                                                                                                  the termination of the reporting requirement with respect
                                                                                                                                                                                  to Congress, effective May 15, 2000. See section 3003 of
                                                                                                                                                                                  the Federal Reports Elimination and Sunset Act of 1995
                                                                                                                                                                                  (Pub. L. 104–66, 31 U.S.C. 1113 note) and page 204 of
                                                                                                                                                                                  House Document No. 103–7.
                                                                              16 U.S.C. 19o ............................................................................       54 U.S.C. 101120
                                                                              16 U.S.C. 19aa through 19gg ..................................................                   Previously repealed.
                                                                              16 U.S.C. 19jj ...........................................................................       54 U.S.C. 100721
                                                                              16 U.S.C. 19jj–1 .......................................................................         54 U.S.C. 100722
                                                                              16 U.S.C. 19jj–2 .......................................................................         54 U.S.C. 100723
                                                                              16 U.S.C. 19jj–3 .......................................................................         54 U.S.C. 100724
                                                                              16 U.S.C. 19jj–4 .......................................................................         54 U.S.C. 100725
                                                                              16 U.S.C. 20 through 20g ........................................................                Previously repealed.
                                                                              16 U.S.C. 79 .............................................................................       54 U.S.C. 100902
                                                                              16 U.S.C. 411 ...........................................................................        54 U.S.C. 103301
                                                                              16 U.S.C. 412 ...........................................................................        54 U.S.C. 103302
                                                                              16 U.S.C. 413 ...........................................................................        See § 4(a)(1) of bill.
                                                                              16 U.S.C. 414 ...........................................................................        See § 4(a)(1) of bill.
                                                                              16 U.S.C. 415 ...........................................................................        Previously repealed.
                                                                              16 U.S.C. 416 ...........................................................................        54 U.S.C. 103304
                                                                              16 U.S.C. 417 ...........................................................................        Repealed as obsolete. Authorized acceptance of donations of
                                                                                                                                                                                  land for road or other purposes. It is considered obsolete
                                                                                                                                                                                  by the Judge Advocate General. See J.A.G. 601.1, June 27,
                                                                                                                                                                                  1935.
                                                                              16 U.S.C. 418 ...........................................................................        Previously repealed.
                                                                              16 U.S.C. 419 ...........................................................................        Previously transferred to 16 U.S.C. 79.
                                                                              16 U.S.C. 420 ...........................................................................        Not repealed but omitted from the text of title 54. The 4th
                                                                                                                                                                                  and last paragraphs under the heading ‘‘Improvement of
                                                                                                                                                                                  the National Forests’’ under the heading ‘‘FOREST SERV-
                                                                                                                                                                                  ICE’’ in the Act of March 4, 1911 (ch. 238, 36 Stat.
                                                                                                                                                                                  1253), was in part classified to section 420 because it
                                                                                                                                                                                  concerned rights of way within or through national parks,
                                                                                                                                                                                  military parks, or any other reservation. Beginning with
                                                                                                                                                                                  the 2006 edition of the United States Code, the provi-
                                                                                                                                                                                  sions will be consolidated and classified at 43 U.S.C.
                                                                                                                                                                                  961.
                                                                              16 U.S.C. 421 ...........................................................................        54 U.S.C. 103303
                                                                              16 U.S.C. 431 ...........................................................................        54 U.S.C. 320301
                                                                              16 U.S.C. 431a .........................................................................         54 U.S.C. 320301
                                                                              16 U.S.C. 432 (1st sentence) ...................................................                 54 U.S.C. 320302
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                                                                              16 U.S.C. 432 (last sentence) ..................................................                 54 U.S.C. 320303
                                                                              16 U.S.C. 433 ...........................................................................        See § 4(a)(1) of bill.
                                                                              16 U.S.C. 451 ...........................................................................        Previously repealed.




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                                                                                                                                                                     10
                                                                                                                                             Disposition Table—Continued
                                                                                                    Former United States Code Section                                                               Disposition

                                                                              16 U.S.C. 451a .........................................................................     54 U.S.C. 104907
                                                                              16 U.S.C. 452 ...........................................................................    Repealed as unnecessary. Provided that all revenues of the
                                                                                                                                                                              national parks be covered into the Treasury to the credit
                                                                                                                                                                              of miscellaneous receipts. Unnecessary because 31 U.S.C.
                                                                                                                                                                              3302(b) provides that an official or agent of the Govern-
                                                                                                                                                                              ment receiving money for the Government shall deposit
                                                                                                                                                                              the money in the Treasury.
                                                                              16 U.S.C. 452a .........................................................................     54 U.S.C. 101102
                                                                              16 U.S.C. 453 ...........................................................................    Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                              for the acceptance for park purposes of land and rights-
                                                                                                                                                                              of-way near or adjacent to the Government national forest
                                                                                                                                                                              in western North Carolina.
                                                                              16 U.S.C. 454 ...........................................................................    Previously repealed.
                                                                              16 U.S.C. 455 through 455c ....................................................              54 U.S.C. 103306
                                                                              16 U.S.C. 456 ...........................................................................    Repealed as unnecessary because appropriations made for
                                                                                                                                                                              the administration, protection, and maintenance of na-
                                                                                                                                                                              tional parks and national monuments include the author-
                                                                                                                                                                              ity that the appropriations shall be available for the ex-
                                                                                                                                                                              pense of depositing public money, as required under 31
                                                                                                                                                                              U.S.C. 3302(b).
                                                                              16 U.S.C. 456a .........................................................................     54 U.S.C. 103101
                                                                              16 U.S.C. 457 ...........................................................................    See § 4(b)(1) of bill.
                                                                              16 U.S.C. 458 ...........................................................................    54 U.S.C. 103305
                                                                              16 U.S.C. 458a .........................................................................     54 U.S.C. 104908
                                                                              16 U.S.C. 460l ..........................................................................    54 U.S.C. 200101
                                                                              16 U.S.C. 460l–1 ......................................................................      54 U.S.C. 200103
                                                                              16 U.S.C. 460l–2 ......................................................................      54 U.S.C. 200104
                                                                              16 U.S.C. 460l–3 ......................................................................      54 U.S.C. 200102
                                                                              16 U.S.C. 460l–4 ......................................................................      Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                              purposes of this part.
                                                                              16 U.S.C. 460l–5 ......................................................................      54 U.S.C. 200302
                                                                              16 U.S.C. 460l–5a ....................................................................       Previously repealed.
                                                                              16 U.S.C. 460l–6 ......................................................................      54 U.S.C. 200303
                                                                              16 U.S.C. 460l–6a(a) through (g) ............................................                Previously repealed.
                                                                              16 U.S.C. 460l–6a(h) ................................................................        Previously repealed.
                                                                              16 U.S.C. 460l–6a(i)(1)(A), (B) ................................................             Previously repealed.
                                                                              16 U.S.C. 460l–6a(i)(1)(C) .......................................................           54 U.S.C. 100904
                                                                              16 U.S.C. 460l–6a(i)(2) through (4) ........................................                 Previously repealed.
                                                                              16 U.S.C. 460l–6a(j) through (n) .............................................               54 U.S.C. 100904
                                                                              16 U.S.C. 460l–6b ....................................................................       Previously repealed.
                                                                              16 U.S.C. 460l–6c ....................................................................       Outside scope of this codification. Authorizes the Secretary
                                                                                                                                                                              of Agriculture to charge admission or entrance fees at
                                                                                                                                                                              national monuments, national volcanic monuments, na-
                                                                                                                                                                              tional scenic areas, and areas of concentrated public use
                                                                                                                                                                              administered by the Secretary and recreation fees at land
                                                                                                                                                                              administered by the Secretary in connection with the use
                                                                                                                                                                              of specialized outdoor recreation sites, equipment, serv-
                                                                                                                                                                              ices, and facilities.
                                                                              16 U.S.C. 460l–6d (relating to the National Park Service) .....                              54 U.S.C. 100905
                                                                              16 U.S.C. 460l–6d (less National Park Service) ......................                        See §4(c) of bill.
                                                                              16 U.S.C. 460l–7 ......................................................................      54 U.S.C. 200304
                                                                              16 U.S.C. 460l–8(b)(5) (last sentence) ....................................                  54 U.S.C. 200301
                                                                              16 U.S.C. 460l–8(less (b)(5) (last sentence)) .........................                      54 U.S.C. 200305
                                                                              16 U.S.C. 460l–9(a), (b) ...........................................................         54 U.S.C. 200306
                                                                              16 U.S.C. 460l–9(c) ..................................................................       54 U.S.C. 100506
                                                                              16 U.S.C. 460l–10 ....................................................................       54 U.S.C. 200307
                                                                              16 U.S.C. 460l–10a ..................................................................        54 U.S.C. 200308
                                                                              16 U.S.C. 460l–10b ..................................................................        54 U.S.C. 200309
                                                                              16 U.S.C. 460l–10c ..................................................................        Repealed as obsolete. Repealed provisions of law that pro-
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                                                                                                                                                                              hibited collection of recreation fees or user charges or
                                                                                                                                                                              that restricted the expenditure of funds if the fees or
                                                                                                                                                                              charges were collected.




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                                                                                                                                                                     11
                                                                                                                                             Disposition Table—Continued
                                                                                                    Former United States Code Section                                                                Disposition

                                                                              16 U.S.C. 460l–10d ..................................................................        Repealed as obsolete. Required the Secretary, within 1 year
                                                                                                                                                                              after September 28, 1976, to submit a report to the Com-
                                                                                                                                                                              mittees on Interior and Insular Affairs of the Senate and
                                                                                                                                                                              House of Representatives on the needs, problems, and
                                                                                                                                                                              opportunities associated with urban recreation in highly
                                                                                                                                                                              populated areas.
                                                                              16 U.S.C. 460l–10e ..................................................................        Repealed as obsolete. Created an advisory committee to re-
                                                                                                                                                                              view the opportunities for enhanced opportunities for
                                                                                                                                                                              water-based recreation, which was to submit a report to
                                                                                                                                                                              the President, the Committee on Energy and Natural Re-
                                                                                                                                                                              sources of the Senate, and the Committee on Transpor-
                                                                                                                                                                              tation and Infrastructure and the Committee on Re-
                                                                                                                                                                              sources of the House of Representatives within 1 year
                                                                                                                                                                              from November 12, 1996.
                                                                              16 U.S.C. 460l–11 ....................................................................       54 U.S.C. 200310
                                                                              16 U.S.C. 460l–22(a), (b) .........................................................          54 U.S.C. 102901
                                                                              16 U.S.C. 460l–22(c) ................................................................        54 U.S.C. 100903
                                                                              16 U.S.C. 460l–22(d) ................................................................        54 U.S.C. 102901
                                                                              16 U.S.C. 461 ...........................................................................    54 U.S.C. 320101
                                                                              16 U.S.C. 462(a) through (k) (1st sentence) ...........................                      54 U.S.C. 320102
                                                                              16 U.S.C. 462(k) (last sentence) ..............................................              See § 4(a)(1) of bill.
                                                                              16 U.S.C. 463(a) through (f) ....................................................            54 U.S.C. 102303
                                                                              16 U.S.C. 463(g) .......................................................................     54 U.S.C. 102304
                                                                              16 U.S.C. 464 ...........................................................................    54 U.S.C. 320103
                                                                              16 U.S.C. 465 ...........................................................................    54 U.S.C. 320104
                                                                              16 U.S.C. 466(a) .......................................................................     54 U.S.C. 320106
                                                                              16 U.S.C. 466(b) .......................................................................     Repealed as obsolete. Provided that nothing in 16 U.S.C.
                                                                                                                                                                              466 prohibited or limited the expenditure or obligation of
                                                                                                                                                                              funds appropriated prior to January 1, 1993.
                                                                              16 U.S.C. 466(c) .......................................................................     Repealed as unnecessary. Authorized to be appropriated
                                                                                                                                                                              sums necessary to carry out sections 461 to 467.
                                                                              16 U.S.C. 467 ...........................................................................    Repealed as obsolete and unnecessary. Provided that the
                                                                                                                                                                              provisions of 16 U.S.C. 461 to 467 control if there is a
                                                                                                                                                                              conflict with another Act. The section only applied to laws
                                                                                                                                                                              enacted before August 21, 1935. In addition, it is a gen-
                                                                                                                                                                              eral rule that a later enacted law controls if there is a
                                                                                                                                                                              conflict.
                                                                              16 U.S.C. 467a, 467a–1 ...........................................................           Previously repealed.
                                                                              16 U.S.C. 467b(a) through (c) .................................................              54 U.S.C. 309101
                                                                              16 U.S.C. 467b(d) .....................................................................      Repealed as unnecessary. Authorized to be appropriated
                                                                                                                                                                              sums necessary to carry out this section.
                                                                              16 U.S.C. 468 ...........................................................................    54 U.S.C. 312102
                                                                              16 U.S.C. 468a .........................................................................     54 U.S.C. 312103
                                                                              16 U.S.C. 468b .........................................................................     54 U.S.C. 312104
                                                                              16 U.S.C. 468c ..........................................................................    54 U.S.C. 312105
                                                                              16 U.S.C. 468d .........................................................................     54 U.S.C. 312106.
                                                                              16 U.S.C. 468e ..........................................................................    Previously repealed.
                                                                              16 U.S.C. 469 ...........................................................................    Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                              purpose of 16 U.S.C. 469 to 469c–1.
                                                                              16 U.S.C. 469a .........................................................................     54 U.S.C. 312505
                                                                              16 U.S.C. 469a–1 .....................................................................       54 U.S.C. 312502
                                                                              16 U.S.C. 469a–2 .....................................................................       54 U.S.C. 312503
                                                                              16 U.S.C. 469a–3 .....................................................................       54 U.S.C. 312504
                                                                              16 U.S.C. 469b .........................................................................     54 U.S.C. 312506
                                                                              16 U.S.C. 469c ..........................................................................    54 U.S.C. 312507
                                                                              16 U.S.C. 469c–1 .....................................................................       54 U.S.C. 312501
                                                                              16 U.S.C. 469c–2 .....................................................................       54 U.S.C. 312508
                                                                              16 U.S.C. 469j(a) ......................................................................     54 U.S.C. 312302
                                                                              16 U.S.C. 469j(b) ......................................................................     54 U.S.C. 312303
                                                                              16 U.S.C. 469j(c) ......................................................................     54 U.S.C. 312304
                                                                              16 U.S.C. 469j(d) through (f) ...................................................            54 U.S.C. 312303
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                                                                              16 U.S.C. 469j(g) ......................................................................     54 U.S.C. 312304
                                                                              16 U.S.C. 469j(h) ......................................................................     54 U.S.C. 312305
                                                                              16 U.S.C. 469k ..........................................................................    Previously repealed.




                                                                                                                                                                                                                                            Exhibit A
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                                                                                                                                                                    12
                                                                                                                                            Disposition Table—Continued
                                                                                                    Former United States Code Section                                                              Disposition

                                                                              16 U.S.C. 469k–1(a) .................................................................       Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                            purpose of this section.
                                                                              16 U.S.C. 469k–1(b) .................................................................       54 U.S.C. 308102
                                                                              16 U.S.C. 469k–1(c)(1)(A) through (C) ....................................                  54 U.S.C. 308103
                                                                              16 U.S.C. 469k–1(c)(1)(D) ........................................................          54 U.S.C. 308101
                                                                              16 U.S.C. 469k–1(c)(2) through (6) .........................................                54 U.S.C. 308103
                                                                              16 U.S.C. 469l(a) ......................................................................    Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                            findings for 16 U.S.C. 469l to 469l–3.
                                                                              16 U.S.C. 469l(b) ......................................................................    Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                            purposes of 16 U.S.C. 469l to 469l–3.
                                                                              16 U.S.C. 469l–1 ......................................................................     54 U.S.C. 308302
                                                                              16 U.S.C. 469l–2 ......................................................................     54 U.S.C. 308303
                                                                              16 U.S.C. 469l–3 ......................................................................     54 U.S.C. 308304
                                                                              16 U.S.C. 469m(a) ....................................................................      Outside the scope of this codification. Section 7111(a) of
                                                                                                                                                                            the Omnibus Public Land Management Act of 2009 (Pub-
                                                                                                                                                                            lic Law 111–11, 123 Stat. 1199), which established the
                                                                                                                                                                            Votes for Women’s History Trail Route, is classified to 16
                                                                                                                                                                            U.S.C. 410ll–1.
                                                                              16 U.S.C. 469m(b) ....................................................................      54 U.S.C. 308501
                                                                              16 U.S.C. 469m(c) ....................................................................      54 U.S.C. 308502
                                                                              16 U.S.C. 469n(a) .....................................................................     Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                            purpose of this section.
                                                                              16 U.S.C. 469n(b) .....................................................................     54 U.S.C. 311101
                                                                              16 U.S.C. 469n(c) .....................................................................     54 U.S.C. 311102
                                                                              16 U.S.C. 469n(d) .....................................................................     54 U.S.C. 311103
                                                                              16 U.S.C. 469n(e) .....................................................................     54 U.S.C. 311104
                                                                              16 U.S.C. 469n(f) ......................................................................    54 U.S.C. 311105
                                                                              16 U.S.C. 469o (a) ....................................................................     54 U.S.C. 308902
                                                                              16 U.S.C. 469o (b) ....................................................................     54 U.S.C. 308901
                                                                              16 U.S.C. 469o (c)(1) ................................................................      54 U.S.C. 308902
                                                                              16 U.S.C. 469o (c)(2) through (7) ............................................              54 U.S.C. 308903
                                                                              16 U.S.C. 469o (d) ....................................................................     54 U.S.C. 308904
                                                                              16 U.S.C. 469o (e) .....................................................................    54 U.S.C. 308905
                                                                              16 U.S.C. 470(a) .......................................................................    Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                            short title of this subchapter.
                                                                              16 U.S.C. 470(b) .......................................................................    Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                            findings for this subchapter.
                                                                              16 U.S.C. 470–1 .......................................................................     54 U.S.C. 300101
                                                                              16 U.S.C. 470a(a)(1)(A) (1st sentence) ...................................                  54 U.S.C. 302101
                                                                              16 U.S.C. 470a(a)(1)(A) (last sentence) ..................................                  54 U.S.C. 302106
                                                                              16 U.S.C. 470a(a)(1)(B) ............................................................        54 U.S.C. 302102
                                                                              16 U.S.C. 470a(a)(2) ................................................................       54 U.S.C. 302103
                                                                              16 U.S.C. 470a(a)(3) through (5) .............................................              54 U.S.C. 302104
                                                                              16 U.S.C. 470a(a)(6) ................................................................       54 U.S.C. 302105
                                                                              16 U.S.C. 470a(a)(7) ................................................................       54 U.S.C. 302107
                                                                              16 U.S.C. 470a(a)(8) ................................................................       54 U.S.C. 302108
                                                                              16 U.S.C. 470a(b)(1) ................................................................       54 U.S.C. 302301
                                                                              16 U.S.C. 470a(b)(2) ................................................................       54 U.S.C. 302302
                                                                              16 U.S.C. 470a(b)(3) ................................................................       54 U.S.C. 302303
                                                                              16 U.S.C. 470a(b)(4) ................................................................       54 U.S.C. 302304
                                                                              16 U.S.C. 470a(b)(5) ................................................................       Repealed as obsolete. Provided that any State historic pres-
                                                                                                                                                                            ervation program in effect under prior authority of law
                                                                                                                                                                            could be treated as an approved program for purposes of
                                                                                                                                                                            16 U.S.C. 470a(b) until the earlier of the date on which
                                                                                                                                                                            the Secretary approved a program submitted by the State
                                                                                                                                                                            under 16 U.S.C. 470a(b) or 3 years after December 12,
                                                                                                                                                                            1992.
                                                                              16 U.S.C. 470a(b)(6) ................................................................       54 U.S.C. 302304
                                                                              16 U.S.C. 470a(c)(1) (1st sentence) ........................................                54 U.S.C. 302502
                                                                              16 U.S.C. 470a(c)(1) (2d, last sentences) ...............................                   54 U.S.C. 302503
                                                                              16 U.S.C. 470a(c)(2) .................................................................      54 U.S.C. 302504
                                                                              16 U.S.C. 470a(c)(3) .................................................................      54 U.S.C. 302505
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                                                                              16 U.S.C. 470a(c)(4) .................................................................      54 U.S.C. 302501
                                                                              16 U.S.C. 470a(d)(1) ................................................................       54 U.S.C. 302701
                                                                              16 U.S.C. 470a(d)(2) ................................................................       54 U.S.C. 302702




                                                                                                                                                                                                                                         Exhibit A
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                                                                                                                                                                     13
                                                                                                                                             Disposition Table—Continued
                                                                                                    Former United States Code Section                                                                  Disposition

                                                                              16 U.S.C. 470a(d)(3) ................................................................        54 U.S.C. 302703
                                                                              16 U.S.C. 470a(d)(4) ................................................................        54 U.S.C. 302704
                                                                              16 U.S.C. 470a(d)(5) ................................................................        54 U.S.C. 302705
                                                                              16 U.S.C. 470a(d)(6) ................................................................        54 U.S.C. 302706
                                                                              16 U.S.C. 470a(e)(1) .................................................................       54 U.S.C. 302902
                                                                              16 U.S.C. 470a(e)(2) .................................................................       54 U.S.C. 302903
                                                                              16 U.S.C. 470a(e)(3)(A) ............................................................         54 U.S.C. 302904
                                                                              16 U.S.C. 470a(e)(3)(B) ............................................................         54 U.S.C. 302906
                                                                              16 U.S.C. 470a(e)(3)(C) ............................................................         54 U.S.C. 302904
                                                                              16 U.S.C. 470a(e)(4) .................................................................       54 U.S.C. 302905
                                                                              16 U.S.C. 470a(e)(5) .................................................................       54 U.S.C. 302907
                                                                              16 U.S.C. 470a(e)(6) .................................................................       54 U.S.C. 302908
                                                                              16 U.S.C. 470a(f) ......................................................................     54 U.S.C. 302909
                                                                              16 U.S.C. 470a(g), (h) ..............................................................        54 U.S.C. 306101
                                                                              16 U.S.C. 470a(i) ......................................................................     54 U.S.C. 303902
                                                                              16 U.S.C. 470a(j) ......................................................................     54 U.S.C. 303903
                                                                              16 U.S.C. 470a–1 .....................................................................       54 U.S.C. 307101
                                                                              16 U.S.C. 470a–2 .....................................................................       54 U.S.C. 307101
                                                                              16 U.S.C. 470b(a) (1st sentence paragraph (1)) ....................                          54 U.S.C. 302901
                                                                              16 U.S.C. 470b(a) (1st sentence paragraphs (2) through (6))                                  54 U.S.C. 302902
                                                                              16 U.S.C. 470b(a) (2d sentence) .............................................                54 U.S.C. 302902
                                                                              16 U.S.C. 470b(a) (last sentence) ...........................................                54 U.S.C. 302901
                                                                              16 U.S.C. 470b(b) .....................................................................      54 U.S.C. 302902
                                                                              16 U.S.C. 470b(c) .....................................................................      Previously repealed.
                                                                              16 U.S.C. 470b(d) (relating to remaining cost of project) ......                             54 U.S.C. 302902
                                                                              16 U.S.C. 470b(d) (relating to availability) .............................                   54 U.S.C. 302901
                                                                              16 U.S.C. 470b(e) .....................................................................      54 U.S.C. 302902
                                                                              16 U.S.C. 470b–1 .....................................................................       54 U.S.C. 302903
                                                                              16 U.S.C. 470c ..........................................................................    54 U.S.C. 302902
                                                                              16 U.S.C. 470d .........................................................................     54 U.S.C. 303901
                                                                              16 U.S.C. 470e ..........................................................................    54 U.S.C. 302910
                                                                              16 U.S.C. 470f ..........................................................................    54 U.S.C. 306108
                                                                              16 U.S.C. 470g .........................................................................     54 U.S.C. 307104
                                                                              16 U.S.C. 470h (1st paragraph) ..............................................                54 U.S.C. 303101
                                                                              16 U.S.C. 470h (last paragraph 1st sentence) .......................                         54 U.S.C. 303102
                                                                              16 U.S.C. 470h (last paragraph last sentence) ......................                         54 U.S.C. 303103
                                                                              16 U.S.C. 470h–1 .....................................................................       54 U.S.C. 307108
                                                                              16 U.S.C. 470h–2(a)(1) ............................................................          54 U.S.C. 306101
                                                                              16 U.S.C. 470h–2(a)(2) ............................................................          54 U.S.C. 306102
                                                                              16 U.S.C. 470h–2(b) .................................................................        54 U.S.C. 306103
                                                                              16 U.S.C. 470h–2(c) .................................................................        54 U.S.C. 306104
                                                                              16 U.S.C. 470h–2(d) .................................................................        54 U.S.C. 306105
                                                                              16 U.S.C. 470h–2(e) .................................................................        54 U.S.C. 306106
                                                                              16 U.S.C. 470h–2(f) .................................................................        54 U.S.C. 306107
                                                                              16 U.S.C. 470h–2(g) .................................................................        54 U.S.C. 306109
                                                                              16 U.S.C. 470h–2(h) .................................................................        54 U.S.C. 306110
                                                                              16 U.S.C. 470h–2(i) ..................................................................       54 U.S.C. 306111
                                                                              16 U.S.C. 470h–2(j) ..................................................................       54 U.S.C. 306112
                                                                              16 U.S.C. 470h–2(k) .................................................................        54 U.S.C. 306113
                                                                              16 U.S.C. 470h–2(l ) .................................................................       54 U.S.C. 306114
                                                                              16 U.S.C. 470h–3(a), (b) ..........................................................          54 U.S.C. 306121
                                                                              16 U.S.C. 470h–3(c) .................................................................        54 U.S.C. 306122
                                                                              16 U.S.C. 470h–4 .....................................................................       54 U.S.C. 306131
                                                                              16 U.S.C. 470h–5 .....................................................................       Repealed as obsolete. Provided that the Secretary study the
                                                                                                                                                                              suitability and feasibility of alternatives for controlling il-
                                                                                                                                                                              legal interstate and international traffic in antiquities
                                                                                                                                                                              and not later than 18 months after October 30, 1992,
                                                                                                                                                                              submit to Congress a report detailing the Secretary’s
                                                                                                                                                                              findings and recommendations from the study.
                                                                              16 U.S.C. 470i ..........................................................................    54 U.S.C. 304101
                                                                              16 U.S.C. 470j ..........................................................................    54 U.S.C. 304102
                                                                              16 U.S.C. 470k ..........................................................................    54 U.S.C. 304103
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                                                                              16 U.S.C. 470l ..........................................................................    54 U.S.C. 304104
                                                                              16 U.S.C. 470m ........................................................................      54 U.S.C. 304105
                                                                              16 U.S.C. 470n .........................................................................     54 U.S.C. 304106




                                                                                                                                                                                                                                                Exhibit A
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                                                                                                                                             Disposition Table—Continued
                                                                                                    Former United States Code Section                                                               Disposition

                                                                              16 U.S.C. 470o ..........................................................................    Repealed as obsolete. Provided that personnel, property,
                                                                                                                                                                             records, and unexpended balances of funds be trans-
                                                                                                                                                                             ferred by the Department of the Interior to the Advisory
                                                                                                                                                                             Council on Historic Preservation within 60 days of the ef-
                                                                                                                                                                             fective date of Public Law 94–422, which was approved
                                                                                                                                                                             on September 28, 1976.
                                                                              16 U.S.C. 470p .........................................................................     54 U.S.C. 304105
                                                                              16 U.S.C. 470q .........................................................................     54 U.S.C. 304105
                                                                              16 U.S.C. 470r ..........................................................................    54 U.S.C. 304107
                                                                              16 U.S.C. 470s ..........................................................................    54 U.S.C. 304108
                                                                              16 U.S.C. 470t(a) (1st sentence) .............................................               54 U.S.C. 304109
                                                                              16 U.S.C. 470t(a) (last sentence) ............................................               Repealed as unnecessary. Authorized to be appropriated
                                                                                                                                                                             amounts necessary to carry out this part.
                                                                              16 U.S.C. 470t(b) ......................................................................     54 U.S.C. 304109
                                                                              16 U.S.C. 470u .........................................................................     54 U.S.C. 304110
                                                                              16 U.S.C. 470v ..........................................................................    54 U.S.C. 304108
                                                                              16 U.S.C. 470v–1 .....................................................................       54 U.S.C. 304111
                                                                              16 U.S.C. 470v–2 .....................................................................       54 U.S.C. 304112
                                                                              16 U.S.C. 470w(1) ....................................................................       54 U.S.C. 300301
                                                                              16 U.S.C. 470w(2) ....................................................................       54 U.S.C. 300317
                                                                              16 U.S.C. 470w(3) ....................................................................       54 U.S.C. 300310
                                                                              16 U.S.C. 470w(4) ....................................................................       54 U.S.C. 300309
                                                                              16 U.S.C. 470w(5) ....................................................................       54 U.S.C. 300308
                                                                              16 U.S.C. 470w(6) ....................................................................       54 U.S.C. 300311
                                                                              16 U.S.C. 470w(7) ....................................................................       54 U.S.C. 300320
                                                                              16 U.S.C. 470w(8) ....................................................................       54 U.S.C. 300315
                                                                              16 U.S.C. 470w(9) ....................................................................       54 U.S.C. 300304
                                                                              16 U.S.C. 470w(10) ..................................................................        54 U.S.C. 300305
                                                                              16 U.S.C. 470w(11) ..................................................................        54 U.S.C. 300316
                                                                              16 U.S.C. 470w(12) ..................................................................        54 U.S.C. 300318
                                                                              16 U.S.C. 470w(13) ..................................................................        54 U.S.C. 300307
                                                                              16 U.S.C. 470w(14) ..................................................................        54 U.S.C. 300319
                                                                              16 U.S.C. 470w(15) ..................................................................        54 U.S.C. 300302
                                                                              16 U.S.C. 470w(16) ..................................................................        54 U.S.C. 300303
                                                                              16 U.S.C. 470w(17) ..................................................................        54 U.S.C. 300313
                                                                              16 U.S.C. 470w(18) ..................................................................        54 U.S.C. 300314
                                                                              16 U.S.C. 470w–1 .....................................................................       54 U.S.C. 307106
                                                                              16 U.S.C. 470w–2 .....................................................................       54 U.S.C. 307107
                                                                              16 U.S.C. 470w–3 .....................................................................       54 U.S.C. 307103
                                                                              16 U.S.C. 470w–4 .....................................................................       54 U.S.C. 307105
                                                                              16 U.S.C. 470w–5(a) (1st sentence) ........................................                  54 U.S.C. 305502
                                                                              16 U.S.C. 470w–5(a) (last sentence) .......................................                  54 U.S.C. 305503
                                                                              16 U.S.C. 470w–5(b) ................................................................         54 U.S.C. 305502
                                                                              16 U.S.C. 470w–5(c) ................................................................         54 U.S.C. 305504
                                                                              16 U.S.C. 470w–5(d) ................................................................         Repealed as obsolete. Provided for the renovation of the site
                                                                                                                                                                             on which the National Museum for the Building Arts is
                                                                                                                                                                             located.
                                                                              16 U.S.C. 470w–5(e) ................................................................         54 U.S.C. 305505
                                                                              16 U.S.C. 470w–5(f) .................................................................        54 U.S.C. 305501
                                                                              16 U.S.C. 470w–6 .....................................................................       54 U.S.C. 307102
                                                                              16 U.S.C. 470w–7(a) ................................................................         54 U.S.C. 305102
                                                                              16 U.S.C. 470w–7(b) ................................................................         54 U.S.C. 305103
                                                                              16 U.S.C. 470w–7(c) ................................................................         54 U.S.C. 305104
                                                                              16 U.S.C. 470w–7(d) ................................................................         54 U.S.C. 305105
                                                                              16 U.S.C. 470w–7(e) ................................................................         54 U.S.C. 305101
                                                                              16 U.S.C. 470w–8 .....................................................................       54 U.S.C. 305106
                                                                              16 U.S.C. 470x ..........................................................................    Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                             findings for this part.
                                                                              16 U.S.C. 470x–1 ......................................................................      54 U.S.C. 305301
                                                                              16 U.S.C. 470x–2 ......................................................................      54 U.S.C. 305302
                                                                              16 U.S.C. 470x–3 ......................................................................      54 U.S.C. 305303
                                                                              16 U.S.C. 470x–4 ......................................................................      54 U.S.C. 305304
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                                                                              16 U.S.C. 470x–5 ......................................................................      54 U.S.C. 305305
                                                                              16 U.S.C. 470x–6 ......................................................................      54 U.S.C. 305306
                                                                              16 U.S.C. 1901 .........................................................................     54 U.S.C. 100731




                                                                                                                                                                                                                                           Exhibit A
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                                                                                                                                            Disposition Table—Continued
                                                                                                    Former United States Code Section                                                               Disposition

                                                                              16 U.S.C. 1902 .........................................................................    54 U.S.C. 100732
                                                                              16 U.S.C. 1903 .........................................................................    Repealed as obsolete. Provided for a 4-year cessation of
                                                                                                                                                                            certain mining operations within the boundaries of Death
                                                                                                                                                                            Valley National Monument, Mount McKinley National Park,
                                                                                                                                                                            and Organ Pipe Cactus National Monument, subject to
                                                                                                                                                                            exceptions.
                                                                              16 U.S.C. 1904 .........................................................................    Repealed as obsolete. Provided for the innapplicability of re-
                                                                                                                                                                            quirements for annual expenditures on mining claims to
                                                                                                                                                                            mining operations during the 4-year period under 16
                                                                                                                                                                            U.S.C. 1903.
                                                                              16 U.S.C. 1905 .........................................................................    Repealed as obsolete. Provided that within 2 years the Sec-
                                                                                                                                                                            retary of the Interior determine the validity of unpatented
                                                                                                                                                                            mining claims within Glacier Bay National Monument,
                                                                                                                                                                            Death Valley and Organ Pipe Cactus National Monuments,
                                                                                                                                                                            and Mount McKinley National Park, submit to Congress
                                                                                                                                                                            recommendations for acquisition of valid claims, and
                                                                                                                                                                            study and submit to Congress recommendations for modi-
                                                                                                                                                                            fications of the existing boundaries of Death Valley Na-
                                                                                                                                                                            tional Monument and Glacier Bay National Monument.
                                                                              16 U.S.C. 1906 .........................................................................    Repealed as obsolete. Provided that within 4 years the Sec-
                                                                                                                                                                            retary determine the validity of unpatented mining claims
                                                                                                                                                                            within Crater Lake National Park, Coronado National Me-
                                                                                                                                                                            morial, and Glacier Bay National Monument and submit
                                                                                                                                                                            to Congress recommendations for acquisition of valid
                                                                                                                                                                            claims.
                                                                              16 U.S.C. 1907 .........................................................................    54 U.S.C. 100733
                                                                              16 U.S.C. 1908(a) .....................................................................     54 U.S.C. 100734
                                                                              16 U.S.C. 1908(b) .....................................................................     Repealed as obsolete. Provided that within 2 years the Advi-
                                                                                                                                                                            sory Council on Historic Preservation report to Congress
                                                                                                                                                                            on effects of surface mining activities on natural and
                                                                                                                                                                            historical landmarks, including recommendations for pro-
                                                                                                                                                                            tective legislation.
                                                                              16 U.S.C. 1909 .........................................................................    Repealed as unnecessary. Provisions are severable unless
                                                                                                                                                                            otherwise stated.
                                                                              16 U.S.C. 1910 .........................................................................    54 U.S.C. 100735
                                                                              16 U.S.C. 1911 .........................................................................    54 U.S.C. 100736
                                                                              16 U.S.C. 1912(a) through (c) .................................................             54 U.S.C. 100737
                                                                              16 U.S.C. 1912(d) .....................................................................     See § 4(a)(1) of bill.
                                                                              16 U.S.C. 2301 .........................................................................    Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                            findings for and purposes of this chapter.
                                                                              16 U.S.C. 2302 .........................................................................    54 U.S.C. 101521
                                                                              16 U.S.C. 2303 .........................................................................    54 U.S.C. 101522
                                                                              16 U.S.C. 2304 .........................................................................    54 U.S.C. 101523
                                                                              16 U.S.C. 2305 .........................................................................    Repealed as obsolete. Required the Secretary to submit to
                                                                                                                                                                            Congress, within 3 years after August 15, 1978, a report
                                                                                                                                                                            on the preservation of natural resource values within
                                                                                                                                                                            units of the National Park System through access alter-
                                                                                                                                                                            natives and on transportation projects for units of the
                                                                                                                                                                            System.
                                                                              16 U.S.C. 2306 .........................................................................    Repealed as obsolete. Authorized appropriations for fiscal
                                                                                                                                                                            years 1979 to 1981.
                                                                              16 U.S.C. 2501 .........................................................................    Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                            findings for this chapter.
                                                                              16 U.S.C. 2502 .........................................................................    Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                            purpose of this chapter.
                                                                              16 U.S.C. 2503 .........................................................................    54 U.S.C. 200501
                                                                              16 U.S.C. 2504 .........................................................................    54 U.S.C. 200502
                                                                              16 U.S.C. 2505 .........................................................................    54 U.S.C. 200503
                                                                              16 U.S.C. 2506 .........................................................................    54 U.S.C. 200504
                                                                              16 U.S.C. 2507 .........................................................................    54 U.S.C. 200505
                                                                              16 U.S.C. 2508 .........................................................................    54 U.S.C. 200506
                                                                              16 U.S.C. 2509 .........................................................................    54 U.S.C. 200507
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                                                                              16 U.S.C. 2510 .........................................................................    54 U.S.C. 200508
                                                                              16 U.S.C. 2511 .........................................................................    54 U.S.C. 200509
                                                                              16 U.S.C. 2512(a) (1st paragraph) ..........................................                54 U.S.C. 200511




                                                                                                                                                                                                                                           Exhibit A
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                                                                                                                                                                    16
                                                                                                                                            Disposition Table—Continued
                                                                                                    Former United States Code Section                                                               Disposition

                                                                              16 U.S.C. 2512(a) (last paragraph) .........................................                54 U.S.C. 200510
                                                                              16 U.S.C. 2512(b) .....................................................................     54 U.S.C. 200511
                                                                              16 U.S.C. 2513 .........................................................................    54 U.S.C. 200511
                                                                              16 U.S.C. 2514 .........................................................................    Repealed as obsolete. Provided that within 90 days of the
                                                                                                                                                                            expiration of this authority, the Secretary report to Con-
                                                                                                                                                                            gress on the overall impact of the program. The program
                                                                                                                                                                            originally was to run for 5 years and be a short-term
                                                                                                                                                                            project but the limitations were removed in 1994.
                                                                              16 U.S.C. 5401 .........................................................................    Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                            findings for the National Maritime Heritage Act of 1994
                                                                                                                                                                            (Pub. L. 103–451, 108 Stat. 4769).
                                                                              16 U.S.C. 5402 .........................................................................    54 U.S.C. 308701
                                                                              16 U.S.C. 5403 .........................................................................    54 U.S.C. 308703
                                                                              16 U.S.C. 5404 .........................................................................    Repealed as obsolete. Established a National Maritime Herit-
                                                                                                                                                                            age Grants Advisory Committee. The Committee termi-
                                                                                                                                                                            nated on September 30, 2000.
                                                                              16 U.S.C. 5405 .........................................................................    54 U.S.C. 308704
                                                                              16 U.S.C. 5406 .........................................................................    54 U.S.C. 308702
                                                                              16 U.S.C. 5407 .........................................................................    54 U.S.C. 308706
                                                                              16 U.S.C. 5408 .........................................................................    54 U.S.C. 308707
                                                                              16 U.S.C. 5409 .........................................................................    54 U.S.C. 308705
                                                                              16 U.S.C. 5901 .........................................................................    Repealed as unnecessary. Provided definition of ‘‘Secretary’’.
                                                                                                                                                                            Unnecessary because of the definition of ‘‘Secretary’’ in
                                                                                                                                                                            section 100102 of the new title.
                                                                              16 U.S.C. 5911 .........................................................................    54 U.S.C. 100701
                                                                              16 U.S.C. 5912 .........................................................................    54 U.S.C. 101321
                                                                              16 U.S.C. 5913 .........................................................................    54 U.S.C. 101322
                                                                              16 U.S.C. 5914 .........................................................................    54 U.S.C. 100503
                                                                              16 U.S.C. 5931 .........................................................................    Not repealed but omitted from the text of title 54. Provides
                                                                                                                                                                            purposes of this subchapter.
                                                                              16 U.S.C. 5932 .........................................................................    54 U.S.C. 100702
                                                                              16 U.S.C. 5933(a) .....................................................................     54 U.S.C. 100703
                                                                              16 U.S.C. 5953(b) .....................................................................     Repealed as obsolete. Provided that within one year after
                                                                                                                                                                            November 13, 1998, the Secretary report on progress in
                                                                                                                                                                            the establishment of a comprehensive network of such
                                                                                                                                                                            college- and university-based cooperative study units as
                                                                                                                                                                            will provide full geographic and topical coverage for re-
                                                                                                                                                                            search on the resources contained in System units and
                                                                                                                                                                            their larger regions.
                                                                              16 U.S.C. 5934 .........................................................................    54 U.S.C. 100704
                                                                              16 U.S.C. 5935 .........................................................................    54 U.S.C. 100705
                                                                              16 U.S.C. 5936 .........................................................................    54 U.S.C. 100706
                                                                              16 U.S.C. 5937 .........................................................................    54 U.S.C. 100707
                                                                              16 U.S.C. 5951 .........................................................................    54 U.S.C. 101912
                                                                              16 U.S.C. 5952(1) through (7)(B) ............................................               54 U.S.C. 101913
                                                                              16 U.S.C. 5952(7)(C) ................................................................       54 U.S.C. 101911
                                                                              16 U.S.C. 5952(7)(D) through (11) ..........................................                54 U.S.C. 101913
                                                                              16 U.S.C. 5953 .........................................................................    54 U.S.C. 101914
                                                                              16 U.S.C. 5954(a) through (e) .................................................             54 U.S.C. 101915
                                                                              16 U.S.C. 5954(f) ......................................................................    Repealed as obsolete. Provided that not later than 7 years
                                                                                                                                                                            after November 13, 1998, the Secretary submit a report
                                                                                                                                                                            on the concession program.
                                                                              16 U.S.C. 5954 note .................................................................       54 U.S.C. 101915
                                                                              16 U.S.C. 5955 .........................................................................    54 U.S.C. 101916
                                                                              16 U.S.C. 5956 .........................................................................    54 U.S.C. 101917
                                                                              16 U.S.C. 5957 .........................................................................    54 U.S.C. 101918
                                                                              16 U.S.C. 5958 .........................................................................    54 U.S.C. 101919
                                                                              16 U.S.C. 5959 .........................................................................    54 U.S.C. 101920
                                                                              16 U.S.C. 5960 .........................................................................    54 U.S.C. 101921
                                                                              16 U.S.C. 5961(a) .....................................................................     54 U.S.C. 101524
                                                                              16 U.S.C. 5961(b) .....................................................................     Repealed as obsolete. Provided that with respect to a serv-
                                                                                                                                                                            ice contract for the provision solely of transportation
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                                                                                                                                                                            services at Zion National Park, the Secretary could obli-
                                                                                                                                                                            gate the expenditure of fees received in fiscal year 2002
                                                                                                                                                                            under 16 U.S.C. 5981 before the fees were received.




                                                                                                                                                                                                                                           Exhibit A
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                                                                                                                                                                    17
                                                                                                                                            Disposition Table—Continued
                                                                                                    Former United States Code Section                                                              Disposition

                                                                              16 U.S.C. 5962 .........................................................................    54 U.S.C. 101922
                                                                              16 U.S.C. 5963 .........................................................................    54 U.S.C. 101923
                                                                              16 U.S.C. 5964 .........................................................................    54 U.S.C. 101924
                                                                              16 U.S.C. 5965 .........................................................................    54 U.S.C. 101926
                                                                              16 U.S.C. 5966 .........................................................................    54 U.S.C. 101925
                                                                              16 U.S.C. 5981 .........................................................................    54 U.S.C. 101531
                                                                              16 U.S.C. 5982 .........................................................................    Previously repealed.
                                                                              16 U.S.C. 5991 through 5995 ..................................................              Previously repealed.
                                                                              16 U.S.C. 6011 .........................................................................    Repealed as obsolete. Required the Secretary to submit to
                                                                                                                                                                             the Committees on Energy and Natural Resources and
                                                                                                                                                                             Appropriations of the Senate and the Committees on Re-
                                                                                                                                                                             sources and Appropriations of the House of Representa-
                                                                                                                                                                             tives, not later than one year after November 13, 1998, a
                                                                                                                                                                             report on law enforcement programs of the National Park
                                                                                                                                                                             Service.



                                                                                                                                             STANDARD CHANGES
                                                                                 References to the Committee on Resources of the House of Rep-
                                                                              resentatives are changed to refer to the Committee on Natural Re-
                                                                              sources of the House of Representatives on authority of Rule X(1)(l)
                                                                              of the Rules of the House of Representatives, adopted by House
                                                                              Resolution No. 6 (110th Congress, January 5, 2007).
                                                                                 Where the words ‘‘Committee on Natural Resources’’ previously
                                                                              were treated as referring to the Committee on Resources of the
                                                                              House of Representatives by section 1(a) of Public Law 104–14 (2
                                                                              U.S.C. prec. 21), the words ‘‘Committee on Natural Resources’’ are
                                                                              retained on authority of Rule X(1)(l) of the Rules of the House of
                                                                              Representatives, adopted by House Resolution No. 6 (110th Con-
                                                                              gress, January 5, 2007).
                                                                                 The word ‘‘shall’’ is substituted for ‘‘is authorized and directed to’’
                                                                              to eliminate unnecessary words, for clarity, and for consistency in
                                                                              the title.
                                                                                 The word ‘‘may’’ is substituted for ‘‘is authorized to’’, ‘‘is empow-
                                                                              ered to’’, or words of like import to eliminate unnecessary words,
                                                                              for clarity, and for consistency in the title.
                                                                                 The words ‘‘in his discretion’’ or words of like import modifying
                                                                              the word ‘‘may’’ are omitted as unnecessary.
                                                                                 The word ‘‘includes’’ is substituted for ‘‘includes, but is not lim-
                                                                              ited to’’, ‘‘includes among other things’’, or words of like import to
                                                                              eliminate unnecessary words, for clarity, and for consistency in the
                                                                              title, because ‘‘includes’’ is used only in the sense of inclusion and
                                                                              not in any sense of limitation or exclusion. When a sense of limita-
                                                                              tion or exclusion is intended, the words ‘‘only includes’’ are used.
                                                                                 The word ‘‘ensure’’ is substituted for ‘‘assure’’ or ‘‘insure’’ as nec-
                                                                              essary for consistency in the title.
                                                                                 The word ‘‘such’’ is replaced, where appropriate, by ‘‘the’’ or
                                                                              ‘‘that’’ or by the term to which it refers for clarity, for consistency
                                                                              in the title, and to conform to standard English usage.
                                                                                 The word ‘‘that’’ is substituted for ‘‘which’’ where used as a rel-
                                                                              ative pronoun for consistency in the title and to conform to stand-
                                                                              ard English usage.
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                                                                                 The word ‘‘regulation’’ is substituted for ‘‘rule’’ where used to
                                                                              mean ‘‘regulation’’ for consistency in the title.




                                                                                                                                                                                                                                         Exhibit A
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                                                                                The word ‘‘regulations’’ is substituted for ‘‘rules and regulations’’
                                                                              or words of like import, except where the word ‘‘rule’’ is intended
                                                                              to mean something other than a regulation, to eliminate unneces-
                                                                              sary words.
                                                                                The word ‘‘person’’ is substituted for ‘‘person, corporation, or com-
                                                                              pany’’ or words of like import to eliminate unnecessary words. See
                                                                              1 U.S.C. 1.
                                                                                The word ‘‘consider’’ is substituted for ‘‘deem’’ except where it is
                                                                              used to express a legal fiction, for consistency in the title.
                                                                                Definitions of the term ‘‘Secretary’’ are omitted as unnecessary
                                                                              because of the definition of that term in 54 U.S.C. 100102.

                                                                                                            SECTION-BY-SECTION EXPLANATION
                                                                                                              SECTION 1—TABLE OF CONTENTS

                                                                                   Section 1 of the bill provides a table of contents for the Act.

                                                                                       SECTION 2—PURPOSE; CONFORMITY WITH ORIGINAL INTENT

                                                                                Section 2(a) of the bill provides that the purpose is to codify cer-
                                                                              tain existing laws relating to the National Park Service and related
                                                                              programs as a positive law title of the United States Code.
                                                                                Section 2(b) of the bill provides a statement of intent with re-
                                                                              spect to the codification of existing law (see ‘‘Conformity With
                                                                              Original Intent’’ above).

                                                                                       SECTION 3—ENACTMENT OF TITLE 54, UNITED STATES CODE

                                                                                Section 3 of the bill enacts title 54, United States Code. For each
                                                                              section of title 54, the source provision citations, along with any re-
                                                                              vision notes, are set out below.


                                                                                    TITLE 54—NATIONAL PARK SERVICE
                                                                                        AND RELATED PROGRAMS

                                                                              Subtitle I—National Park System

                                                                                    Division A—Establishment and General Administration

                                                                              Chap.                                                                                                             Sec.
                                                                              1001. General Provisions ..................................................................................... 100101

                                                                              1003. Establishment, Directors, and Other Employees .................................... 100301

                                                                              1005. Areas of National Park System ................................................................. 100501

                                                                              1007. Resource Management ............................................................................... 100701

                                                                              1009. Administration ........................................................................................... 100901

                                                                              1011. Donations .................................................................................................... 101101
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                                                                              1013. Employees ................................................................................................... 101301

                                                                              1015. Transportation ............................................................................................ 101501




                                                                                                                                                                                                            Exhibit A
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                                                                              1017. Financial Agreements ................................................................................ 101701
                                                                              1019. Concessions and Commercial Use Authorizations ................................... 101901
                                                                              1021. Privileges and Leases ................................................................................. 102101
                                                                              1023. Programs and Organizations ..................................................................... 102301
                                                                              1025. Museums ..................................................................................................... 102501
                                                                              1027. Law Enforcement and Emergency Assistance ......................................... 102701
                                                                              1029. Land Transfers ........................................................................................... 102901
                                                                              1031. Appropriations and Accounting ................................................................. 103101
                                                                              1033. National Military Parks ............................................................................. 103301
                                                                               1035 through 1047 ..............................................................................................
                                                                                                                                                                                            Reserved
                                                                              1049. Miscellaneous ............................................................................................. 104901

                                                                                    Division B—System Units and Related Areas—Reserved

                                                                              Subtitle II—Outdoor Recreation Programs
                                                                              2001. Coordination of Programs .......................................................................... 200101

                                                                              2003. Land and Water Conservation Fund ........................................................ 200301

                                                                              2005. Urban Park and Recreation Recovery Program ...................................... 200501


                                                                              Subtitle III—National Preservation Programs

                                                                                    Division A—Historic Preservation

                                                                                     Subdivision 1—General Provisions
                                                                              3001. Policy ........................................................................................................... 300101

                                                                              3003. Definitions ................................................................................................... 300301

                                                                                     Subdivision 2—Historic Preservation Program
                                                                              3021. National Register of Historic Places ......................................................... 302101

                                                                              3023. State Historic Preservation Programs ...................................................... 302301

                                                                              3025. Certification of Local Governments .......................................................... 302501

                                                                              3027. Historic Preservation Programs and Authorities for Indian Tribes and
                                                                                      Native Hawaiian Organizations ............................................................ 302701

                                                                              3029. Grants ......................................................................................................... 302901

                                                                              3031. Historic Preservation Fund ....................................................................... 303101

                                                                               3033 Through 3037 .............................................................................................
                                                                                                                                                                                           Reserved

                                                                              3039. Miscellaneous ............................................................................................. 303901

                                                                                     Subdivision 3—Advisory Council on Historic Preservation
                                                                              3041. Advisory Council on Historic Preservation .............................................. 304101

                                                                                     Subdivision 4—Other Organizations and Programs
                                                                              3051. Historic Light Station Preservation .......................................................... 305101
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                                                                              3053. National Center for Preservation Technology and Training .................. 305301

                                                                              3055. National Building Museum. ...................................................................... 305501




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                                                                                     Subdivision 5—Federal Agency Historic Preservation Re-
                                                                                       sponsibilities
                                                                              3061. Program Responsibilities and Authorities ............................................... 306101

                                                                                     Subdivision 6—Miscellaneous
                                                                              3071. Miscellaneous ............................................................................................. 307101

                                                                                     Division B—Organizations and Programs

                                                                                     Subdivision 1—Administered by National Park Service
                                                                              3081. American Battlefield Protection Program ................................................ 308101

                                                                              3083. National Underground Railroad Network to Freedom ........................... 308301

                                                                              3085. National Women’s Rights History Project ................................................ 308501

                                                                              3087. National Maritime Heritage ...................................................................... 308701

                                                                              3089. Save America’s Treasures Program .......................................................... 308901

                                                                              3091. Commemoration of Former Presidents ..................................................... 309101

                                                                                     Subdivision 2—Administered Jointly With National Park
                                                                                       Service
                                                                              3111. Preserve America Program ........................................................................ 311101

                                                                                     Subdivision 3—Administered by Other Than National Park
                                                                                       Service
                                                                              3121. National Trust for Historic Preservation in the United States .............. 312101

                                                                              3123. Commission for the Preservation of America’s Heritage Abroad ........... 312301

                                                                              3125. Preservation of Historical and Archeological Data .................................. 312501

                                                                                  Division C—American Antiquities
                                                                              3201. Policy and Administrative Provisions ....................................................... 320101

                                                                              3203. Monuments, Ruins, Sites, and Objects of Antiquity ............................... 320301



                                                                                            Subtitle I—National Park System
                                                                                    Division A—Establishment and General
                                                                                               Administration
                                                                                           Chapter 1001—General Provisions
                                                                              Sec.
                                                                              100101.       Findings and purpose.
                                                                              100102.       Definitions.

                                                                                                                             SECTION 100101
                                                                                   Revised Section           Source (U.S. Code)                           Source (Statutes at Large)

                                                                              100101(a) .............   16 U.S.C. 1 (last sen-            Aug. 25, 1916, ch. 408, § 1 (last sentence), 39
                                                                                                          tence)                            Stat. 535.
                                                                              100101(b)(1) .........    16 U.S.C. 1a–1 (1st sen-          Pub. L. 91–383, § 1, Aug. 18, 1970, 84 Stat. 825;
                                                                                                          tence)                            Pub. L. 95–250, title I, § 101(b), Mar. 27,
                                                                                                                                            1978, 92 Stat. 166.
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                                                                              100101(b)(2) .........    16 U.S.C. 1a–1 (2d, last
                                                                                                          sentences)




                                                                                                                                                                                                         Exhibit A
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                                                                                 In subsection (a), the words ‘‘Secretary, acting through the Direc-
                                                                              tor of the National Park Service’’ are substituted for ‘‘service thus
                                                                              established’’ to reflect the transfer of functions of other officers, em-
                                                                              ployees, and agencies of the Department of the Interior to the Sec-
                                                                              retary by sections 1 and 2 of Reorganization Plan No. 3 of 1950 (5
                                                                              U.S.C. App.) while keeping the responsibility for promoting and
                                                                              regulating the use of the National Park System with the Director
                                                                              of the National Park Service.
                                                                                 In subsection (b)(1)(D), the words ‘‘this division’’ are substituted
                                                                              for ‘‘this Act’’ for clarity. The purpose of the Act of August 18, 1970
                                                                              (known as the National Park System General Authorities Act)
                                                                              (Public Law 91–383, 84 Stat. 825), was to update and clarify the
                                                                              law with respect to the various units of the National Park System
                                                                              by enlarging the application of existing general statutes so that
                                                                              they apply uniformly to the administration of the various types of
                                                                              parklands within the national park system. See H. Rept. 91–1265
                                                                              (91st Cong., 2d Sess.). However, section 2(b) of that Act, rather
                                                                              than being enacted as a new provision of law, amended section 2
                                                                              of the Act of August 8, 1953 (ch. 384, 67 Stat. 496), and would not
                                                                              be included in the reference to ‘‘this Act’’ in section 1 of the Act of
                                                                              August 18, 1970. The revised subsection translates the reference to
                                                                              ‘‘this Act’’ to carry out the intent of the Act of August 18, 1970.
                                                                                                                          SECTION 100102
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100102 .................   no source.

                                                                                The term ‘‘System unit’’ is added because various laws relating
                                                                              to the National Park Service apply to any area of land or water ad-
                                                                              ministered by the Secretary through the Service regardless of the
                                                                              terms used in those laws. See section 100501 of the revised title.

                                                                                   Chapter 1003—Establishment, Directors,
                                                                                            and Other Employees
                                                                              Sec.
                                                                              100301.       Establishment and purpose.
                                                                              100302.       Directors and other employees.
                                                                              100303.       Effect on other laws.

                                                                                                                          SECTION 100301
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100301 .................   16 U.S.C. 1 (1st sentence    Aug. 25, 1916, ch. 408, § 1 (1st sentence words
                                                                                                           words before 1st            before 1st comma), 39 Stat. 535.
                                                                                                           comma)


                                                                                                                          SECTION 100302
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100302(a)(1) .........     16 U.S.C. 1 (1st sentence    Aug. 25, 1916, ch. 408, § 1 (1st sentence words
                                                                                                           words after 1st             after 1st comma, 2d to 4th sentences), 39
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                                                                                                           comma)                      Stat. 535; Pub. L. 104–333, div. I, title VIII,
                                                                                                                                       § 814(e)(1), Nov. 12, 1996, 110 Stat. 4196.
                                                                              100302(a)(2) .........     16 U.S.C. 1 (2d sentence)




                                                                                                                                                                                         Exhibit A
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                                                                                                                 SECTION 100302—CONTINUED
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              100302(a)(3) .........     16 U.S.C. 2                   Aug. 25, 1916, ch. 408, § 2, 39 Stat. 535.
                                                                              100302(b) .............    16 U.S.C. 1 (3d, 4th sen-
                                                                                                           tences)
                                                                              100302(c) .............    16 U.S.C. 1 (5th sen-         Aug. 25, 1916, ch. 408, § 1 (5th sentence), 39
                                                                                                           tence)                       Stat. 535.

                                                                                 In subsection (a)(3), the words ‘‘of the Hot Springs Reservation
                                                                              in the State of Arkansas’’ [changed to ‘‘Hot Springs National Park’’
                                                                              because of section 1 of the Act of March 4, 1921 (ch. 161, 41 Stat.
                                                                              1407)] in section 2 of the Act of August 25, 1916 (known as the Na-
                                                                              tional Park Service Organic Act) (ch. 408, 39 Stat. 535) are omitted
                                                                              as unnecessary.
                                                                                 Subsection (c) is substituted for the 5th sentence of section 1 of
                                                                              the Act of August 25, 1916 (known as the National Park Service
                                                                              Organic Act) (ch. 408, 39 Stat. 535), to eliminate unnecessary
                                                                              words and because the pay of employees is fixed pursuant to chap-
                                                                              ter 51 and subchapter III of chapter 53 of title 5.
                                                                                                                           SECTION 100303
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              100303 .................   16 U.S.C. 4                   Aug. 25, 1916, ch. 408, § 4, 39 Stat. 536.



                                                                                      Chapter 1005—Areas of National Park
                                                                                                   System
                                                                              Sec.
                                                                              100501.       Areas included in System.
                                                                              100502.       General management plans.
                                                                              100503.       Five-year strategic plans.
                                                                              100504.       Study and planning of park, parkway, and recreational-area facilities.
                                                                              100505.       Periodic review of System.
                                                                              100506.       Boundary changes to System units.
                                                                              100507.       Additional areas for System.

                                                                                                                           SECTION 100501
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              100501 .................   16 U.S.C. 1c(a)               Aug. 8, 1953, ch. 384, § 2(a), 67 Stat. 496; Pub.
                                                                                                                                        L. 91–383, § 2(b), Aug. 18, 1970, 84 Stat. 826.

                                                                                   The words ‘‘now or hereafter’’ are omitted as obsolete.
                                                                                                                           SECTION 100502
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              100502 .................   16 U.S.C. 1a–7(b)             Pub. L. 91–383, § 12, as added Pub. L. 94–458,
                                                                                                                                         § 2, Oct. 7, 1976, 90 Stat. 1942; Pub. L. 95–
                                                                                                                                         625, title VI, § 604(3), (4), Nov. 10, 1978, 92
                                                                                                                                         Stat. 3518, 3519; Pub. L. 103–437, § 6(c), Nov.
                                                                                                                                         2, 1994, 108 Stat. 4583; Pub. L. 105–391, title
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                                                                                                                                         IV, § 415(b)(2), Nov. 13, 1998, 112 Stat. 3515.




                                                                                                                                                                                           Exhibit A
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                                                                                                                                      23
                                                                                                                           SECTION 100503
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              100503 .................   16 U.S.C. 5914                Pub. L. 105–391, title I, § 104, Nov. 13, 1998,
                                                                                                                                         112 Stat. 3499.


                                                                                                                           SECTION 100504
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              100504(a)(1) .........     16 U.S.C. 17n                 June 23, 1936, ch. 735, 49 Stat. 1894; Aug. 1,
                                                                                                                                         1956, ch. 852, § 6, 70 Stat. 908.
                                                                              100504(a)(2), (3) ..       16 U.S.C. 17k
                                                                              100504(a)(4) .........     16 U.S.C. 17l
                                                                              100504(b) .............    16 U.S.C. 17m


                                                                                                                           SECTION 100505
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              100505(a) .............    16 U.S.C. 1a–9                Pub. L. 101–628, title XII, §§ 1213–1215, Nov.
                                                                                                                                         28, 1990, 104 Stat. 4507; Pub. L. 103–437,
                                                                                                                                         § 6(d)(2), Nov. 2, 1994, 108 Stat. 4583.
                                                                              100505(b) .............    16 U.S.C. 1a–10
                                                                              100505(c) .............    16 U.S.C. 1a–11

                                                                                In subsection (a), the text of 16 U.S.C. 1a–9 (last sentence) is
                                                                              omitted as obsolete.
                                                                                                                           SECTION 100506
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              100506(a) .............    16 U.S.C. 1a–12               Pub. L. 101–628, title XII, §§ 1216, 1217, Nov.
                                                                                                                                         28, 1990, 104 Stat. 4508.
                                                                              100506(b) .............    16 U.S.C. 1a–13
                                                                              100506(c) .............    16 U.S.C. 460l–9(c)           Pub. L. 88–578, title I, § 7(c), formerly § 6(c), as
                                                                                                                                         added Pub. L. 95–42, § 1(5), June 10, 1977, 91
                                                                                                                                         Stat. 211; Pub. L. 96–203, § 2(2), Mar. 10,
                                                                                                                                         1980, 94 Stat. 81; Pub. L. 103–437, § 6(p)(3),
                                                                                                                                         Nov. 2, 1994, 108 Stat. 4586; Pub. L. 104–
                                                                                                                                         333, div. I, title VIII, § 814(b), Nov. 12, 1996,
                                                                                                                                         110 Stat. 4194; Pub. L. 106–176, title I,
                                                                                                                                         §§ 120(b), 129, Mar. 10, 2000, 114 Stat. 28,
                                                                                                                                         30.

                                                                                In subsection (a), before paragraph (1), the word ‘‘maintain’’ is
                                                                              substituted for ‘‘Within one year after November 28, 1990 . . . de-
                                                                              velop’’ to eliminate obsolete words. In paragraph (3), the reference
                                                                              to paragraph (c) in 16 U.S.C. 1a–12 is treated as a reference to 16
                                                                              U.S.C. 1a–11(c) for clarity.
                                                                                In subsection (b), before paragraph (1), the words ‘‘after Novem-
                                                                              ber 28, 1990’’ are omitted as obsolete.
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                                                                                                                                                                                              Exhibit A
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                                                                                                                                    24
                                                                                                                         SECTION 100507
                                                                                   Revised Section          Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100507(a) .............   16 U.S.C. 1a–5(a) (1st       Pub. L. 91–383, § 8, as added Pub. L. 94–458,
                                                                                                          sentence)                    § 2, Oct. 7, 1976, 90 Stat. 1940; Pub. L. 95–
                                                                                                                                       625, title VI, § 604(1), Nov. 10, 1978, 92 Stat.
                                                                                                                                       3518; Pub. L. 96–199, title I, § 104, Mar. 5,
                                                                                                                                       1980, 94 Stat. 68; Pub. L. 96–344, § 8, Sept. 8,
                                                                                                                                       1980, 94 Stat. 1135; Pub. L. 103–437, § 6(b),
                                                                                                                                       Nov. 2, 1994, 108 Stat. 4583; Pub. L. 104–
                                                                                                                                       333, div. I, title VIII, § 814(d)(1)(I), Nov. 12,
                                                                                                                                       1996, 110 Stat. 4196; Pub. L. 105–391, title
                                                                                                                                       III, § 303, Nov. 13, 1998, 112 Stat. 3501.
                                                                              100507(b)(1), (2) ..      16 U.S.C. 1a–5(b)(1), (2)
                                                                              100507(b)(3) .........    16 U.S.C. 1a–5(a) (2d
                                                                                                          sentence)
                                                                              100507(b)(4)              16 U.S.C. 1a–5(b)(3)
                                                                                through (6).              through (5)
                                                                              100507(c) .............   16 U.S.C. 1a–5(c)
                                                                              100507(d) .............   16 U.S.C. 1a–5(e)
                                                                              100507(e), (f) .......    16 U.S.C. 1a–5(a) (3d,
                                                                                                          last sentences)
                                                                              100507(g) .............   16 U.S.C. 1a–5(d)
                                                                              100507(h) .............   16 U.S.C. 1a–5(f)

                                                                                In subsection (b)(3), the words ‘‘after November 13, 1998’’ are
                                                                              omitted as obsolete.
                                                                                In subsection (b)(5), the cross-reference is limited to the applica-
                                                                              ble provisions of Public Law 91–383 as restated in the revised title.

                                                                                       Chapter 1007—Resource Management
                                                                              Subchapter I—System Resource Inventory and Management
                                                                              Sec.
                                                                              100701. Protection, interpretation, and research in System.
                                                                              100702. Research mandate.
                                                                              100703. Cooperative agreements.
                                                                              100704. Inventory and monitoring program.
                                                                              100705. Availability of System units for scientific study.
                                                                              100706. Integration of study results into management decisions.
                                                                              100707. Confidentiality of information.
                                                                              Subchapter II—System Unit Resource Protection
                                                                              100721. Definitions.
                                                                              100722. Liability.
                                                                              100723. Actions.
                                                                              100724. Use of recovered amounts.
                                                                              100725. Donations.
                                                                              Subchapter III—Mining Activity Within System Units
                                                                              100731. Findings and declaration of policy.
                                                                              100732. Preservation and management of System units by Secretary; promulgation
                                                                                          of regulations.
                                                                              100733. Recordation of mining claims; publication of notice.
                                                                              100734. Report on finding or notification of potential damage to natural and histor-
                                                                                          ical landmarks.
                                                                              100735. Civil actions for just compensation by mining claim holders.
                                                                              100736. Acquisition of land by Secretary.
                                                                              100737. Financial disclosure by officer or employee of Secretary.
                                                                              Subchapter IV—Administration
                                                                              100751. Regulations.
                                                                              100752. Destruction of animals and plant life.
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                                                                              100753. Advisory committees.
                                                                              100754. Relinquishment of legislative jurisdiction.
                                                                              100755. Applicability of other laws.




                                                                                                                                                                                           Exhibit A
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                                                                                                                                     25

                                                                               Subchapter I—System Resource Inventory and Management
                                                                                                                          SECTION 100701
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100701 .................   16 U.S.C. 5911               Pub. L. 105–391, title I, § 101, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3498.


                                                                                                                          SECTION 100702
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100702 .................   16 U.S.C. 5932               Pub. L. 105–391, title II, § 202, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3499.


                                                                                                                          SECTION 100703
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100703 .................   16 U.S.C. 5933(a)            Pub. L. 105–391, title II, § 203(a), Nov. 13,
                                                                                                                                        1998, 112 Stat. 3500.


                                                                                                                          SECTION 100704
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100704 .................   16 U.S.C. 5934               Pub. L. 105–391, title II, § 204, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3500.


                                                                                                                          SECTION 100705
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100705 .................   16 U.S.C. 5935               Pub. L. 105–391, title II, § 205, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3500.


                                                                                                                          SECTION 100706
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100706 .................   16 U.S.C. 5936               Pub. L. 105–391, title II, § 206, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3500.


                                                                                                                          SECTION 100707
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100707 .................   16 U.S.C. 5937               Pub. L. 105–391, title II, § 207, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3501.


                                                                                          Subchapter II—System Unit Resource Protection
                                                                                                                          SECTION 100721
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100721 .................   16 U.S.C. 19jj               Pub. L. 101–337, § 1, July 27, 1990, 104 Stat.
                                                                                                                                        379; Pub. L. 104–333, div. I, title VIII,
                                                                                                                                        § 814(h)(1), (2), Nov. 12, 1996, 110 Stat. 4199.
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                                                                                In this section, the text of 16 U.S.C. 19jj(a) is omitted as unnec-
                                                                              essary. The text of 16 U.S.C. 19jj(e) is omitted because the term




                                                                                                                                                                                           Exhibit A
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                                                                                                                                       26

                                                                              ‘‘regimen’’ is not used in the revised title. The text of 16 U.S.C.
                                                                              19jj(g) is omitted because a marine or aquatic park system resource
                                                                              is a kind of park system resource.
                                                                                                                            SECTION 100722
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              100722 .................   16 U.S.C. 19jj–1               Pub. L. 101–337, § 2, July 27, 1990, 104 Stat.
                                                                                                                                          379; Pub. L. 104–333, div. I, title VIII,
                                                                                                                                          § 814(h)(3), Nov. 12, 1996, 110 Stat. 4199;
                                                                                                                                          Pub. L. 106–176, title I, § 120(c), Mar. 10,
                                                                                                                                          2000, 114 Stat. 29.


                                                                                                                            SECTION 100723
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              100723 .................   16 U.S.C. 19jj–2               Pub. L. 101–337, § 3, July 27, 1990, 104 Stat.
                                                                                                                                          380.

                                                                                 In this section, the words ‘‘destruction, loss, or injury’’ are sub-
                                                                              stituted for ‘‘damage’’ in subsection (a) and for ‘‘damages’’ in sub-
                                                                              section (b) for consistency in the new chapter and to distinguish de-
                                                                              struction, loss, or injury from damages recovered in a civil action.
                                                                                 In subsection (a), the words ‘‘response action’’ are substituted for
                                                                              ‘‘response costs’’ the 1st time the words appear for clarity and con-
                                                                              sistency in the new chapter.
                                                                                                                            SECTION 100724
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              100724 .................   16 U.S.C. 19jj–3               Pub. L. 101–337, § 4, July 27, 1990, 104 Stat.
                                                                                                                                          380; Pub. L. 103–437, § 6(d)(3), Nov. 12, 1994,
                                                                                                                                          108 Stat. 4583.

                                                                                 Section 4(d) of the Act of July 27, 1990 (Public Law 101–337, 104
                                                                              Stat. 380), is omitted as obsolete. See section 3003 of the Federal
                                                                              Reports Elimination and Sunset Act of 1995 (Public Land 104–66,
                                                                              31 U.S.C. 1113 note) and page 111 of House Document No. 103–
                                                                              7.
                                                                                 In subsection (a), before paragraph (1), the words ‘‘destruction,
                                                                              loss, or injury to’’ are substituted for ‘‘damage to’’ for consistency
                                                                              in the new chapter and to distinguish destruction, loss, or injury
                                                                              from damages recovered in a civil action.
                                                                                 In subsection (b), the words ‘‘the General Fund of the United
                                                                              States’’ are omitted as unnecessary.
                                                                                                                            SECTION 100725
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              100725 .................   16 U.S.C. 19jj–4               Pub. L. 101–337, § 5, July 27, 1990, 104 Stat.
                                                                                                                                          381.
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                                                                                                                                                                                            Exhibit A
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                                                                                      Subchapter III—Mining Activity Within System Units
                                                                                                                          SECTION 100731
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100731 .................   16 U.S.C. 1901               Pub. L. 94–429, § 1, Sept. 28, 1976, 90 Stat.
                                                                                                                                        1342.

                                                                                In paragraph (1), the words ‘‘in recent years’’ are omitted as ob-
                                                                              solete.
                                                                                In paragraph (2), the words ‘‘in certain areas of the National
                                                                              Park System, surface disturbances from mineral development
                                                                              should be temporarily halted while Congress determines whether
                                                                              or not to acquire any valid mineral rights which may exist in such
                                                                              areas’’ are omitted as obsolete.
                                                                                                                          SECTION 100732
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100732 .................   16 U.S.C. 1902               Pub. L. 94–429, § 2, Sept. 28, 1976, 90 Stat.
                                                                                                                                        1342.

                                                                                The word ‘‘valid’’ is omitted for clarity because regulations apply
                                                                              to the exercise of mining claim rights before they are determined
                                                                              to be valid. The word ‘‘existing’’ is omitted as obsolete.
                                                                                                                          SECTION 100733
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100733 .................   16 U.S.C. 1907               Pub. L. 94–429, § 8, Sept. 28, 1976, 90 Stat.
                                                                                                                                        1343.

                                                                                The section is substituted for the source provision to eliminate
                                                                              obsolete words. The words ‘‘in existence on September 28, 1976’’ are
                                                                              added for clarity to show that the provision applies only to System
                                                                              units that were part of the System on that date.
                                                                                                                          SECTION 100734
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100734 .................   16 U.S.C. 1908(a)            Pub. L. 94–429, § 9(a), Sept. 28, 1976, 90 Stat.
                                                                                                                                        1343.


                                                                                                                          SECTION 100735
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100735 .................   16 U.S.C. 1910               Pub. L. 94–429, § 11, Sept. 28, 1976, 90 Stat.
                                                                                                                                        1344; Pub. L. 98–620, title IV, § 402(21), 98
                                                                                                                                        Stat. 3358.


                                                                                                                          SECTION 100736
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)
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                                                                              100736 .................   16 U.S.C. 1911               Pub. L. 94–429, § 12, Sept. 28, 1976, 90 Stat.
                                                                                                                                        1344.




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                                                                                                                          SECTION 100737
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100737(a) through          16 U.S.C. 1912(a)            Pub. L. 94–429, § 13(a) through (c), Sept. 28,
                                                                                (c).                       through (c)                  1976, 90 Stat. 1344.
                                                                              100737(d) .............    no source

                                                                                In subsection (a), the words ‘‘beginning on February 1, 1977’’ are
                                                                              omitted as obsolete.
                                                                                In subsection (b), the words ‘‘act within ninety days after Sep-
                                                                              tember 28, 1976’’ are omitted as obsolete.
                                                                                In subsection (c), the words ‘‘the Department of the Interior’’ are
                                                                              substituted for ‘‘such agency’’ for clarity.
                                                                                Subsection (d) is added for informational purposes.
                                                                                                           Subchapter IV—Administration
                                                                                                                          SECTION 100751
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100751(a) .............    16 U.S.C. 3 (1st sentence    Aug. 25, 1916, ch. 408, § 3 (1st sentence words
                                                                                                           words before ‘‘and any      before ‘‘and any violation’’), 39 Stat. 535.
                                                                                                           violation’’)
                                                                              100751(b) .............    16 U.S.C. 1a–2(a) (mat-      Pub. L. 91–383, § 3 (matter before (a)), Aug. 18,
                                                                                                           ter before (a))              1970, 84 Stat. 826.
                                                                                                         16 U.S.C. 1a–2(h)            Pub. L. 91–383, § 3(h), as added Pub. L. 94–458,
                                                                                                                                        § 1(2), Oct. 7, 1976, 90 Stat. 1939; Pub. L.
                                                                                                                                        106–176, title I, § 118(2), (3), Mar. 10, 2000,
                                                                                                                                        114 Stat. 28.
                                                                              100751(c) .............    no source

                                                                                 In subsection (b), the words ‘‘In order to facilitate the administra-
                                                                              tion of the national park system’’ and ‘‘and enforce’’ are omitted as
                                                                              unnecessary. The words ‘‘under subsection (a)’’ are added for clarity
                                                                              to show that a regulation under subsection (b) is a special type of
                                                                              regulation under subsection (a) so that a violation of a regulation
                                                                              under subsection (b) is subject to a criminal penalty under 18
                                                                              U.S.C. 1865.
                                                                                 Subsection (c) is added for informational purposes.
                                                                                                                          SECTION 100752
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100752 .................   16 U.S.C. 3 (3d sentence)    Aug. 25, 1916, ch. 408, § 3 (3d sentence), 39
                                                                                                                                       Stat. 535.


                                                                                                                          SECTION 100753
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100753 .................   16 U.S.C. 3 (2d sentence)    Aug. 25, 1916, ch. 408, § 3 (2d sentence), 39
                                                                                                                                       Stat. 535.


                                                                                                                          SECTION 100754
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100754 .................   16 U.S.C. 1a–3               Pub. L. 91–383, § 6, as added Pub. L. 94–458,
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                                                                                                                                        § 2, Oct. 7, 1976, 90 Stat. 1939; Pub. L. 103–
                                                                                                                                        437, § 6(a)(1), Nov. 2, 1994, 108 Stat. 4583.




                                                                                                                                                                                          Exhibit A
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                                                                                                                                      29

                                                                                 In this section, the words ‘‘territory (including a possession)’’ are
                                                                              substituted for ‘‘territory, or possession’’ the 1st time the words ap-
                                                                              pear for clarity, because a possession is a category of territory, that
                                                                              is, one that has very little local autonomy. In subsequent instances,
                                                                              the word ‘‘territory’’ is used in an equivalent sense. The word
                                                                              ‘‘Commonwealth’’ is omitted as being included in ‘‘territory (includ-
                                                                              ing a possession)’’.
                                                                                                                           SECTION 100755
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              100755 .................   16 U.S.C. 1c(b)               Aug. 8, 1953, ch. 384, § 2(b), 67 Stat. 496; Pub.
                                                                                                                                        L. 91–383, § 2(b), Aug. 18, 1970, 84 Stat. 826.

                                                                                 In subsection (a), the words ‘‘reference in such Act’’ are inter-
                                                                              preted to mean ‘‘reference in such Acts’’ for clarity.
                                                                                 In subsection (b)(1), the words ‘‘relating to donation of land and
                                                                              money’’, ‘‘relating to roads and trails’’, ‘‘relating to approach roads
                                                                              to national monuments’’, ‘‘relating to conveyance of roads to
                                                                              States’’, ‘‘relating to acquisitions of inholdings’’, and ‘‘relating to aid
                                                                              to visitors in emergencies’’ are omitted as unnecessary. The words
                                                                              ‘‘the Act of March 3, 1905 (33 Stat. 873; 16 U.S.C. 10), relating to
                                                                              arrests’’ are omitted because the Act was repealed by section
                                                                              10(a)(2) of the Act of August 18, 1970 (known as the National Park
                                                                              System General Authorities Act) (Public Law 91–383), as added by
                                                                              section 2 of the Act of October 7, 1976 (Public Law 94–458, 90 Stat.
                                                                              1941). The words ‘‘relating to services or other accommodations for
                                                                              the public, emergency supplies and services to concessioners, ac-
                                                                              ceptability of travelers checks, care and removal of indigents’’ are
                                                                              omitted as unnecessary. The words ‘‘the Act of October 9, 1965 (79
                                                                              Stat. 696; 16 U.S.C. 20–20g), relating to concessions’’ are omitted
                                                                              because the Act was repealed by section 415(a) of the National
                                                                              Parks Omnibus Management Act of 1998 (Public Law 105–391, 112
                                                                              Stat. 3515).
                                                                                 In subsection (b)(2), the words ‘‘relating to rights of way’’ are
                                                                              omitted as unnecessary.
                                                                                 Subsection (b)(3) is added for clarity because many of the laws
                                                                              that established a System unit provided that the Secretary, in ad-
                                                                              dition to administering the unit in accordance with the Act of Au-
                                                                              gust 25, 1916 (16 U.S.C. 1, 3, 3, and 4) and with laws generally
                                                                              applicable to System units, administer the unit in accordance with
                                                                              the Act of August 21, 1935 (16 U.S.C. 461 to 467).

                                                                                                Chapter 1009—Administration
                                                                              Sec.
                                                                              100901.       Authority of Secretary to carry out certain activities.
                                                                              100902.       Rights of way for public utilities and power and communication facilities.
                                                                              100903.       Solid waste disposal operations.
                                                                              100904.       Admission and special recreation use fees.
                                                                              100905.       Commercial filming.
                                                                              100906.       Advisory committees.
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                                                                                                                                                                                           Exhibit A
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                                                                                                                                        30
                                                                                                                             SECTION 100901
                                                                                   Revised Section           Source (U.S. Code)                        Source (Statutes at Large)

                                                                              100901(a) .............    16 U.S.C. 1a–2 (matter          Pub. L. 91–383, § 3 (matter before (a)), Aug. 18,
                                                                                                           before (a))                     1970, 84 Stat. 826.
                                                                                                         16 U.S.C. 1b (matter be-        Aug. 8, 1953, ch. 384, § 1 (matter before (1)), (2),
                                                                                                           fore (1))                       (5) through (8), 67 Stat. 495, 496; Pub. L. 91–
                                                                                                                                           383, § 2(a), Aug. 18, 1970, 84 Stat. 826.
                                                                              100901(b) .............    16 U.S.C. 1a–2(e)               Pub. L. 91–383, § 3(e), Aug. 18, 1970, 84 Stat.
                                                                                                                                           827; Pub. L. 94–458, § 1(1), Oct. 7, 1976, 90
                                                                                                                                           Stat. 1939; Pub. L. 106–176, title I, § 118(2),
                                                                                                                                           (3), Mar. 10, 2000, 114 Stat. 28.
                                                                              100901(c) .............    16 U.S.C. 1a–2(f)               Pub. L. 91–383, § 3(f), Aug. 18, 1970, 84 Stat.
                                                                                                                                           827; Pub. L. 106–176, title I, § 118(2), (3),
                                                                                                                                           Mar. 10, 2000, 114 Stat. 28.
                                                                              100901(d) .............    16 U.S.C. 1b(2)
                                                                              100901(e) through          16 U.S.C. 1b(5) through
                                                                                (h).                       (8)

                                                                                In subsection (a), the words ‘‘and he may use applicable appro-
                                                                              priations for the aforesaid system for the following purposes’’ in 16
                                                                              U.S.C. 1b (matter before (1)) are omitted as unnecessary
                                                                                                                             SECTION 100902
                                                                                   Revised Section           Source (U.S. Code)                        Source (Statutes at Large)

                                                                              100902(a) .............    16 U.S.C. 79                    Feb. 15, 1901, ch.372 (relating to System units),
                                                                                                                                           31 Stat. 790.
                                                                              100902(b) .............    16 U.S.C. 5                     Mar. 4, 1911, ch. 2238 (4th and last paragraphs
                                                                                                                                           (relating to System units) under heading ‘‘IM-
                                                                                                                                           PROVEMENT OF THE NATIONAL FOREST’’ under
                                                                                                                                           heading ‘‘FOREST SERVICE’’), 36 Stat. 1253;
                                                                                                                                           May 27, 1952, ch. 338, 66 Stat. 95.

                                                                                 In subsection (a), the text of 16 U.S.C. 79 (2d proviso) is omitted
                                                                              as obsolete because title 65 of the Revised States of the United
                                                                              States was repealed by section 1 of the Act of July 16, 1947 (ch.
                                                                              256, 61 Stat. 327).
                                                                                 In subsection (a)(1), the words ‘‘and the Yosemite, Sequoia, and
                                                                              General Grant national parks, California’’ are omitted as unneces-
                                                                              sary because ‘‘other reservations’’ encompasses all System units.
                                                                                 The inclusion of paragraphs (4) and (5) of subsection (a) do not
                                                                              have any effect on rights of way under subsection (b).
                                                                                 In subsection (a)(4), the words ‘‘or his successor in his discretion’’
                                                                              are omitted as unnecessary.
                                                                                 In subsection (b), the text of 16 U.S.C. 5 (last paragraph) is omit-
                                                                              ted as obsolete. The word ‘‘Secretary’’ is substituted for ‘‘the head
                                                                              of the department having jurisdiction over the lands’’ and ‘‘chief of-
                                                                              ficer of the department under whose supervision or control such
                                                                              reservation falls’’ because the portion of the Act of March 4, 1911
                                                                              (ch. 238, 36 Stat. 1253) classified to 16 U.S.C. 5 relates only to Sys-
                                                                              tem units
                                                                                                                             SECTION 100903
                                                                                   Revised Section           Source (U.S. Code)                        Source (Statutes at Large)
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                                                                              100903 .................   16 U.S.C. 460l–22(c)            Pub. L. 90–401, § 5(c), as added Pub. L. 98–506,
                                                                                                                                           § 2, Oct. 19, 1984, 98 Stat. 2338.




                                                                                                                                                                                                Exhibit A
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                                                                                                                                      31
                                                                                                                           SECTION 100904
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              100904(a) .............    16 U.S.C. 460l–               Pub. L. 88–578, title I, § 4(i)(1)(C), as added
                                                                                                           6a(i)(1)(C)                   Pub. L. 105–327, § 1, Oct. 30, 1998, 112 Stat.
                                                                                                                                         3055; Pub. L. 108–447, div. J, title VIII,
                                                                                                                                         § 813(a), Dec. 8, 2004, 118 Stat. 3390, as
                                                                                                                                         amended Pub. L. 109–54, title I, § 132, Aug.
                                                                                                                                         2, 2005, 119 Stat. 526.
                                                                              100904(b) through          16 U.S.C. 460l–6a(j)          Pub. L. 88–578, title I, § 4(j) through (m), as
                                                                                (e).                       through (m)                   added Pub. L. 100–203, title V, § 5201(c), Dec.
                                                                                                                                         22, 1987, 101 Stat. 1330–265.
                                                                              100904(f) ..............   16 U.S.C. 460l–6a(n)          Pub. L. 88–578, title I, § 4(n), as added Pub. L.
                                                                                                                                         103–66, title X, § 10002(c), Aug. 10, 1993, 107
                                                                                                                                         Stat. 404.

                                                                                 In subsection (c), the word ‘‘Secretary’’ is substituted for ‘‘head of
                                                                              the collecting agency’’, ‘‘head of the agency’’, ‘‘collecting agency’’,
                                                                              and ‘‘agency’’, and the words ‘‘System units’’ are substituted for
                                                                              ‘‘designated areas’’ and ‘‘areas’’, because the source provisions apply
                                                                              only to the National Park Service.
                                                                                 In subsection (d)(2), the words ‘‘into the special account referred
                                                                              to in subsection (i) of this section’’ are omitted as obsolete.
                                                                                 In subsection (e), the words ‘‘under subsection (a) of this section’’
                                                                              are omitted as obsolete.
                                                                                 In subsection (f)(1), the words ‘‘by October 1, 1993’’ are omitted
                                                                              as obsolete.
                                                                                 In subsection (f)(4)(B), the words ‘‘subchapter II of chapter 1019
                                                                              of this title’’ are substituted for ‘‘the Act of October 9, 1965 (16
                                                                              U.S.C. 20–20g) entitled ‘An Act relating to the establishment of
                                                                              concession policies in the areas administered by the National Park
                                                                              Service and for other purposes’ ’’ because section 415 of the Na-
                                                                              tional Park Service Concessions Management Improvement Act of
                                                                              1998 (Public Law 105–391, 112 Stat. 3515) repealed the Act of Oc-
                                                                              tober 9, 1965, which was classified as 16 U.S.C. 20 to 20g, and en-
                                                                              acted similar provisions, which are restated as subchapter II of
                                                                              chapter 1019 of the new title.
                                                                                                                           SECTION 100905
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              100905 .................   16 U.S.C. 460l–6d (relat-     Pub. L. 106–206, § 1 (relating to the National
                                                                                                           ing to the National           Park Service), May 26, 2000, 114 Stat. 314.
                                                                                                           Park Service)

                                                                                In subsection (e)(1), the words ‘‘in accordance with the formula
                                                                              and purposes established for the Recreational Fee Demonstration
                                                                              Program (Public Law 104–134)’’ are omitted as obsolete because
                                                                              the Program was repealed by section 813(b) of the Federal Lands
                                                                              Recreation Enhancement Act (Public Law 108–447, 118 Stat. 3390).
                                                                                                                           SECTION 100906
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              100906(a) .............    16 U.S.C. 1a–2 (matter        Pub. L. 91–383, § 3 (matter before (a)), (c), Aug.
                                                                                                           before (a), (c) (words        18, 1970, 84 Stat. 826; Pub. L. 106–176, title
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                                                                                                           before comma)                 I, § 118(2), (3), Mar. 10, 2000, 114 Stat. 28.
                                                                              100906(b), (c) .......     16 U.S.C. 1a–14               Pub. L. 102–525, title III, § 301, Oct. 26, 1992,
                                                                                                                                         106 Stat. 3441.




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                                                                                                                                     32
                                                                                                                 SECTION 100906—CONTINUED
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              100906(d) .............    16 U.S.C. 1a–2(c) (words
                                                                                                           after comma)



                                                                                                         Chapter 1011—Donations
                                                                              Subchapter I—Authority of Secretary
                                                                              Sec.
                                                                              101101. Authority to accept land, rights-of-way, buildings, other property, and
                                                                                          money.
                                                                              101102. Authority to accept and use funds to consolidate Federal land ownership.
                                                                              Subchapter II—National Park Foundation
                                                                              101111. Purpose and establishment of Foundation.
                                                                              101112. Board.
                                                                              101113. Gifts, devises, or bequests.
                                                                              101114. Dispostion of property or income.
                                                                              101115. Corporate succession and powers and duties acting as trustee; personal li-
                                                                                          ability for malfeasance.
                                                                              101116. Corporate powers.
                                                                              101117. Authority of Board.
                                                                              101118. Tax exemptions; contributions toward costs of local government; contribu-
                                                                                          tions, gifts, or transfers to or for use of United States.
                                                                              101119. Liability of United States.
                                                                              101120. Promotion of local fundraising support.

                                                                                                     Subchapter I—Authority of Secretary
                                                                                                                          SECTION 101101
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101101 .................   16 U.S.C. 6                  June 5, 1920, ch. 235, § 1 (2d undesignated par.
                                                                                                                                        under heading ‘‘NATIONAL PARKS’’), 41 Stat.
                                                                                                                                        917.


                                                                                                                          SECTION 101102
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101102 .................   16 U.S.C. 452a               Aug. 31, 1954, ch. 1163, 68 Stat. 1037.

                                                                                In subsection (b), the words ‘‘not more than $500,000’’ are sub-
                                                                              stituted for ‘‘such funds as may be necessary’’ and the text of 16
                                                                              U.S.C. 45a (proviso) to eliminate unnecessary words.
                                                                                                 Subchapter II—National Park Foundation
                                                                                                                          SECTION 101111
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101111 .................   16 U.S.C. 19e                Pub. L. 90–209, § 1, Dec. 18, 1967, 81 Stat. 656.


                                                                                                                          SECTION 101112
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)
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                                                                              101112 .................   16 U.S.C. 19f                Pub. L. 90–209, § 2, Dec. 18, 1967, 81 Stat. 656.




                                                                                                                                                                                          Exhibit A
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                                                                                                                                     33

                                                                                In this section, the text of 16 U.S.C. 19f (2d and last sentences
                                                                              in last sentences) is omitted as obsolete.
                                                                                In subsection (a), the words ‘‘ex officio’’ are omitted as unneces-
                                                                              sary.
                                                                                In subsection (b), the words ‘‘whose initial terms shall be stag-
                                                                              gered to assure continuity of administration. Thereafter’’ are omit-
                                                                              ted as obsolete.
                                                                                                                          SECTION 101113
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101113(a)(1) .........     16 U.S.C. 19g (1st sen-      Pub. L. 90–209, § 3, Dec. 18, 1967, 81 Stat. 656.
                                                                                                           tence words before pro-
                                                                                                           viso)
                                                                              101113(a)(2) .........     16 U.S.C. 19g (last sen-
                                                                                                           tence)
                                                                              101113(b) .............    16 U.S.C. 19g (1st sen-
                                                                                                           tence proviso)
                                                                              101113(c) .............    16 U.S.C. 19g (2d sen-
                                                                                                           tence)

                                                                                In subsection (c), the words ‘‘among other things’’ are omitted as
                                                                              unnecessary.
                                                                                                                          SECTION 101114
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101114 .................   16 U.S.C. 19h                Pub. L. 90–209, § 4, Dec. 18, 1967, 81 Stat. 656;
                                                                                                                                        Pub. L. 106–176, title III, § 305, Mar. 10,
                                                                                                                                        2000, 114 Stat. 33.


                                                                                                                          SECTION 101115
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101115 .................   16 U.S.C. 19i                Pub. L. 90–209, § 5, Dec. 18, 1967, 81 Stat. 657.


                                                                                                                          SECTION 101116
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101116 .................   16 U.S.C. 19j                Pub. L. 90–209, § 6, Dec. 18, 1967, 81 Stat. 657.


                                                                                                                          SECTION 101117
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101117 .................   16 U.S.C. 19k                Pub. L. 90–209, § 7, Dec. 18, 1967, 81 Stat. 657.


                                                                                                                          SECTION 101118
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101118 .................   16 U.S.C. 19l                Pub. L. 90–209, § 8, Dec. 18, 1967, 81 Stat. 657.

                                                                                In subsection (b), the words ‘‘in the discretion of its directors’’ are
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                                                                              omitted as unnecessary.




                                                                                                                                                                                          Exhibit A
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                                                                                                                                     34
                                                                                                                          SECTION 101119
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101119 .................   16 U.S.C. 19m                Pub. L. 90–209, § 9, Dec. 18, 1967, 81 Stat. 657.


                                                                                                                          SECTION 101120
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101120 .................   16 U.S.C. 19o                Pub. L. 90–209, § 11, as added Pub. L. 105–391,
                                                                                                                                        title VII, § 701, Nov. 13, 1998, 112 Stat. 3520.



                                                                                                         Chapter 1013—Employees
                                                                              Subchapter I—General Provisions
                                                                              Sec.
                                                                              101301. Maintenance management system.
                                                                              101302. Authority of Secretary to carry out certain activities.
                                                                              101303. Medical attention for employees.
                                                                              101304. Personal equipment and property.
                                                                              101305. Travel expenses of System employees and dependents of deceased employ-
                                                                                          ees.
                                                                              Subchapter II—Service Career Development, Training, and Management
                                                                              101321. Service employee training.
                                                                              101322. Management development and training.
                                                                              Subchapter III—Housing Improvement
                                                                              101331. Definitions.
                                                                              101332. General authority of Secretary.
                                                                              101333. Criteria for providing housing.
                                                                              101334. Authorization for housing agreements.
                                                                              101335. Housing programs.
                                                                              101336. Contracts for the management of field employee quarters.
                                                                              101337. Leasing of seasonal employee quarters.
                                                                              101338. General leasing provisions.
                                                                              101339. Assessment and priority listing.
                                                                              101340. Use of funds.

                                                                                                         Subchapter I—General Provisions
                                                                                                                          SECTION 101301
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101301 .................   16 U.S.C. 1a–8(a)            Pub. L. 98–540, § 4(a), Oct. 24, 1984, 98 Stat.
                                                                                                                                        2719; Pub. L. 103–437, § 6(d)(1), Nov. 2, 1994,
                                                                                                                                        108 Stat. 4583.


                                                                                                                          SECTION 101302
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101302(a) .............    16 U.S.C. 1a–2 (matter       Pub. L. 91–383, § 3 (matter before (a)), Aug. 18,
                                                                                                           before (a))                  1970, 84 Stat. 826.
                                                                              101302(b) .............    16 U.S.C. 1a–2(a)            Pub. L. 91–383, § 3(a), (b), (d), Aug. 18, 1970, 84
                                                                                                                                        Stat. 826, 827; Pub. L. 106–176, title I,
                                                                                                                                        § 118(2), (3), Mar. 10, 2000, 114 Stat. 28.
                                                                              101302(c) .............    16 U.S.C. 1a–2(b)
                                                                              101302(d) .............    16 U.S.C. 1a–2(d)
                                                                              101302(e) .............    16 U.S.C. 1a–2(i)            Pub. L. 91–383, § 3(i), as added Pub. L. 94–458,
                                                                                                                                        § 1(2), Oct. 7, 1976, 90 Stat. 1939; Pub. L.
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                                                                                                                                        106–176, title I, § 118(2), (4), Mar. 10, 2000,
                                                                                                                                        114 Stat. 28.




                                                                                                                                                                                            Exhibit A
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                                                                                                                                     35
                                                                                                                          SECTION 101303
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101303(a) .............    16 U.S.C. 11                 May 10, 1926, ch. 277, § 1 (last undesignated
                                                                                                                                        par. under heading ‘‘NATIONAL PARKS’’), 44
                                                                                                                                        Stat. 491.
                                                                              101303(b) .............    16 U.S.C. 13                 July 3, 1926, ch. 792, § 2, 44 Stat. 900.


                                                                                                                          SECTION 101304
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101304(a) .............    16 U.S.C. 17                 May 26, 1930, ch. 324, §§ 1, 7 to 9, 46 Stat. 381,
                                                                                                                                       382.
                                                                              101304(b) .............    16 U.S.C. 17f
                                                                              101304(c) .............    16 U.S.C. 17g
                                                                              101304(d) .............    16 U.S.C. 17h


                                                                                                                          SECTION 101305
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101305 .................   16 U.S.C. 17j                May 26, 1930, ch. 324, § 11, 46 Stat. 383; Pub.
                                                                                                                                       L. 91–383, § 5, as added Pub. L. 94–458, § 2,
                                                                                                                                       Oct. 7, 1976, 90 Stat. 1939.


                                                                                     Subchapter II—Service Career Development, Training,
                                                                                                      and Management
                                                                                                                          SECTION 101321
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101321 .................   16 U.S.C. 5912               Pub. L. 105–391, title I, § 102, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3498.


                                                                                                                          SECTION 101322
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101322 .................   16 U.S.C. 5913               Pub. L. 105–391, title I, § 103, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3498.

                                                                                The word ‘‘maintain’’ is substituted for ‘‘Within 2 years after No-
                                                                              vember 13, 1998 . . . develop’’ to eliminate obsolete words.
                                                                                                     Subchapter III—Housing Improvement
                                                                                                                          SECTION 101331
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101331 .................   16 U.S.C. 17o(19)            Pub. L. 104–333, div. I, title VIII, § 814(a)(19),
                                                                                                                                        Nov. 12, 1996, 110 Stat. 4194.

                                                                                 The text of 16 U.S.C. 17o(19)(B) is omitted because the term
                                                                              ‘‘land management agency’’ is not used.
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                                                                                                                                                                                           Exhibit A
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                                                                                                                                       36
                                                                                                                            SECTION 101332
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              101332(a) .............    16 U.S.C. 17o(2)               Pub. L. 104–333, div. I, title VIII, § 814(a)(2),
                                                                                                                                          (17)(A), (B), Nov. 12, 1996, 110 Stat. 4190,
                                                                                                                                          4193.
                                                                              101332(b) .............    16 U.S.C. 17o(9)               Pub. L. 104–333, div. I, title VIII, § 814(a)(9),
                                                                                                                                          Nov. 12, 1996, 110 Stat. 4191; Pub. L. 106–
                                                                                                                                          176, title I, § 120(a)(1)(C), Mar. 10, 2000, 114
                                                                                                                                          Stat. 28.
                                                                              101332(c) .............    16 U.S.C. 17o(17)(A)
                                                                              101332(d) .............    16 U.S.C. 17o(17)(B)

                                                                                In subsection (a)(2), the words ‘‘or lease’’ are omitted to distin-
                                                                              guish between leasing property and renting employee housing.
                                                                                                                            SECTION 101333
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              101333 .................   16 U.S.C. 17o(3)               Pub. L. 104–333, div. I, title VIII, § 814(a)(3),
                                                                                                                                          Nov. 12, 1996, 110 Stat. 4190.

                                                                                 The words ‘‘The Secretary shall maintain’’ are substituted for
                                                                              ‘‘On November 12, 1996, the Secretary shall review and revise the
                                                                              existing’’, and the word ‘‘existing’’ is omitted, to eliminate obsolete
                                                                              words.
                                                                                                                            SECTION 101334
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              101334 .................   16 U.S.C. 17o(6)               Pub. L. 104–333, div. I, title VIII, § 814(a)(6),
                                                                                                                                          Nov. 12, 1996, 110 Stat. 4191; Pub. L. 106–
                                                                                                                                          176, title I, § 120(a)(1)(A), Mar. 10, 2000, 114
                                                                                                                                          Stat. 28.

                                                                                The words ‘‘For those units of the National Park System for
                                                                              which the review required by paragraphs (3) and (5) has been com-
                                                                              pleted’’ are omitted as obsolete. The words ‘‘or lease’’ are omitted
                                                                              to distinguish between leasing property and renting employee
                                                                              housing.
                                                                                                                            SECTION 101335
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              101335(a) .............    16 U.S.C. 17o(7)               Pub. L. 104–333, div. I, title VIII, § 814(a)(7),
                                                                                                                                          Nov. 12, 1996, 110 Stat. 4190; Pub. L. 106–
                                                                                                                                          176, title I, § 120(a)(1)(B), Mar. 10, 2000, 114
                                                                                                                                          Stat. 28.
                                                                              101335(b) .............    16 U.S.C. 17o(8)               Pub. L. 104–333, div. I, title VIII, § 814(a)(8),
                                                                                                                                          Nov. 12, 1996, 110 Stat. 4192.


                                                                                                                            SECTION 101336
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              101336 .................   16 U.S.C. 17o(10)              Pub. L. 104–333, div. I, title VIII, § 814(a)(10),
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                                                                                                                                          Nov. 12, 1996, 110 Stat. 4192.




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                                                                                                                                     37
                                                                                                                          SECTION 101337
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101337 .................   16 U.S.C. 17o(11)            Pub. L. 104–333, div. I, title VIII, § 814(a)(11),
                                                                                                                                        Nov. 12, 1996, 110 Stat. 4192; Pub. L. 106–
                                                                                                                                        176, title I, § 120(a)(1)(D), Mar. 10, 2000, 114
                                                                                                                                        Stat. 28.


                                                                                                                          SECTION 101338
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101338(a) .............    16 U.S.C. 17o(17)(C)         Pub. L. 104–333, div. I, title VIII,
                                                                                                                                        § 814(a)(17)(C), Nov. 12, 1996, 110 Stat. 4194.
                                                                              101338(b) .............    16 U.S.C. 17o(18)            Pub. L. 104–333, div. I, title VIII, § 814(a)(18),
                                                                                                                                        Nov. 12, 1996, 110 Stat. 4191; Pub. L. 106–
                                                                                                                                        176, title I, § 120(a)(1)(F), Mar. 10, 2000, 114
                                                                                                                                        Stat. 28.


                                                                                                                          SECTION 101339
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101339 .................   16 U.S.C. 17o(12)            Pub. L. 104–333, div. I, title VIII, § 814(a)(12),
                                                                                                                                        Nov. 12, 1996, 110 Stat. 4193.

                                                                                 In paragraph (1), the words ‘‘mission of the Service’’ are sub-
                                                                              stituted for ‘‘agency mission’’ because the provision applies only to
                                                                              the Service.
                                                                                 In paragraph (2), the word ‘‘Service-wide’’ is substituted for
                                                                              ‘‘agency-wide’’ because the provision applies only to the Service.
                                                                                                                          SECTION 101340
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101340(a) .............    16 U.S.C. 17o(13)            Pub. L. 104–333, div. I, title VIII, § 814(a)(13),
                                                                                                                                        Nov. 12, 1996, 110 Stat. 4193; Pub. L. 106–
                                                                                                                                        176, title I, § 120(a)(1)(E), Mar. 10, 2000, 114
                                                                                                                                        Stat. 28.
                                                                              101340(b) .............    16 U.S.C. 17o(14)            Pub. L. 104–333, div. I, title VIII, § 814(a)(14),
                                                                                                                                        Nov. 12, 1996, 110 Stat. 4193.

                                                                                 In subsection (a), the word ‘‘Secretary’’ is substituted for ‘‘agency’’
                                                                              to correct an error in the source provision because the provision
                                                                              only applies to the Service and the Secretary develops the priority
                                                                              listing.
                                                                                 In subsection (b), the words ‘‘for the first fiscal year after Novem-
                                                                              ber 12, 1996, and . . . subsequent’’ are omitted as obsolete.

                                                                                                Chapter 1015—Transportation
                                                                              Subchapter I—Airports
                                                                              Sec.
                                                                              101501. Airports in or near System units.
                                                                              Subchapter II—Roads and Trails
                                                                              101511. Authority of Secretary.
                                                                              101512. Conveyance to States of roads leading to certain historical areas.
                                                                              Subchapter III—Public Transportation Programs for System Units
                                                                              101521. Transportation service and facility programs.
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                                                                              101522. Transportation projects.
                                                                              101523. Procedures applicable to transportation plans and projects.




                                                                                                                                                                                           Exhibit A
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                                                                                                                                     38
                                                                              101524. Special rule for service contract to provide transportation services.
                                                                              Subchapter IV—Fees
                                                                              101531. Fee for use of transportation services.

                                                                                                                 Subchapter I—Airports
                                                                                                                         SECTION 101501
                                                                                   Revised Section          Source (U.S. Code)                     Source (Statutes at Large)

                                                                              101501(a) .............   16 U.S.C. 7e                  Mar. 18, 1950, ch. 72, §§ 1 through 5, 64 Stat.
                                                                                                                                       27; Pub. L. 85–726, title XIV, § 1402(e), Aug.
                                                                                                                                       23, 1958, 72 Stat. 807; Pub. L. 89–763, Nov.
                                                                                                                                       5, 1966, 80 Stat. 1313; Pub. L. 91–258, title I,
                                                                                                                                       § 52(b)(1), May 21, 1970, 84 Stat. 235.
                                                                              101501(b) .............   16 U.S.C. 7a
                                                                              101501(c) .............   16 U.S.C. 7b
                                                                              101501(d) .............   16 U.S.C. 7c
                                                                              101501(e) .............   16 U.S.C. 7d

                                                                                In subsections (a) and (d)(1), the words ‘‘subchapter I of chapter
                                                                              471 of title 49’’ are substituted for ‘‘the Federal Airport Act’’. The
                                                                              Federal Airport Act was repealed by section 52(a) of the Airport
                                                                              and Airway Development Act of 1970 (Public Law 91–258, 84 Stat.
                                                                              235), and the Airport and Airway Development Act of 1970 re-
                                                                              placed the Federal Airport Act. The Airport and Airway Develop-
                                                                              ment Act of 1970 was repealed by section 523(a) of the Airport and
                                                                              Airway Improvement Act of 1982 (Public Law 97–248, 96 Stat.
                                                                              695). The Airport and Airway Improvement Act of 1982, which re-
                                                                              placed the Airport and Airway Development Act of 1970, was en-
                                                                              acted as subchapter I of chapter 471 of title 49 by section 1(e) of
                                                                              the Act of July 5, 1994 (Public Law 103–272, 108 Stat. 1245).
                                                                                In subsection (b)(2), the words ‘‘section 47103 of title 49’’ are sub-
                                                                              stituted for ‘‘the Federal Airport Act’’. The Federal Airport Act was
                                                                              repealed by section 52(a) of the Airport and Airway Development
                                                                              Act of 1970 (Public Law 91–258, 84 Stat. 235). Section 12 of the
                                                                              Airport and Airway Development Act of 1970, which provided for
                                                                              a national airport system plan, was replaced by section 504 of the
                                                                              Airport and Airway Improvement Act of 1982 (Public Law 97–248,
                                                                              96 Stat. 675). Section 504 was enacted as section 47103 of title 49
                                                                              by section 1(e) of the Act of July 5, 1994 (Public Law 103–272, 108
                                                                              Stat. 1251).
                                                                                In subsection (c), the text of 16 U.S.C. 7b (last proviso) is omitted
                                                                              as obsolete.
                                                                                In subsection (c)(2), the words ‘‘chief executive official of the’’ are
                                                                              added for clarity and for consistency in the new title.
                                                                                In subsection (d)(2)(A), the words ‘‘(receipt of which funds and
                                                                              their use for such purposes is authorized) ’’ are omitted as unneces-
                                                                              sary.
                                                                                                         Subchapter II—Roads and Trails
                                                                                                                         SECTION 101511
                                                                                   Revised Section          Source (U.S. Code)                     Source (Statutes at Large)

                                                                              101511(a) .............   16 U.S.C. 8                   Apr. 9, 1924, ch. 86, § 1, 43 Stat. 90.
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                                                                                                        16 U.S.C. 8d (words after     Apr. 9, 1924, ch. 86, § 5, as added Jan. 31, 1931,
                                                                                                          6th comma and before         ch. 79, 46 Stat. 1053.
                                                                                                          semicolon, last proviso)




                                                                                                                                                                                           Exhibit A
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                                                                                                                SECTION 101511—CONTINUED
                                                                                   Revised Section          Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101511(b)(1) .........    16 U.S.C. 8a                 Apr. 9, 1924, ch. 86, §§ 4, 6, as added Jan. 31,
                                                                                                                                      1931, ch. 79, 46 Stat. 1053, 1054.
                                                                              101511(b)(2)(A) ....      16 U.S.C. 8b (words be-
                                                                                                          fore 6th comma, words
                                                                                                          after semicolon and be-
                                                                                                          fore 1st proviso)
                                                                              101511(b)(2)(B) ....      16 U.S.C. 8b (2d proviso)
                                                                              101511(b)(3) .........    16 U.S.C. 8c
                                                                              101511(c) .............   16 U.S.C. 8b (1st pro-
                                                                                                          viso)

                                                                                 In subsection (a), the text of 16 U.S.C. 8b (last proviso) and the
                                                                              words ‘‘in the administration of the National Park Service’’ in 16
                                                                              U.S.C. 8 are omitted as unnecessary.
                                                                                 In subsection (b)(1)(A), the words ‘‘at least 90 percent’’ are sub-
                                                                              stituted for ‘‘wholly or to the extent of 90 per centum’’ to eliminate
                                                                              unnecessary words. The words ‘‘National Highway System’’ are
                                                                              substituted for ‘‘Federal 7 per centum highway system’’ to reflect
                                                                              the current name of the system. See 23:101(a)(16).
                                                                                 In subsection (b)(2)(A), the words ‘‘during the fiscal years 1950
                                                                              and 1951’’ and the text of 16 U.S.C. 8b (words after semicolon and
                                                                              before 1st proviso) are omitted as obsolete.
                                                                                 In subsection (c), the words ‘‘Secretary of Transportation’’ are
                                                                              substituted for ‘‘Secretary of Commerce because the functions of
                                                                              the Secretary of Agriculture relating to Public Roads Administra-
                                                                              tion were transferred to the Federal Works Administrator by Reor-
                                                                              ganization Plan No. 1 of 1939 (5 App. U.S.C.) and subsequently to
                                                                              the Administrator of General Services by section 103 of the Federal
                                                                              Property and Administrative Services Act of 1949 (ch. 288, 63 Stat.
                                                                              380) and the Secretary of Commerce and Secretary of Transpor-
                                                                              tation by Reorganization Plan No. 7 of 1949 (5 App. U.S.C.), as
                                                                              amended by section 2(b) of Public Law 97–449 (96 Stat. 2439).
                                                                                                                         SECTION 101512
                                                                                   Revised Section          Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101512(a) .............   16 U.S.C. 8f                 June 3, 1948, ch. 401, § 2, 62 Stat. 334; Aug. 1,
                                                                                                                                       1956, ch. 852, § 5, 70 Stat. 908.
                                                                              101512(b) through         16 U.S.C. 8e                 June 3, 1948, ch. 401, § 1, 62 Stat. 334.
                                                                                (d).

                                                                                 In subsection (a), the words ‘‘Hawaii, Alaska’’ are omitted as ob-
                                                                              solete.
                                                                                 In subsection (d), the words ‘‘is retroceded’’ are substituted for
                                                                              ‘‘shall thereby cease and determine’’ for clarity. The word ‘‘there-
                                                                              after’’ is omitted as unnecessary.
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                                                                                                                                     40

                                                                                          Subchapter III—Public Transportation Programs
                                                                                                         for System Units
                                                                                                                          SECTION 101521
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101521 .................   16 U.S.C. 2302               Pub. L. 95–344, title III, § 302, Aug. 15, 1978,
                                                                                                                                        92 Stat. 478; Pub. L. 103–437, § 6(d)(18), Nov.
                                                                                                                                        2, 1994, 108 Stat. 4584; Pub. L. 104–333, div.
                                                                                                                                        I, title VIII, § 814(d)(1)(A), Nov. 12, 1996, 110
                                                                                                                                        Stat. 4195.

                                                                                 The text of 16 U.S.C. 2302(d) is omitted as superseded by 16
                                                                              U.S.C. 5981, restated as section 101531 of the new title.
                                                                                 In subsection (d), the words ‘‘shall not be considered as conces-
                                                                              sion facilities or services within the meaning of the Act of October
                                                                              9, 1965 (79 Stat. 969)’’ are omitted as obsolete because that Act
                                                                              was repealed by section 415(a) of the National Parks Omnibus
                                                                              Management Act of 1998 (Public Law 105–391, 112 Stat. 3515).
                                                                                 In subsection (e), the words ‘‘section 13506(a)(9)’’ are substituted
                                                                              for ‘‘section 10526(a)(9)’’ because of the general amendment of sub-
                                                                              title IV of title 49 by the ICC Termination Act of 1995 (Public Law
                                                                              104–88, 109 Stat. 802), in which provisions comparable to section
                                                                              10526(a)(9) were enacted as section 13506(a)(9) (109 Stat. 862). The
                                                                              words ‘‘section 10526(a)(9)’’ previously had been substituted for
                                                                              ‘‘section 203(b)(4) of the Interstate Commerce Act (49 U.S.C.
                                                                              303(b)(4))’’ because of section 3(b) of the Act of October 17, 1978
                                                                              (Public Law 95–473, 92 Stat, 1466), the 1st section of which en-
                                                                              acted subtitle IV of title 49.
                                                                                                                          SECTION 101522
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101522 .................   16 U.S.C. 2303               Pub. L. 95–344, title III, § 303, Aug. 15, 1978,
                                                                                                                                        92 Stat. 479; Pub. L. 96–88, title V, § 509(b),
                                                                                                                                        Oct. 17, 1979, 93 Stat. 695; Pub. L. 103–437,
                                                                                                                                        § 6(d)(18), Nov. 2, 1994, 108 Stat. 4584.

                                                                                Subsection (b) is substituted for 16 U.S.C. 2303(b) to eliminate
                                                                              obsolete words.
                                                                                                                          SECTION 101523
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101523 .................   16 U.S.C. 2304               Pub. L. 95–344, title III, § 304, Aug. 15, 1978,
                                                                                                                                        92 Stat. 479; Pub. L. 103–437, § 6(d)(18), Nov.
                                                                                                                                        2, 1994, 108 Stat. 4584.

                                                                                 In subsection (c), the words ‘‘When a report on a project is re-
                                                                              quired under subsection (b)(2)’’ are added for clarity. The words
                                                                              ‘‘implementation of the project’’ are substituted for ‘‘implementation
                                                                              of such plan’’, and the words ‘‘submission of the report’’ are sub-
                                                                              stituted for ‘‘submission of the plan’’, for consistency.
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                                                                                                                                                                                            Exhibit A
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                                                                                                                          SECTION 101524
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101524 .................   16 U.S.C. 5961(a)            Pub. L. 105–391, title IV, § 412(a), Nov. 13,
                                                                                                                                        1998, 112 Stat. 3514; Pub. L. 106–113, div. B,
                                                                                                                                        § 1000(a)(3) [title I, § 143(1)], Nov. 29, 1999,
                                                                                                                                        113 Stat. 1535, 1501A–171.


                                                                                                                   Subchapter IV—Fees
                                                                                                                          SECTION 101531
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101531 .................   16 U.S.C. 5981               Pub. L. 105–391, title IV, § 501, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3518; Pub. L. 109–131, title I,
                                                                                                                                        § 102(b), Dec. 20, 2005, 119 Stat. 2568.



                                                                                        Chapter 1017—Financial Agreements
                                                                              Sec.
                                                                              101701.       Challenge cost-share agreement authority.
                                                                              101702.       Cooperative agreements.
                                                                              101703.       Cooperative management agreements.
                                                                              101704.       Reimbursable agreements.

                                                                                                                          SECTION 101701
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101701 .................   16 U.S.C. 1f                 Pub. L. 104–333, div. I, title VIII, § 814(g), Nov.
                                                                                                                                        12, 1996, 110 Stat. 4199.


                                                                                                                          SECTION 101702
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101702(a) .............    16 U.S.C. 1g                 Pub. L. 104–208, div. A, title I, § 101(d) [title I
                                                                                                                                        (3d undesignated par. under heading ‘‘ADMIN-
                                                                                                                                        ISTRATIVE PROVISIONS’’ under heading ‘‘NA-
                                                                                                                                        TIONAL PARK SERVICE’’)], Sept. 30, 1996, 110
                                                                                                                                        Stat. 3009–189.
                                                                              101702(b) .............    16 U.S.C. 1a–2 (matter       Pub. L. 91–383, § 3 (matter before (a)), Aug. 18,
                                                                                                           before (a))                  1970, 84 Stat. 826.
                                                                                                         16 U.S.C. 1a–2(j)            Pub. L. 91–383, § 3(j), as added Pub. L. 104–
                                                                                                                                        333, div. I, title VIII, § 818, Nov. 12, 1996,
                                                                                                                                        110 Stat. 4201; Pub. L. 106–176, title I,
                                                                                                                                        § 118(5), Mar. 10, 2000, 114 Stat. 28.
                                                                              101702(c) .............    16 U.S.C. 1a–2 (matter
                                                                                                           before (a))
                                                                                                         16 U.S.C. 1a–2(g)            Pub. L. 91–383, § 3(g), Aug. 18, 1970, 84 Stat.
                                                                                                                                        827; Pub. L. 104–333, div. I, title VII, § 703,
                                                                                                                                        Nov. 12, 1996, 110 Stat. 4185; Pub. L. 106–
                                                                                                                                        176, title I, § 118(1), (2), Mar. 10, 2000, 114
                                                                                                                                        Stat. 28.
                                                                              101702(d) .............    16 U.S.C. 1j(a) through      Pub. L. 110–229, title III, subtitle A, § 301(a)
                                                                                                           (c)                          through (c), May 8, 2008, 122 Stat. 768.

                                                                                 In subsection (a), the word ‘‘Secretary’’ is substituted for ‘‘Na-
                                                                              tional Park Service’’ to reflect the transfer of functions of other offi-
                                                                              cers, employees, and agencies of the Department of the Interior to
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                                                                              the Secretary by sections 1 and 2 of Reorganization Plan No. 3 of
                                                                              1950 (5 U.S.C. App.). The words ‘‘in fiscal year 1997 and there-




                                                                                                                                                                                            Exhibit A
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                                                                              after’’ are omitted as obsolete. The words ‘‘for the public purpose
                                                                              of carrying out National Park Service programs’’ are omitted as un-
                                                                              necessary. The words ‘‘is a cooperative agreement properly entered
                                                                              into under section 6305 of title 31’’ are substituted for ‘‘pursuant
                                                                              to section 6305 of title 31’’ for clarity.
                                                                                                                          SECTION 101703
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              101703 .................   16 U.S.C. 1a–2 (matter       Pub. L. 91–383, § 3 (matter before (a)), Aug. 18,
                                                                                                           before (a))                  1970, 84 Stat. 826.
                                                                                                         16 U.S.C. 1a–2(l)            Pub. L. 91–383, § 3(l), as added Pub. L. 105–
                                                                                                                                        391, title VIII, § 802(a), Nov. 13, 1998, 112
                                                                                                                                        Stat. 3523.


                                                                                                                          SECTION 101704
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              101704 .................   16 U.S.C. 1i                 Pub. L. 108–7, div. F, title I (proviso in last un-
                                                                                                                                        designated par. under heading ‘‘ADMINISTRA-
                                                                                                                                        TIVE PROVISIONS’’ under heading ‘‘NATIONAL
                                                                                                                                        PARK SERVICE’’), Feb. 20, 2003, 117 Stat. 227.

                                                                                The words ‘‘Heretofore and hereafter’’ and ‘‘section 1341 of title
                                                                              31 or’’ are omitted as unnecessary

                                                                                              Chapter 1019—Concessions and
                                                                                              Commercial Use Authorizations
                                                                              Subchapter I—Authority of Secretary
                                                                              Sec.
                                                                              101901. Utility services.
                                                                              Subchapter II—Commercial Visitor Services
                                                                              101911. Definitions.
                                                                              101912. Findings and declaration of policy.
                                                                              101913. Award of concession contracts.
                                                                              101914. Term of concession contracts.
                                                                              101915. Protection of concessioner investment.
                                                                              101916. Reasonableness of rates and charges.
                                                                              101917. Franchise fees.
                                                                              101918. Transfer or conveyance of concession contracts or leasehold surrender in-
                                                                                          terests.
                                                                              101919. National Park Service Concessions Management Advisory Board.
                                                                              101920. Contracting for services.
                                                                              101921. Multiple contracts within a System unit.
                                                                              101922. Use of nonmonetary consideration in concession contracts.
                                                                              101923. Recordkeeping requirements.
                                                                              101924. Promotion of sale of Indian, Alaska Native, Native Samoan, and Native
                                                                                          Hawaiian handicrafts.
                                                                              101925. Commercial use authorizations.
                                                                              101926. Regulations.

                                                                                                     Subchapter I—Authority of Secretary
                                                                                                                          SECTION 101901
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)
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                                                                              101901 .................   16 U.S.C. 1b (matter be-     Aug. 8, 1953, ch. 384, § 1 (matter before (1)), (4),
                                                                                                           fore (1))                   67 Stat. 495; Pub. L. 91–383, § 2(a), Aug. 18,
                                                                                                                                       1970, 84 Stat. 826.




                                                                                                                                                                                             Exhibit A
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                                                                                                                                      43
                                                                                                                 SECTION 101901—CONTINUED
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                                                         16 U.S.C. 1b(4)

                                                                                The words ‘‘and he may use applicable appropriations for the
                                                                              aforesaid system for the following purposes’’ are omitted as unnec-
                                                                              essary.
                                                                                                Subchapter II—Commercial Visitor Services
                                                                                                                           SECTION 101911
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              101911(1) .............    no source
                                                                              101911(2) .............    16 U.S.C. 5952(7)(C)          Pub. L. 105–391, title IV, § 403(7)(C), Nov. 13,
                                                                                                                                         1998, 112 Stat. 3506.


                                                                                                                           SECTION 101912
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              101912 .................   16 U.S.C. 5951                Pub. L. 105–391, title IV, § 402, Nov. 13, 1998,
                                                                                                                                         112 Stat. 3503.

                                                                                In subsection (a), the words ‘‘section 100101(a)’’ are substituted
                                                                              for ‘‘sections 1, 2, 3, and 4 of this title, which directs the Secretary
                                                                              to administer units of the National Park System in accordance with
                                                                              the fundamental purpose of conserving their scenery, wildlife, and
                                                                              natural and historic objects, and providing for their enjoyment in
                                                                              a manner that will leave them unimpaired for the enjoyment of fu-
                                                                              ture generations’’ to give a more precise cross reference because
                                                                              section 100101(a) of the new title is where that direction to the
                                                                              Secretary is restated.
                                                                                                                           SECTION 101913
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              101913 .................   16 U.S.C. 5952 (less          Pub. L. 105–391, title IV, § 403 (less (7)(C)),
                                                                                                           (7)(C))                       Nov. 13, 1998, 112 Stat. 3504.

                                                                                In paragraph (1), the words ‘‘entities seeking award of a conces-
                                                                              sion contract’’ are substituted for ‘‘concessions contracts’’ for clarity.
                                                                                In paragraph (2)(B)(i), the words ‘‘by electronic means’’ are sub-
                                                                              stituted for ‘‘the Commerce Business Daily’’ to eliminate obsolete
                                                                              words. Federal Business Opportunities is the designated single
                                                                              point of universal electronic public access for publication of all pro-
                                                                              curement information and notices previously published in the Com-
                                                                              merce Business Daily. See 66 Fed. Reg. 27407, May 16, 2001, 68
                                                                              Fed. Reg. 56678, October 1, 2003, 48 CFR ch. 1, subch. B, part 5,
                                                                              and the special notice posted in CBDNet on December 28, 2001,
                                                                              and printed on January 2, 2002. The special notice can be found
                                                                              by going to http://cbdnet.gpo.gov and clicking on ‘‘Federal Business
                                                                              Opportunities to replace the Commerce Business Daily’’.
                                                                                In paragraph (5)(C), the words ‘‘concession contract’’ are sub-
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                                                                              stituted for ‘‘concession, contracts’’ to correct an error in the source
                                                                              provision.




                                                                                                                                                                                          Exhibit A
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                                                                                                                                     44

                                                                                In paragraph (8)(B)(ii)(III), the word ‘‘concession’’ is added for
                                                                              consistency in this subchapter.
                                                                                                                          SECTION 101914
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101914 .................   16 U.S.C. 5953               Pub. L. 105–391, title IV, § 404, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3508; Pub. L. 106–176, title III,
                                                                                                                                        § 311, Mar. 10, 2000, 114 Stat. 34.


                                                                                                                          SECTION 101915
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101915(a) .............    16 U.S.C. 5954(e)            Pub. L. 105–391, title IV, § 405(a) through (e),
                                                                                                                                        Nov. 13, 1998, 112 Stat. 3508.
                                                                              101915(b) .............    16 U.S.C. 5954(a)
                                                                              101915(c)(1)               16 U.S.C. 5954(b)
                                                                                through (3).
                                                                              101915(c)(4) .........     16 U.S.C. 5954 note          Pub. L. 110–161, div. F, title I (1st paragraph
                                                                                                                                        under heading ‘‘ADMINISTRATIVE PROVISIONS’’
                                                                                                                                        under heading ‘‘NATIONAL PARK SERVICE’’),
                                                                                                                                        Dec. 26, 2007, 121 Stat. 2107.
                                                                              101915(d), (e) .......     16 U.S.C. 5954(c), (d)

                                                                                In subsection (b), before paragraph (1), the words ‘‘On and after
                                                                              November 13, 1998’’ are omitted as obsolete. In paragraph (6)(A),
                                                                              the words ‘‘Effective 9 years after November 13, 1998’’ are omitted
                                                                              as obsolete.
                                                                                In subsection (c)(4), the words ‘‘For fiscal years 2008 and here-
                                                                              after’’ are omitted as obsolete.
                                                                                                                          SECTION 101916
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101916 .................   16 U.S.C. 5955               Pub. L. 105–391, title IV, § 406, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3510.


                                                                                                                          SECTION 101917
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101917 .................   16 U.S.C. 5956               Pub. L. 105–391, title IV, § 407, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3511.


                                                                                                                          SECTION 101918
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101918 .................   16 U.S.C. 5957               Pub. L. 105–391, title IV, § 408, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3512.

                                                                                In subsection (b)(1), the word ‘‘other’’ is added for consistency in
                                                                              the subchapter. See section 101926 of the revised title.
                                                                                                                          SECTION 101919
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101919(a) through          16 U.S.C. 5958(a)            Pub. L. 105–391, title IV, § 409, Nov. 13, 1998,
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                                                                                (c).                       through (c)                  112 Stat. 3512; Pub. L. 111–11, subtitle VII,
                                                                                                                                        subtitle E, § 7403, 123 Stat. 1219.




                                                                                                                                                                                         Exhibit A
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                                                                                                                                     45
                                                                                                                 SECTION 101919—CONTINUED
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101919(d) .............    16 U.S.C. 5958(e)
                                                                              101919(e) .............    16 U.S.C. 5958(d)

                                                                                In subsection (b)(2), the text of 16 U.S.C. 5958(b)(2) (last sen-
                                                                              tence) is omitted as obsolete.
                                                                                In subsection (b)(3), the words ‘‘commencing with the first anni-
                                                                              versary of its initial meeting’’ are omitted as obsolete.
                                                                                In subsection (d), the word ‘‘deemed’’ is substituted for ‘‘consid-
                                                                              ered as’’ for consistency in this title and with other titles of the
                                                                              United States Code.
                                                                                                                          SECTION 101920
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101920 .................   16 U.S.C. 5959               Pub. L. 105–391, title IV, § 410, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3514.


                                                                                                                          SECTION 101921
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101921 .................   16 U.S.C. 5960               Pub. L. 105–391, title IV, § 411, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3514.


                                                                                                                          SECTION 101922
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101922 .................   16 U.S.C. 5962               Pub. L. 105–391, title IV, § 413, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3515.

                                                                                The words relating to the leasing of buildings and properties of
                                                                              the United States’’ are omitted as unnecessary.
                                                                                                                          SECTION 101923
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101923 .................   16 U.S.C. 5963               Pub. L. 105–391, title IV, § 414, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3515.

                                                                                 In this section, the word ‘‘duly’’ is omitted as unnecessary.
                                                                                 In subsection (a), the words ‘‘and any subconcessioner’’ and ‘‘or
                                                                              subconcessioner’’ are added for clarity. See 36 CFR 51.98. The word
                                                                              ‘‘records’’ is substituted for ‘‘books, documents, and papers’’ for con-
                                                                              sistency in the revised title and with other titles of the United
                                                                              States Code.
                                                                                 In subsection (b), the words ‘‘books, papers, documents’’ are omit-
                                                                              ted as included in ‘‘records’’. The words ‘‘described in subsection
                                                                              (a)’’ are added for clarity.
                                                                                                                          SECTION 101924
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)
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                                                                              101924 .................   16 U.S.C. 5964               Pub. L. 105–391, title IV, § 416, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3516.




                                                                                                                                                                                         Exhibit A
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                                                                                                                                     46
                                                                                                                          SECTION 101925
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101925 .................   16 U.S.C. 5966               Pub. L. 105–391, title IV, § 418, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3516.


                                                                                                                          SECTION 101926
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              101926 .................   16 U.S.C. 5965               Pub. L. 105–391, title IV, § 417, Nov. 13, 1998,
                                                                                                                                        112 Stat. 3516.

                                                                                The words ‘‘As soon as practicable after the effective date of this
                                                                              subchapter’’ are omitted as obsolete.

                                                                                        Chapter 1021—Privileges and Leases
                                                                              Sec.
                                                                              102101.       General provisions.
                                                                              102102.       Authority of Secretary to enter into lease for buildings and associated
                                                                                              property.

                                                                                                                          SECTION 102101
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              102101 .................   16 U.S.C. 3 (last sen-       Aug. 25, 1916, ch. 408, § 3 (last sentence), 39
                                                                                                           tence)                      Stat. 535; Mar. 7, 1928, ch. 137, § 1 (matter
                                                                                                                                       relating to section 3 of the Act of August 25,
                                                                                                                                       1916, in 12th undesignated par. under head-
                                                                                                                                       ing ‘‘NATIONAL PARK SERVICE’’), 45 Stat.
                                                                                                                                       235; Pub. L. 85–434, May 29, 1958, 72 Stat.
                                                                                                                                       152; Pub. L. 105–391, title IV, § 415(b)(1),
                                                                                                                                       Nov. 13, 1998, 112 Stat. 3515.

                                                                                  In subsection (a)(1), the word ‘‘rented’’ is omitted as included in
                                                                              ‘‘leases’’.
                                                                                  In subsections (b) and (c), the word ‘‘permit’’ is omitted for con-
                                                                              sistency because a permit is not mentioned earlier in the source
                                                                              provision.
                                                                                  In subsection (c), the word ‘‘lessee’’ is substituted for ‘‘permittees’’
                                                                              for consistency in the section.
                                                                                                                          SECTION 102102
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              102102(a) .............    16 U.S.C. 1a–2 (matter       Pub. L. 91–383, § 3 (matter before (a)), Aug. 18,
                                                                                                           before (a)                   1970, 84 Stat. 826.
                                                                                                         16 U.S.C. 1a–2(k)(1)         Pub. L. 91–383, § 3(k), as added Pub. L. 105–
                                                                                                                                        391, title VIII, § 802(a), Nov. 13, 1998, 112
                                                                                                                                        Stat. 3522.
                                                                              102102(b) through          16 U.S.C. 1a–2(k)(2)
                                                                                (d).                       through (4)(B)
                                                                              102102(e) .............    16 U.S.C. 1a–2(k)(5)
                                                                              102102(f) ..............   16 U.S.C. 1a–2(k)(4)(C)
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                                                                                                  Chapter 1023—Programs and
                                                                                                        Organizations
                                                                              Sec.
                                                                              102301.       Volunteers in parks program.
                                                                              102302.       National Capital region arts and cultural affairs.
                                                                              102303.       National Park System Advisory Board.
                                                                              102304.       National Park Service Advisory Council.

                                                                                                                          SECTION 102301
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              102301(a) .............    16 U.S.C. 18g                Pub. L. 91–357, § 1, July 29, 1970, 84 Stat. 472;
                                                                                                                                        Pub. L. 98–540, § 1(b), Oct. 24, 1984, 98 Stat.
                                                                                                                                        2718.
                                                                              102301(b) .............    16 U.S.C. 18h                Pub. L. 91–357, § 2, July 29, 1970, 84 Stat. 472.
                                                                              102301(c) .............    16 U.S.C. 18i                Pub. L. 91–357, § 3, July 29, 1970, 84 Stat. 472;
                                                                                                                                        Pub. L. 101–286, title II, § 204(b), May 9,
                                                                                                                                        1990, 104 Stat. 175.
                                                                              102301(d) .............    16 U.S.C. 18j                Pub. L. 91–357, § 4, July 29, 1970, 84 Stat. 472;
                                                                                                                                        Pub. L. 94–128, Nov. 13, 1975, 89 Stat. 682;
                                                                                                                                        Pub. L. 98–540, § 1(a), Oct. 24, 1984, 98 Stat.
                                                                                                                                        2718; Pub. L. 104–333, div. I, title VIII, § 805,
                                                                                                                                        Nov. 12, 1996, 110 Stat. 4188.

                                                                                 In subsection (a), the words ‘‘chapter 51 and subchapter III of
                                                                              title 5’’ are substituted for ‘‘the civil service classification laws’’ for
                                                                              clarity and for consistency with other titles of the United States
                                                                              Code. The words ‘‘System units and related areas’’ are substituted
                                                                              for ‘‘areas administered by the Secretary through the National
                                                                              Park Service’’ for clarity and for consistency in the new title.
                                                                                 In subsection (b), the words ‘‘of volunteers’’ are added for clarity.
                                                                                 In subsection (c)(3), the words ‘‘relating to compensation to Fed-
                                                                              eral employees for work injuries’’ are omitted as unnecessary.
                                                                                 In subsection (d), the words ‘‘such sums as may be necessary’’ are
                                                                              omitted as unnecessary.
                                                                                                                          SECTION 102302
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              102302 .................   16 U.S.C. 1e                 Pub. L. 98–473, title I, § 101(c) [title I, § 100],
                                                                                                                                        Oct. 12, 1984, 98 Stat. 1837, 1844; Pub. L.
                                                                                                                                        89–671, § 14(c), as added Pub. L. 107–219,
                                                                                                                                        § 1(a)(3), Aug. 21, 2002, 116 Stat. 10330.)


                                                                                                                          SECTION 102303
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              102303(a) .............    no source
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                                                                                                                                                                                            Exhibit A
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                                                                                                                                       48
                                                                                                                  SECTION 102303—CONTINUED
                                                                                   Revised Section            Source (U.S. Code)                     Source (Statutes at Large)

                                                                              102303(b) .............    16 U.S.C. 463(a) (1st, 2d      Aug. 21, 1935, ch. 593, § 3(a) through (f), 49
                                                                                                           sentences)                    Stat. 667; Pub. L. 91–383, § 9, Aug. 18, 1970,
                                                                                                                                         as added Pub. L. 94–458, § 2, Oct. 7, 1976, 90
                                                                                                                                         Stat. 1940; amended Pub. L. 95–625, title VI,
                                                                                                                                         § 604(2), Nov. 10, 1978, 92 Stat. 3518; Pub. L.
                                                                                                                                         101–628, title XII, § 1211, Nov. 28, 1990, 104
                                                                                                                                         Stat. 4507; Pub. L. 104–333, div. I, title VIII,
                                                                                                                                         § 814(f)(1), Nov. 12, 1996, 110 Stat. 4197;
                                                                                                                                         Pub. L. 109–156, § 5, Dec. 30, 2005, 119 Stat.
                                                                                                                                         2948; Pub. L. 110–161, div. F, title I, Dec. 26,
                                                                                                                                         2007, 121 Stat. 2107; Pub. L. 111–8, div. E,
                                                                                                                                         title I, (last par. under heading ‘‘ADMINISTRA-
                                                                                                                                         TIVE PROVISIONS’’, Mar. 11, 2009, 123 Stat.
                                                                                                                                         710.
                                                                              102303(c)(1), (2) ..       16 U.S.C. 463(a) (3d
                                                                                                           through 9th sentences)
                                                                              102303(c)(3) .........     16 U.S.C. 463(a) (10th
                                                                                                           sentence)
                                                                              102303(c)(4) .........     16 U.S.C. 463(a) (11th
                                                                                                           sentence)
                                                                              102303(c)(5) .........     16 U.S.C. 463(a) (13th,
                                                                                                           14th sentences)
                                                                              102303(d)(1) .........     16 U.S.C. 463(a) (12th
                                                                                                           sentence)
                                                                              102303(d)(2) .........     16 U.S.C. 463(a) (15th
                                                                                                           through last sentences)
                                                                              102303(d)(3)               16 U.S.C. 463(c)
                                                                                through (5).
                                                                              102303(d)(6) .........     16 U.S.C. 463(e)(3)
                                                                              102303(e) .............    16 U.S.C. 463(b)(1)
                                                                              102303(f) ..............   16 U.S.C. 463(b)(2)
                                                                              102303(g) .............    16 U.S.C. 463(e)(1), (2)
                                                                              102303(h) .............    16 U.S.C. 463(d), (f) (last
                                                                                                           sentence)
                                                                              102303(i) ..............   16 U.S.C. 463(f) (1st sen-
                                                                                                           tence)

                                                                                In subsection (c)(2), the words ‘‘natural or cultural’’ are sub-
                                                                              stituted for ‘‘national or cultural’’ to correct an error in the source
                                                                              provision.
                                                                                                                           SECTION 102304
                                                                                   Revised Section            Source (U.S. Code)                     Source (Statutes at Large)

                                                                              102304(a)(1) .........     no source
                                                                              102304(a)(2), (b) ..       16 U.S.C. 463(g) (1st          Aug. 21, 1935, ch. 593, § 3(g), as added Pub. L.
                                                                                                           sentence)                     101–628, title XII, § 1212, Nov. 28, 1990, 104
                                                                                                                                         Stat. 4507; Pub. L. 104–333, div. I, title VIII,
                                                                                                                                         § 814(f)(1)(B), Nov. 12, 1996, 110 Stat. 4198.
                                                                              102304(c)(1) .........     16 U.S.C. 463(g) (2d, 3d,
                                                                                                           6th, last sentences)
                                                                              102304(c)(2) .........     16 U.S.C. 463(g)(5th sen-
                                                                                                           tence)
                                                                              102304(d) .............    16 U.S.C. 463(g)(4th sen-
                                                                                                           tence)

                                                                                In subsection (c)(1), the text of 16 U.S.C. 463(g) (6th and last
                                                                              sentences) is omitted as obsolete.
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                                                                                                                                                                                            Exhibit A
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                                                                                                         Chapter 1025—Museums
                                                                              Sec.
                                                                              102501.       Purpose.
                                                                              102502.       Definition.
                                                                              102503.       Authority of Secretary.
                                                                              102504.       Review and approval.

                                                                                                                          SECTION 102501
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              102501 .................   16 U.S.C. 18f (1st sen-      July 1, 1955, ch. 259, § 1 (1st sentence), 69 Stat.
                                                                                                           tence)                       242.


                                                                                                                          SECTION 102502
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              102502 .................   16 U.S.C. 18f–3(b)           July 1, 1955, ch. 259, § 3(b), as added Pub. L.
                                                                                                                                        104–333, div. I, title VIII, § 804(b), Nov. 12,
                                                                                                                                        1996, 110 Stat. 4188.

                                                                                   The words ‘‘museum collections’’ are omitted as unnecessary.
                                                                                                                          SECTION 102503
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              102503(a) through          16 U.S.C. 18f (less 1st      July 1, 1955, ch. 259, § 1 (less 1st sentence), 69
                                                                                (f).                       sentence)                    Stat. 242; Pub. L. 104–333, div. I, title VIII,
                                                                                                                                        § 804(a)(1), Nov. 12, 1996, 110 Stat. 4187.
                                                                              102503(g) through          16 U.S.C. 18f–2(a)           July 1, 1955, ch. 259, § 2(a), as added Pub. L.
                                                                                (i).                                                    104–333, div. I, title VIII, § 804(a)(2), Nov. 12,
                                                                                                                                        1996, 110 Stat. 4187.


                                                                                                                          SECTION 102504
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              102504 .................   16 U.S.C. 18f–2(b)           July 1, 1955, ch. 259, § (2)(b), as added Pub. L.
                                                                                                                                        104–333, div. I, title VIII, § 804(a)(2), Nov. 12,
                                                                                                                                        1996, 110 Stat. 4188.



                                                                                       Chapter 1027—Law Enforcement and
                                                                                             Emergency Assistance
                                                                              Subchapter I—Law Enforcement
                                                                              Sec.
                                                                              102701. Law enforcement personnel within System.
                                                                              102702. Crime prevention assistance.
                                                                              Subchapter II—Emergency Assistance
                                                                              102711. Authority of Secretary to use applicable appropriations for the System to
                                                                                          render assistance to nearby law enforcement and fire prevention agen-
                                                                                          cies and for related activities outside the System.
                                                                              102712. Aid to visitors, grantees, permittees, or licensees in emergencies.
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                                                                                                                                                                                             Exhibit A
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                                                                                                          Subchapter I—Law Enforcement
                                                                                                                           SECTION 102701
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              102701 .................   16 U.S.C. 1a–6                Pub. L. 91–383, § 10, as added Pub. L. 94–458,
                                                                                                                                         § § 2, Oct. 7, 1976, 90 Stat. 1941; Pub. L. 106–
                                                                                                                                         437, § 2, Nov. 6, 2000, 114 Stat. 1920; Pub. L.
                                                                                                                                         108–352, § 11, Oct. 21, 2004, 118 Stat. 1397.

                                                                                In subsection (a)(1), the words ‘‘In addition to any other authority
                                                                              conferred by law’’ are omitted as unnecessary.
                                                                                                                           SECTION 102702
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              102702 .................   16 U.S.C. 1a–7a               Pub. L. 91–383, § 13, as added Pub. L. 103–322,
                                                                                                                                         title IV, § 40132, Sept. 13, 1994, 108 Stat.
                                                                                                                                         1917.


                                                                                                     Subchapter II—Emergency Assistance
                                                                                                                           SECTION 102711
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              102711 .................   16 U.S.C. 1b (matter be-      Aug. 8, 1953, ch. 384, § 1 (matter before (1)), (1),
                                                                                                           fore (1)), (1)               67 Stat. 495; Pub. L. 91–383, § 2(a), Aug. 18,
                                                                                                                                        1970, 84 Stat. 826.

                                                                                The words ‘‘and he may use applicable appropriations for the
                                                                              aforesaid system for the following purposes’’ are retained because
                                                                              the appropriation is to be used for something outside the System.
                                                                                                                           SECTION 102712
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              102712(a) .............    16 U.S.C. 12                  July 3, 1926, ch. 792, § 1, 44 Stat. 900.
                                                                              102712(b) .............    16 U.S.C. 17c                 May 26, 1930, ch. 324, § 4, 46 Stat. 382.



                                                                                                Chapter 1029—Land Transfers
                                                                              Sec.
                                                                              102901.       Conveyance of property and interests in property in System units or re-
                                                                                              lated areas.

                                                                                                                           SECTION 102901
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              102901(a), (b) ......      16 U.S.C. 460l–22(a), (b)     Pub. L. 90–401, § 5(a), (b), July 15, 1968, 82
                                                                                                                                         Stat. 356.
                                                                              102901(c) .............    16 U.S.C. 460l–22(d)          Pub. L. 90–401, § 5(d), July 15, 1968, 82 Stat.
                                                                                                                                         356; Pub. L. 98–506, § 2, Oct. 19, 1984, 98
                                                                                                                                         Stat. 2338.
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                                                                                                                                    51

                                                                                          Chapter 1031—Appropriations and
                                                                                                     Accounting
                                                                              Sec.
                                                                              103101.       Availability and use of appropriations.
                                                                              103102.       Appropriations authorized and available for certain purposes.
                                                                              103103.       Amounts provided by private entities for utility services.
                                                                              103104.       Recovery of costs associated with special use permits.

                                                                                                                         SECTION 103101
                                                                                   Revised Section          Source (U.S. Code)                    Source (Statutes at Large)

                                                                              103101(a) .............   16 U.S.C. 14b                May 9, 1935, ch. 101, § 1 (34th undesignated
                                                                                                                                      paragraph under heading ‘‘NATIONAL PARK
                                                                                                                                      SERVICE’’), 49 Stat. 209.
                                                                                                        16 U.S.C. 456a
                                                                              103101(b) .............   16 U.S.C. 14c                June 28, 1941, ch. 259, § 1 (41st undesignated
                                                                                                                                       paragraph under heading ‘‘NATIONAL PARK
                                                                                                                                       SERVICE’’), 55 Stat. 350.
                                                                              103101(c) .............   16 U.S.C. 14d                Pub. L. 102–381, title I, (1st proviso in para-
                                                                                                                                       graph under heading ‘‘ADMINISTRATIVE PROVI-
                                                                                                                                       SIONS’’ under heading ‘‘NATIONAL PARK SERV-
                                                                                                                                       ICE’’), Oct. 5, 1992, 106 Stat. 1384; Pub. L.
                                                                                                                                       103–332, title I, (3d proviso in paragraph
                                                                                                                                       under heading ‘‘ADMINISTRATIVE PROVISIONS’’
                                                                                                                                       under heading ‘‘NATIONAL PARK SERVICE’’),
                                                                                                                                       Sept. 30, 1994, 108 Stat. 2507.
                                                                              103101(d) .............   16 U.S.C. 14e                Pub. L. 107–63, title I, (paragraph under head-
                                                                                                                                       ing ‘‘CONTRIBUTION FOR ANNUITY BENEFITS’’
                                                                                                                                       under heading ‘‘NATIONAL PARK SERVICE’’),
                                                                                                                                       Nov. 5, 2001, 115 Stat. 424.
                                                                              103101(e) .............   16 U.S.C. 15                 Mar. 7, 1928, ch. 137, § 1 (28th undesignated
                                                                                                                                       paragraph under heading ‘‘NATIONAL PARK
                                                                                                                                       SERVICE’’), 45 Stat. 238.

                                                                                 In subsection (a), the word ‘‘Hereafter’’ in section 1 (last para-
                                                                              graph on p. 209) of the Act of May 9, 1935 (ch. 101, 49 Stat. 209)
                                                                              is omitted as obsolete.
                                                                                 In subsection (b), the word ‘‘Hereafter’’ in section 1 (6th complete
                                                                              paragraph on p. 350) of the Act of June 28, 1941 (ch. 259, 55 Stat.
                                                                              350) is omitted as obsolete.
                                                                                 In subsection (c), the words ‘‘On and after October 5, 1992’’ are
                                                                              omitted as obsolete.
                                                                                 In subsection (d), the words ‘‘the Policemen and Firemen’s Retire-
                                                                              ment and Disability Act amendments of 1957 (Public Law 85–157,
                                                                              71 Stat. 391)’’ are substituted for ‘‘Public Law 85–157’’ for clarity.
                                                                              The words ‘‘Policemen and Firemen’s Retirement and Disability Act
                                                                              (ch. 433, § 12, 39 Stat. 718)’’ are substituted for ‘‘Policeman and
                                                                              Fireman’s Retirement and Disability Act (Act)’’ because of section
                                                                              12(r) of the Policemen and Firemen’s Retirement and Disability
                                                                              Act, as amended by section 3 of the Policemen and Firemen’s Re-
                                                                              tirement and Disability Act amendments of 1957 (Public Law 85–
                                                                              157, 71 Stat. 399). The words ‘‘(not heretofore made)’’ and ‘‘here-
                                                                              after’’ are omitted as obsolete.
                                                                                 In subsection (e), the words ‘‘whenever made’’ are omitted as ob-
                                                                              solete.
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                                                                                                                                       52
                                                                                                                            SECTION 103102
                                                                                   Revised Section            Source (U.S. Code)                      Source (Statutes at Large)

                                                                              103102 .................   16 U.S.C. 1d                   Aug. 8, 1953, ch. 384, § 3, 67 Stat. 496.
                                                                                                         16 U.S.C. 17j–2(b)             Aug. 7, 1946, ch. 788, (b) through (g), (i), (j), 60
                                                                                                           through (g), (i), (j)         Stat. 885, 886; Pub. L. 104–333, div. I, title
                                                                                                                                         VIII, § 802, Nov. 12, 1996, 110 Stat. 4186.

                                                                                Before paragraph (1), the words ‘‘On and after August 8, 1953’’
                                                                              in 16 U.S.C. 1d are omitted as obsolete.
                                                                                                                            SECTION 103103
                                                                                   Revised Section            Source (U.S. Code)                      Source (Statutes at Large)

                                                                              103103 .................   16 U.S.C. 1h                   Pub. L. 108–7, div. F, title I (words before pro-
                                                                                                                                          viso in last undesignated paragraph under
                                                                                                                                          heading ‘‘ADMINISTRATIVE PROVISIONS’’ under
                                                                                                                                          heading ‘‘NATIONAL PARK SERVICE’’), Feb. 20,
                                                                                                                                          2003, 117 Stat. 227.

                                                                                The words ‘‘in fiscal year 2003 and thereafter’’ are omitted as ob-
                                                                              solete.
                                                                                                                            SECTION 103104
                                                                                   Revised Section            Source (U.S. Code)                      Source (Statutes at Large)

                                                                              103104 .................   16 U.S.C. 3a                   Pub. L. 103–138, title I (2d proviso in para-
                                                                                                                                          graph under heading ‘‘ADMINISTRATIVE PROVI-
                                                                                                                                          SIONS’’ under heading ‘‘NATIONAL PARK SERV-
                                                                                                                                          ICE’’), Nov. 11, 1993, 107 Stat. 1387.


                                                                                The words ‘‘on and after November 11, 1993’’ are omitted as ob-
                                                                              solete.

                                                                                     Chapter 1033—National Military Parks
                                                                              Sec.
                                                                              103301.       Military maneuvers.
                                                                              103302.       Camps for military instruction.
                                                                              103303.       Performance of duties of commissions.
                                                                              103304.       Recovery of land withheld.
                                                                              103305.       Travel expenses incident to study of battlefields.
                                                                              103306.       Studies.

                                                                                                                            SECTION 103301
                                                                                   Revised Section            Source (U.S. Code)                      Source (Statutes at Large)

                                                                              103301 .................   16 U.S.C. 411                  May 15, 1896, ch. 182, § 1, 29 Stat. 120; July
                                                                                                                                         26, 1947, ch. 343, title II, § 205(a), 61 Stat.
                                                                                                                                         501.

                                                                                The words ‘‘or Regular Air Force’’ are added for consistency with
                                                                              section 103302 of the new title.
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                                                                                                                                     53
                                                                                                                          SECTION 103302
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              103302 .................   16 U.S.C. 412                May 15, 1896, ch. 182, § 2, 29 Stat. 121; July
                                                                                                                                       26, 1947, ch. 343, title II, § 205(a), 61 Stat.
                                                                                                                                       501.

                                                                                In this section, the words ‘‘or Secretary of the Air Force’’ and ‘‘or
                                                                              Regular Air Force’’ are added because certain functions, personnel,
                                                                              and property, insofar as they pertain to the Air Force, were trans-
                                                                              ferred from the Secretary of the Army and Department of the Army
                                                                              to the Secretary of the Air Force and Department of the Air Force
                                                                              by Secretary of Defense Transfer Order Nos. 1, September 26,
                                                                              1947; 10, April 27, 1948; and 40 [App. B(65)], July 22, 1949.
                                                                                In subsection (b), the words ‘‘and publish’’ are omitted because of
                                                                              44 U.S.C. 1505.
                                                                                                                          SECTION 103303
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              103303 .................   16 U.S.C. 421                Aug. 24, 1912, ch. 355, § 1 (last undesignated
                                                                                                                                       paragraph under heading ‘‘NATIONAL MILI-
                                                                                                                                       TARY PARKS’’ under heading ‘‘UNDER THE
                                                                                                                                       WAR DEPARTMENT’’), 37 Stat. 442; July 26,
                                                                                                                                       1947, ch. 343, title II, § 205(a), 61 Stat. 501.

                                                                                 Section 103303 is substituted for 16 U.S.C. 421 to eliminate obso-
                                                                              lete words because there no longer are park commissioners for the
                                                                              national military parks. The references to the Secretary of the
                                                                              Army are changed to the Secretary the Interior because the admin-
                                                                              istrative functions of certain national military parks were trans-
                                                                              ferred to the Department of the Interior by section 2 of Executive
                                                                              Order No. 6166, June 10, 1933, and section 1 of Executive Order
                                                                              No. 6228, July 28, 1933, set out as a note under section 901 of Title
                                                                              5, Government Organization and Employees. References to the Na-
                                                                              tional Park Service were substituted for references to the Office of
                                                                              National Parks, Buildings, and Reservations in section 2 of Execu-
                                                                              tive Order No. 6166 because of the last paragraph under the head-
                                                                              ing ‘‘OFFICE OF NATIONAL PARKS, BUILDINGS, AND RES-
                                                                              ERVATIONS’’ in section 1 of the Act of March 2, 1934 (ch. 38, 48
                                                                              Stat. 389).
                                                                                                                          SECTION 103304
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              103304 .................   16 U.S.C. 416                Mar. 3, 1897, ch. 372, §§ 4, 5, 29 Stat. 622.

                                                                                In subsection (a) the words ‘‘any park commissioner’’ are omitted
                                                                              as obsolete. See section 103303 of the new title. The words ‘‘or code
                                                                              of practice’’ are omitted as obsolete because of the Federal Rules of
                                                                              Civil Procedure (28 U.S.C. App.).
                                                                                                                          SECTION 103305
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)
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                                                                              103305 .................   16 U.S.C. 458                Mar. 8, 1928, ch. 152, 45 Stat. 249.




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                                                                                                                                     54
                                                                                                                          SECTION 103306
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              103306(a) .............    16 U.S.C. 455                June 11, 1926, ch. 555, 44 Stat. 726; July 26,
                                                                                                                                        1947, ch. 343, title II, § 205(a), 61 Stat. 501.
                                                                              103306(b) .............    16 U.S.C. 455b
                                                                              103306(c) .............    16 U.S.C. 455c
                                                                              103306(d) .............    16 U.S.C. 455a

                                                                                In subsection (d), the words ‘‘after December 1, 1926’’ are omitted
                                                                              as obsolete.

                                                                                     Chapters 1035 through 1047—Reserved
                                                                                                     Chapter 1049—Miscellaneous
                                                                              Sec.
                                                                              104901.       Central warehouses at System units.
                                                                              104902.       Services or other accommodations for public.
                                                                              104903.       Care, removal, and burial of indigents.
                                                                              104904.       Hire of work animals, vehicles, and equipment with or without personal
                                                                                               services.
                                                                              104905.       Preparation of mats for reproduction of photographs.
                                                                              104906.       Protection of right of individuals to bear arms.
                                                                              104907.       Limitation on extension or establishment of national parks in Wyoming.

                                                                                                                          SECTION 104901
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              104901 .................   16 U.S.C. 16                 Apr. 18, 1930, ch. 187, 46 Stat. 219.


                                                                                                                          SECTION 104902
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              104902 .................   16 U.S.C. 17b                May 26, 1930, ch. 324, § 3, 46 Stat. 382.


                                                                                                                          SECTION 104903
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              104903 .................   16 U.S.C. 17e                May 26, 1930, ch. 324, § 6, 46 Stat. 382.


                                                                                                                          SECTION 104904
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              104904 .................   16 U.S.C. 17i                May 26, 1930, ch. 324, § 10, 46 Stat. 383.

                                                                                 The word ‘‘Secretary’’ is substituted for ‘‘National Park Service’’
                                                                              to reflect the transfer of functions of other officers, employees, and
                                                                              agencies of the Department of the Interior to the Secretary by sec-
                                                                              tions 1 and 2 of Reorganization Plan No. 3 of 1950 (5 U.S.C. App.).
                                                                              The reference to section 16 of title 41 is omitted as obsolete because
                                                                              section 3744 of the Revised Statutes, classified to 41 U.S.C. 16, was
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                                                                              repealed by the Act of October 21, 1941 (ch. 452, 55 Stat. 743).




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                                                                                                                                       55
                                                                                                                            SECTION 104905
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              104905 .................   16 U.S.C. 458a                 Aug. 27, 1940, ch. 690, § 1, 54 Stat. 861.


                                                                                                                            SECTION 104906
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              104906 .................   16 U.S.C. 1a–7b (relating      Pub. L. 111–24, title V, § 512 (relating to Na-
                                                                                                           to National Park Sys-          tional Park System), May 22, 2009, 123 Stat.
                                                                                                           tem)                           1764.

                                                                                In subsection (a)(5)(B)(i), the words ‘‘the Obama administration’’
                                                                              are substituted for ‘‘the administration’’ for clarity.
                                                                                                                            SECTION 104907
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              104907 .................   16 U.S.C. 451a                 Sept. 14, 1950, ch. 950, § 1 (proviso relating to
                                                                                                                                          national parks), 64 Stat. 849.

                                                                                   The word ‘‘further’’ is omitted as obsolete.

                                                                                      Division B—System Units and Related
                                                                                                Areas—Reserved
                                                                               Subtitle II—Outdoor Recreation Programs

                                                                                   Chapter 2001—Coordination of Programs
                                                                              Sec.
                                                                              200101.       Findings and declaration of policy.
                                                                              200102.       Definitions.
                                                                              200103.       Powers and duties of Secretary.
                                                                              200104.       Consultations of Secretary with administrative officers; execution of ad-
                                                                                               ministrative responsibilities in conformity with nationwide plan.

                                                                                                                            SECTION 200101
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              200101 .................   16 U.S.C. 460l                 Pub. L. 88–29, § 1, May 28, 1963, 77 Stat. 49.


                                                                                                                            SECTION 200102
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              200102 .................   16 U.S.C. 460l–3               Pub. L. 88–29, § 4, May 28, 1963, 77 Stat. 50;
                                                                                                                                          Pub. L. 96–205, title VI, § 608(c), Mar. 12,
                                                                                                                                          1980, 94 Stat. 92.

                                                                                The words ‘‘the Trust Territory of the Pacific Islands’’ are omit-
                                                                              ted as obsolete. See note at 48 U.S.C. prec. 1681. For continued ap-
                                                                              plication of certain laws of the United States in certain cases, see
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                                                                              the Covenant to Establish a Commonwealth of the Northern Mar-
                                                                              iana Islands in Political Union with the United States of America




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                                                                                                                                       56

                                                                              (48 U.S.C. 1801 note), the Compact of Free Association between the
                                                                              Government of the United States of America and the Governments
                                                                              of the Marshall Islands and the Federated States of Micronesia (48
                                                                              U.S.C. 1901 note), and the Compact of Free Association between
                                                                              the Government of the United States of America and the Govern-
                                                                              ment of Palau (48 U.S.C. 1931 note). The words ‘‘as determined by
                                                                              the Secretary’’ are added to make it clear that it is the Secretary
                                                                              who determines if it is practicable to include the stated entities.
                                                                                                                            SECTION 200103
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              200103 .................   16 U.S.C. 460l–1               Pub. L. 88–29, § 2, May 28, 1963, 77 Stat. 49;
                                                                                                                                          Pub. L. 91–375, § 6(h), Aug. 12, 1970, 84 Stat.
                                                                                                                                          776.

                                                                                In subsection (d), the words ‘‘which shall be prepared as soon as
                                                                              practicable within 5 years on and after May 28, 1963’’ and ‘‘Future’’
                                                                              are omitted as obsolete.
                                                                                In subsection (h), the word ‘‘department’’ is omitted as being in-
                                                                              cluded in ‘‘agency’’.
                                                                                                                            SECTION 200104
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              200104 .................   16 U.S.C. 460l–2               Pub. L. 88–29, § 3, May 28, 1963, 77 Stat. 50.

                                                                                The word ‘‘department’’ is omitted as being included in ‘‘agency’’.
                                                                              The word ‘‘independent’’ is omitted as unnecessary.

                                                                                                Chapter 2003—Land and Water
                                                                                                     Conservation Fund
                                                                              Sec.
                                                                              200301.       Definitions.
                                                                              200302.       Establishment of Land and Water Conservation Fund.
                                                                              200303.       Appropriations for expenditure of Fund amounts.
                                                                              200304.       Statement of estimated requirements.
                                                                              200305.       Financial assistance to States.
                                                                              200306.       Allocation of Fund amounts for Federal purposes.
                                                                              200307.       Availability of Fund amounts for publicity purposes.
                                                                              200308.       Contracts for acquisition of land and water.
                                                                              200309.       Contracts for options to acquire land and water in System.
                                                                              200310.       Transfers to and from Fund.

                                                                                                                            SECTION 200301
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              200301(1) .............    no source
                                                                              200301(2) .............    16 U.S.C. 460l–8(b)(5)         Pub. L. 88–578, title I, § 6(b)(5) (last sentence),
                                                                                                           (last sentence)                formerly § 5, Sept. 3, 1964, 78 Stat. 900; re-
                                                                                                                                          numbered § 6, Pub. L. 92–347, § 2, July 11,
                                                                                                                                          1972, 86 Stat. 459; Pub. L. 94–422, title I,
                                                                                                                                          § 101(3), Sept. 28, 1976, 90 Stat. 1315.
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                                                                                                                                       57
                                                                                                                            SECTION 200302
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              200302 .................   16 U.S.C. 460l–5               Pub. L. 88–578, title I, § 2, Sept. 3, 1964, 78
                                                                                                                                          Stat. 897; Pub. L. 89–72, § 11, July 9, 1965,
                                                                                                                                          79 Stat. 218; Pub. L. 90–401, §§ 1(a), 2, July
                                                                                                                                          15, 1968, 82 Stat. 354, 355; Pub. L. 91–308,
                                                                                                                                          § 2, July 7, 1970, 84 Stat. 410; Pub. L. 91–
                                                                                                                                          485, § 1, Oct. 22, 1970, 84 Stat. 1084; Pub. L.
                                                                                                                                          94–273, § 2(7), Apr. 21, 1976, 90 Stat. 375;
                                                                                                                                          Pub. L. 94–422, title I, § 101(1), Sept. 28,
                                                                                                                                          1976, 90 Stat. 1313; Pub. L. 95–42, § 1(1),
                                                                                                                                          June 10, 1977, 91 Stat. 210; Pub. L. 100–203,
                                                                                                                                          title V, § 5201(f)(1), Dec. 22, 1987, 101 Stat.
                                                                                                                                          1330–267.

                                                                                 In subsection (b), the words ‘‘section 572(a) or 574(a) to (c) of title
                                                                              40’’ are substituted for ‘‘section 485(b)(e)[sic], title 40, United
                                                                              States Code’’, and the words ‘‘chapter 5 of title 40’’ are substituted
                                                                              for ‘‘the Federal Property and Administrative Services Act of 1949,
                                                                              as amended’’ because of section 5(c) of the Act of August 21, 2002
                                                                              (Public Law 107–217, 116 Stat. 1303), the 1st section of which en-
                                                                              acted Title 40, United States Code, and in the case of ‘‘chapter 5
                                                                              of title 40’’, to provide a more precise cross reference. The words
                                                                              ‘‘any appropriation Act that appropriates an amount, to be derived
                                                                              from proceeds from the transfer of excess property and the disposal
                                                                              of surplus property, for necessary expenses, not otherwise provided
                                                                              for, incident to the utilization and disposal of excess and surplus
                                                                              property’’ are substituted for ‘‘the Independent Offices Appropria-
                                                                              tion Act, 1963 (76 Stat. 725) or in any later appropriation Act’’ to
                                                                              update the reference.
                                                                                 In subsection (c)(1), reference to fiscal years 1977 and 1978 and
                                                                              the word ‘‘thereafter’’ are omitted as obsolete.
                                                                                                                            SECTION 200303
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              200303 .................   16 U.S.C. 460l–6               Pub. L. 88–578, title I, § 3, Sept. 3, 1964, 78
                                                                                                                                          Stat. 899; Pub. L. 100–203, title V,
                                                                                                                                          § 5201(f)(2), Dec. 22, 1987, 101 Stat. 1330-
                                                                                                                                          267.

                                                                                The words ‘‘or from the special account established under section
                                                                              460l–6a(i)(1) of this title’’ are omitted as obsolete.
                                                                                                                            SECTION 200304
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              200304 .................   16 U.S.C. 460l–7               Pub. L. 88–578, title I, § 5, formerly § 4, Sept. 3,
                                                                                                                                          1964, 78 Stat. 900; Pub. L. 90–401, § 3, July
                                                                                                                                          15, 1968, 82 Stat. 355; renumbered § 5, Pub.
                                                                                                                                          L. 92–347, § 2, July 11, 1972, 86 Stat. 459;
                                                                                                                                          Pub. L. 94–273, § 3(4), Apr. 21, 1976, 90 Stat.
                                                                                                                                          376; Pub. L. 94–422, title I, § 101(2), Sept. 28,
                                                                                                                                          1976, 90 Stat. 1314; Pub. L. 95–42, § 1(2),
                                                                                                                                          June 10, 1977, 91 Stat. 210.
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                                                                                The references to fiscal years 1978 and 1979 and the special ac-
                                                                              count are omitted as obsolete.




                                                                                                                                                                                               Exhibit A
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                                                                                                                                      58
                                                                                                                           SECTION 200305
                                                                                   Revised Section            Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200305 .................   16 U.S.C. 460l–8(less         Pub. L. 88–578, title I, § 6, formerly § 5(less
                                                                                                           (b)(5) (last sentence))       (b)(5) (last sentence)), Sept. 3, 1964, 78 Stat.
                                                                                                                                         900; renumbered § 6, Pub. L. 92–347, § 2, July
                                                                                                                                         11, 1972, 86 Stat. 459; Pub. L. 93–303, § 2,
                                                                                                                                         June 7, 1974, 88 Stat. 194; Pub. L. 94–422,
                                                                                                                                         title I, § 101(3), Sept. 28, 1976, 90 Stat. 1314.
                                                                                                                                         1315; Pub. L. 95–625, title VI, § 606, Nov. 10,
                                                                                                                                         1978, 92 Stat. 3519; Pub. L. 99–645, title III,
                                                                                                                                         § 303, Nov. 10, 1986, 100 Stat. 3587; Pub. L.
                                                                                                                                         103–322, title IV, § 40133, Sept. 13, 1994, 108
                                                                                                                                         Stat. 1918; Pub. L. 103–437, § 6(p)(2), Nov. 2,
                                                                                                                                         1994, 108 Stat. 4586; Pub. L. 104–333, div. I,
                                                                                                                                         title VIII, § 814(d)(1)(H), Nov. 12, 1996, 110
                                                                                                                                         Stat. 4196.

                                                                                 In subsection (b)(5), the words ‘‘(when such islands achieve Com-
                                                                              monwealth status)’’ are omitted as obsolete.
                                                                                 In subsection (c), the words ‘‘No payment may be made to any
                                                                              State for or on account of any cost or obligation incurred or any
                                                                              service rendered prior to September 3, 1964’’ are omitted as obso-
                                                                              lete.
                                                                                 In subsection (d)(2), the words ‘‘Secretary of Housing and Urban
                                                                              Development’’ are substituted for ‘‘Housing and Home Finance
                                                                              Agency’’ because of 42 U.S.C. 3534.
                                                                                 In subsection (d)(4), the words ‘‘For fiscal year 1988 and there-
                                                                              after’’ are omitted as obsolete.
                                                                                 In subsection (e)(3), the words ‘‘and after September 28, 1976’’
                                                                              are omitted as obsolete.
                                                                                 In subsection (f)(2), the words ‘‘chief executive official’’ are sub-
                                                                              stituted for ‘‘Governor’’ for clarity and for consistency in the new
                                                                              title.
                                                                                 In subsection (j), the words ‘‘(including those conducted pursuant
                                                                              to title VII of the Housing Act of 1961 and section 701 of the Hous-
                                                                              ing Act of 1954)’’ are omitted as obsolete. The authority to make
                                                                              grants or loans under title VII terminated on December 31, 1974.
                                                                              Section 701 was repealed by section 313(b) of the Omnibus Budget
                                                                              Reconciliation Act of 1981 (Public Law 97–35, 95 Stat. 398).
                                                                                 In subsection (k)(3), the words ‘‘and the remaining share of the
                                                                              cost shall be borne by the State’’ are omitted as unnecessary.
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                                                                                                                                                                                             Exhibit A
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                                                                                                                                     59
                                                                                                                          SECTION 200306
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              200306 .................   16 U.S.C. 460l–9(a), (b)     Pub. L. 88–578, title I, § 7, formerly § 6, Sept. 3,
                                                                                                                                        1964, 78 Stat. 903; Pub. L. 90–401, § 1(c),
                                                                                                                                        July 15, 1968, 82 Stat. 355; renumbered § 7,
                                                                                                                                        Pub. L. 92–347, § 2, July 11, 1972, 86 Stat.
                                                                                                                                        459; amended Pub. L. 93–205, § 13(c), Dec.
                                                                                                                                        28, 1973, 87 Stat. 902; Pub. L. 94–422, title I,
                                                                                                                                        § 101(4), Sept. 28, 1976, 90 Stat. 1317; Pub.
                                                                                                                                        L. 95–42, § 1(3)–(5), June 10, 1977, 91 Stat.
                                                                                                                                        210, 211; Pub. L. 96–203, § 2, Mar. 10, 1980,
                                                                                                                                        94 Stat. 81; Pub. L. 99–645, title III, § 302,
                                                                                                                                        Nov. 10, 1986, 100 Stat. 3587; Pub. L. 103–
                                                                                                                                        437, § 6(p)(3), Nov. 2, 1994, 108 Stat. 4586;
                                                                                                                                        Pub. L. 104–333, div. I, title VIII, § 814(b),
                                                                                                                                        (d)(2)(C), Nov. 12, 1996, 110 Stat. 4194, 4196;
                                                                                                                                        Pub. L. 106–176, title I, §§ 120(b), 129, Mar.
                                                                                                                                        10, 2000, 114 Stat. 28, 30.

                                                                                 In subsection (a)(4), the words ‘‘January 4, 1977’’ are substituted
                                                                              for ‘‘the convening of the Ninety-fifth Congress’’, and the words
                                                                              ‘‘January 15, 1979’’ are substituted for ‘‘ the convening of the Nine-
                                                                              ty-sixth Congress’’, for clarity.
                                                                                                                          SECTION 200307
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              200307 .................   16 U.S.C. 460l–10            Pub. L. 88–578, title I, § 8, formerly § 7, Sept. 3,
                                                                                                                                        1964, 78 Stat. 903; renumbered § 8, Pub. L.
                                                                                                                                        92–347, § 2, July 11, 1972, 86 Stat. 459; Pub.
                                                                                                                                        L. 94–422, title I, § 101(5), Sept. 28, 1976, 90
                                                                                                                                        Stat. 1318.


                                                                                                                          SECTION 200308
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              200308 .................   16 U.S.C. 460l–10a           Pub. L. 88–578, title I, § 9, formerly § 8, as
                                                                                                                                        added Pub. L. 90–401, § 4, July 15, 1968, 82
                                                                                                                                        Stat. 355; Pub. L. 91–308, § 3, July 7, 1970,
                                                                                                                                        84 Stat. 410; renumbered § 9, Pub. L. 92–347,
                                                                                                                                        § 2, July 11, 1972, 86 Stat. 459; Pub. L. 93–
                                                                                                                                        303, § 3, June 7, 1974, 88 Stat. 194.


                                                                                                                          SECTION 200309
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              200309 .................   16 U.S.C. 460l–10b           Pub. L. 88–578, title I, § 10, formerly § 9, as
                                                                                                                                        added Pub. L. 90–401, § 4, July 15, 1968, 82
                                                                                                                                        Stat. 355; renumbered § 10, Pub. L. 92–347,
                                                                                                                                        § 2, July 11, 1972, 86 Stat. 459.
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                                                                                                                                     60
                                                                                                                          SECTION 200310
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200310 .................   16 U.S.C. 460l–11            Pub. L. 88–578, title II, § 201, Sept. 3, 1964, 78
                                                                                                                                        Stat. 904; Pub. L. 91–605, title III, § 302, Dec.
                                                                                                                                        31, 1970, 84 Stat. 1743; Pub. L. 94–273,
                                                                                                                                        § 3(4), Apr. 21, 1976, 90 Stat. 376; Pub. L.
                                                                                                                                        94–280, title III, § 302, May 5, 1976, 90 Stat.
                                                                                                                                        456; Pub. L. 95–599, title V, § 503(b), Nov. 6,
                                                                                                                                        1978, 92 Stat. 2757; Pub. L. 97–424, title V,
                                                                                                                                        § 531(c), Jan. 6, 1983, 96 Stat. 2191; Pub. L.
                                                                                                                                        99–514, § 2, title XVIII, § 1875(e), Oct. 22,
                                                                                                                                        1986, 100 Stat. 2095, 2897; Pub. L. 100–17,
                                                                                                                                        title V, § 503(c), Apr. 2, 1987, 101 Stat. 258;
                                                                                                                                        Pub. L. 101–508, title XI, § 11211(g)(2), Nov.
                                                                                                                                        5, 1990, 104 Stat. 1388–427; Pub. L. 102–240,
                                                                                                                                        title VIII, § 8002(d)(2)(B), Dec. 18, 1991, 105
                                                                                                                                        Stat. 2204; Pub. L. 105–178, title IX,
                                                                                                                                        § 9002(c)(2)(B), June 9, 1998, 112 Stat. 500;
                                                                                                                                        Pub. L. 109–59, title XI, § 11101(c)(2)(B), Aug.
                                                                                                                                        10, 2005, 119 Stat. 1944; Pub. L. 112–30, title
                                                                                                                                        I, § 142(e)(2)(B), Sept. 16, 2011, 125 Stat. 356
                                                                                                                                        ; Pub. L. 112102, title IV, §402(e)(2)(B), Mar.
                                                                                                                                        30, 2012, 126 Stat. 282; Pub. L. 112140, title
                                                                                                                                        IV, §402(d)(2)(B), June 29, 2012, 126 Stat.
                                                                                                                                        403; Pub. L. 112141, div. D, title I,
                                                                                                                                        §40102(e)(2)(B), July 6, 2012, 126 Stat. 845.

                                                                                In subsection (a), the words ‘‘(relating to special motor fuels and
                                                                              gasoline used in motorboats)’’ are omitted as unnecessary.
                                                                                In subsection (b), the words ‘‘(relating to amounts paid in respect
                                                                              of gasoline used for certain nonhighway purposes or by local transit
                                                                              systems)’’ are omitted as unnecessary.

                                                                               Chapter 2005—Urban Park and Recreation
                                                                                          Recovery Program
                                                                              Sec.
                                                                              200501.       Definitions.
                                                                              200502.       Federal assistance.
                                                                              200503.       Rehabilitation grants and innovation grants.
                                                                              200504.       Recovery action programs.
                                                                              200505.       State action.
                                                                              200506.       Non-Federal share of project costs.
                                                                              200507.       Conversion of recreation property.
                                                                              200508.       Coordination of program.
                                                                              200509.       Recordkeeping.
                                                                              200510.       Inapplicability of matching provisions.
                                                                              200511.       Funding limitations.

                                                                                                                          SECTION 200501
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200501 .................   16 U.S.C. 2503               Pub. L. 95–625, title X, § 1004, Nov. 10, 1978,
                                                                                                                                        92 Stat. 3539; Pub. L. 103–322, title III,
                                                                                                                                        § 31502, Sept. 13, 1994, 108 Stat. 1888.

                                                                                 In paragraph (1)(C), the words ‘‘that serves as an at-risk youth
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                                                                              recreation grant’’ are substituted for ‘‘referred to in paragraph (1)
                                                                              of this subsection’’ for clarity.




                                                                                                                                                                                            Exhibit A
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                                                                                In paragraph (2), the word ‘‘parish’’ is omitted because of 1
                                                                              U.S.C. 2.
                                                                                                                          SECTION 200502
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200502 .................   16 U.S.C. 2504               Pub. L. 95–625, title X, § 1005, Nov. 10, 1978,
                                                                                                                                        92 Stat. 3540; Pub. L. 103–322, title III,
                                                                                                                                        § 31503, Sept. 13, 1994, 108 Stat. 1889.

                                                                                In subsection (a), the words ‘‘Within one hundred and twenty
                                                                              days after November 10, 1978’’ are omitted as obsolete.
                                                                                In subsection (b), the word ‘‘standard’’ is omitted as obsolete. The
                                                                              words ‘‘the Director of the Office of Management and Budget’’ are
                                                                              substituted for ‘‘census’’. See 31 U.S.C. 1104(d), Executive Order
                                                                              No. 10253 (31 U.S.C. 1104 note), and 44 U.S.C. 3504(e)(3).
                                                                                                                          SECTION 200503
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200503 .................   16 U.S.C. 2505               Pub. L. 95–625, title X, § 1006, Nov. 10, 1978,
                                                                                                                                        92 Stat. 3541.

                                                                                In subsection (a), the words ‘‘chief executive officials’’ are sub-
                                                                              stituted for ‘‘chief executives’’ for consistency in the new title.
                                                                                In subsection (c), the words ‘‘At the discretion of such applicants’’
                                                                              are omitted as unnecessary.
                                                                                                                          SECTION 200504
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200504 .................   16 U.S.C. 2506               Pub. L. 95–625, title X, § 1007, Nov. 10, 1978,
                                                                                                                                        92 Stat. 3541; Pub. L. 103–322, title III,
                                                                                                                                        §§ 31504, Sept. 13, 1994, 108 Stat. 1889.

                                                                                In subsection (c)(1), the word ‘‘areas’’ is substituted for ‘‘sites’’ for
                                                                              consistency with the defined term and with the new chapter.
                                                                                                                          SECTION 200505
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200505 .................   16 U.S.C. 2507               Pub. L. 95–625, title X, § 1008, Nov. 10, 1978,
                                                                                                                                        92 Stat. 3542.

                                                                                In subsection (a), the words ‘‘rehabilitation grants or innovation
                                                                              grants’’ are substituted for ‘‘Federal implementation grants’’ for
                                                                              clarity. See 36 CFR 72.32(c).
                                                                                                                          SECTION 200506
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200506 .................   16 U.S.C. 2508               Pub. L. 95–625, title X, § 1009, Nov. 10, 1978,
                                                                                                                                        92 Stat. 3543.

                                                                                In subsection (a), the word ‘‘recovery’’ is added after ‘‘Reasonable
                                                                              local costs of’’, and the words ‘‘a recovery action program grant’’ are
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                                                                              substituted for ‘‘program development grants’’, for clarity. See 36
                                                                              CFR 72.32(a).




                                                                                                                                                                                        Exhibit A
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                                                                                                                                     62
                                                                                                                          SECTION 200507
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200507 .................   16 U.S.C. 2509               Pub. L. 95–625, title X, § 1010, Nov. 10, 1978,
                                                                                                                                        92 Stat. 3543.

                                                                                   The words ‘‘then current’’ are substituted for ‘‘current’’ for clarity.
                                                                                                                          SECTION 200508
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200508 .................   16 U.S.C. 2510               Pub. L. 95–625, title X, § 1011, Nov. 10, 1978,
                                                                                                                                        92 Stat. 3543.

                                                                                In subsection (a)(1), the word ‘‘departments’’ is omitted as being
                                                                              included in ‘‘agency’’.
                                                                                                                          SECTION 200509
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200509 .................   16 U.S.C. 2511               Pub. L. 95–625, title X, § 1012, Nov. 10, 1978,
                                                                                                                                        92 Stat. 3543.

                                                                                 In subsection (a)(1), the word ‘‘fully’’ is omitted as unnecessary.
                                                                                 In subsection (b), the words ‘‘or their duly authorized representa-
                                                                              tives’’ are omitted as unnecessary. See section 2 of Reorganization
                                                                              Plan No. 3 of 1950 (5 U.S.C. App., 43 U.S.C. 1451 note) for the Sec-
                                                                              retary and 31 U.S.C. 711(2) for the Comptroller General.
                                                                                                                          SECTION 200510
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200510 .................   16 U.S.C. 2512(a) (last      Pub. L. 95–625, title X, § 1013(a) (last para-
                                                                                                           paragraph)                   graph), Nov. 10, 1978, 92 Stat. 3544; Pub. L.
                                                                                                                                        98–454, title VI, § 601(a), Oct. 5, 1984, 98
                                                                                                                                        Stat. 1736; Pub. L. 103–322, title III,
                                                                                                                                        § 31505(a), Sept. 13, 1994, 108 Stat. 1889.

                                                                                The text of 16 U.S.C. 2512(a) (last paragraph 1st sentence) is
                                                                              omitted as obsolete.
                                                                                                                          SECTION 200511
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              200511(a) .............    16 U.S.C. 2512(a) (1st       Pub. L. 95–625, title X, § 1013(a) (1st para-
                                                                                                           paragraph 1st, 3d, last      graph), Nov. 10, 1978, 92 Stat. 3544; Pub. L.
                                                                                                           sentences)                   98–454, title VI, § 601(a), Oct. 5, 1984, 98
                                                                                                                                        Stat. 1736; Pub. L. 103–322, title III,
                                                                                                                                        § 31505(a), Sept. 13, 1994, 108 Stat. 1889.
                                                                              200511(b), (c) .......     16 U.S.C. 2512(a) (1st
                                                                                                           paragraph 2d sen-
                                                                                                           tence)
                                                                              200511(d) .............    16 U.S.C. 2512(b)            Pub. L. 95–625, title X, § 1013(b), as added Pub.
                                                                                                                                        L. 103–322, title III, § 31505(a), Sept. 13,
                                                                                                                                        1994, 108 Stat. 1890.
                                                                              200511(e) .............    16 U.S.C. 2513               Pub. L. 95–625, title X, § 1014, Nov. 10, 1978,
                                                                                                                                        92 Stat. 3544.
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                                                                                In subsection (a), the text of 16 U.S.C. 2512(a) (1st paragraph 1st
                                                                              and last sentences) is omitted as obsolete. The words ‘‘in the aggre-




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                                                                              gate’’ are omitted as unnecessary. The words ‘‘amount made avail-
                                                                              able for grants to all of the States’’ are substituted for ‘‘aggregate
                                                                              amount of funds authorized to be appropriated’’ for clarity and for
                                                                              consistency in the section.
                                                                                In subsections (b) and (c), the words ‘‘made available for grants’’
                                                                              are substituted for ‘‘authorized’’ for clarity and for consistency in
                                                                              the section.
                                                                                In subsection (b), the words ‘‘local park and recreation’’ are omit-
                                                                              ted as unnecessary because of the defined term.

                                                                                          Subtitle III—National Preservation
                                                                                                       Programs
                                                                                           Division A—Historic Preservation
                                                                                           Subdivision 1—General Provisions
                                                                                                            Chapter 3001—Policy
                                                                              Sec.
                                                                              300101.       Policy.

                                                                                                                           SECTION 300101
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              300101 .................   16 U.S.C. 470–1               Pub. L. 89–665, § 2, as added Pub. L. 96–515,
                                                                                                                                         title I, § 101(a), Dec. 12, 1980, 94 Stat. 2988;
                                                                                                                                         Pub. L. 102–575, title XL, § 4002, Oct. 30,
                                                                                                                                         1992, 106 Stat. 4753.

                                                                                 The words ‘‘Native Hawaiian organizations’’ are added for con-
                                                                              sistency in the section.
                                                                                 In paragraph (2), the words ‘‘in partnership with States, Indian
                                                                              tribes, Native Hawaiians, and local governments’’ are omitted as
                                                                              unnecessary because the words are used in the introductory mate-
                                                                              rial of this section.

                                                                                                         Chapter 3003—Definitions
                                                                              Sec.
                                                                              300301.       Agency.
                                                                              300302.       Certified local government.
                                                                              300303.       Council.
                                                                              300304.       Cultural park.
                                                                              300305.       Historic conservation district.
                                                                              300306.       Historic Preservation Fund.
                                                                              300307.       Historic preservation review commission.
                                                                              300308.       Historic property.
                                                                              300309.       Indian tribe.
                                                                              300310.       Local government.
                                                                              300311.       National Register.
                                                                              300312.       National Trust.
                                                                              300313.       Native Hawaiian.
                                                                              300314.       Native Hawaiian organization.
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                                                                              300315.       Preservation or historic preservation.
                                                                              300316.       Secretary.
                                                                              300317.       State.




                                                                                                                                                                                            Exhibit A
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                                                                              300318.       State historic preservation review board.
                                                                              300319.       Tribal land.
                                                                              300320.       Undertaking.
                                                                              300321.       World Heritage Convention.

                                                                                                                          SECTION 300301
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300301 .................   16 U.S.C. 470w(1)            Pub. L. 89–665, title III, § 301(1), as added Pub.
                                                                                                                                        L. 96–515, title V, § 501, Dec. 12, 1980, 94
                                                                                                                                        Stat. 3001; Pub. L. 102–575, title XL,
                                                                                                                                        § 4019(a)(1), Oct. 30, 1992, 106 Stat. 4763;
                                                                                                                                        Pub. L. 106–208, § 5(a)(10), May 26, 2000,
                                                                                                                                        114 Stat. 319.


                                                                                                                          SECTION 300302
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300302 .................   16 U.S.C. 470w(15)           Pub. L. 89–665, title III, § 301(15), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4019(a)12, Oct.
                                                                                                                                        30, 1992, 106 Stat. 4764.


                                                                                                                          SECTION 300303
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300303 .................   16 U.S.C. 470w(16)           Pub. L. 89–665, title III, § 301(16), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4019(a), Oct. 30,
                                                                                                                                        1992, 106 Stat. 4764.


                                                                                                                          SECTION 300304
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300304 .................   16 U.S.C. 470w(9)            Pub. L. 89–665, title III, § 301(9), as added Pub.
                                                                                                                                        L. 96–515, title V, § 501, Dec. 12, 1980, 94
                                                                                                                                        Stat. 3001; Pub. L. 102–575, title XL,
                                                                                                                                        § 4019(a)(7), Oct. 30, 1992, 106 Stat. 4764.


                                                                                                                          SECTION 300305
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300305 .................   16 U.S.C. 470w(10)           Pub. L. 89–665, title III, § 301(10), as added
                                                                                                                                        Pub. L. 96–515, title V, § 501, Dec. 12, 1980,
                                                                                                                                        94 Stat. 3001; Pub. L. 102–575, title XL,
                                                                                                                                        § 4019(a)(8), Oct. 30, 1992, 106 Stat. 4764.


                                                                                                                          SECTION 300306
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300306 .................   no source


                                                                                                                          SECTION 300307
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300307 .................   16 U.S.C. 470w(13)           Pub. L. 89–665, title III, § 301(13), as added
                                                                                                                                        Pub. L. 96–515, title V, § 501, Dec. 12, 1980,
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                                                                                                                                        94 Stat. 3002; Pub. L. 102–575, title XL,
                                                                                                                                        § 4019(a)(11), Oct. 30, 1992, 106 Stat. 4764.




                                                                                                                                                                                           Exhibit A
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                                                                                                                                     65
                                                                                                                          SECTION 300308
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300308 .................   16 U.S.C. 470w(5)            Pub. L. 89–665, title III, § 301(5), as added Pub.
                                                                                                                                        L. 96–515, title V, § 501, Dec. 12, 1980, 94
                                                                                                                                        Stat. 3001; Pub. L. 102–575, title XL,
                                                                                                                                        § 4019(a)(4), Oct. 30, 1992, 106 Stat. 4764.

                                                                                 The words ‘‘historic resource’’ are omitted so that a uniform term
                                                                              is used throughout this division.
                                                                                                                          SECTION 300309
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300309 .................   16 U.S.C. 470w(4)            Pub. L. 89–665, title III, § 301(4), as added Pub.
                                                                                                                                        L. 96–515, title V, § 501, Dec. 12, 1980, 94
                                                                                                                                        Stat. 3001; Pub. L. 102–575, title XL,
                                                                                                                                        § 4019(a)(3), Oct. 30, 1992, 106 Stat. 4763.


                                                                                                                          SECTION 300310
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300310 .................   16 U.S.C. 470w(3)            Pub. L. 89–665, title III, § 301(3), as added Pub.
                                                                                                                                        L. 96–515, title V, § 501, Dec. 12, 1980, 94
                                                                                                                                        Stat. 3001.

                                                                                   The word ‘‘parish’’ is omitted as unnecessary because of 1 U.S.C.
                                                                              2.
                                                                                                                          SECTION 300311
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300311 .................   16 U.S.C. 470w(6)            Pub. L. 89–665, title III, § 301(6), as added Pub.
                                                                                                                                        L. 96–515, title V, § 501, Dec. 12, 1980, 94
                                                                                                                                        Stat. 3001.


                                                                                                                          SECTION 300312
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300312 .................   no source


                                                                                                                          SECTION 300313
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300313 .................   16 U.S.C. 470w(17)           Pub. L. 89–665, title III, § 301(17), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4019(a)(12), Oct.
                                                                                                                                        30, 1992, 106 Stat. 4764.


                                                                                                                          SECTION 300314
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300314 .................   16 U.S.C. 470w(18)           Pub. L. 89–665, title III, § 301(18), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4019(a), Oct. 30,
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                                                                                                                                        1992, 106 Stat. 4764.




                                                                                                                                                                                           Exhibit A
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                                                                                                                                     66
                                                                                                                          SECTION 300315
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300315 .................   16 U.S.C. 470w(8)            Pub. L. 89–665, title III, § 301(8), as added Pub.
                                                                                                                                        L. 96–515, title V, § 501, Dec. 12, 1980, 94
                                                                                                                                        Stat. 3001; Pub. L. 102–575, title XL,
                                                                                                                                        § 4019(a)(6), Oct. 30, 1992, 106 Stat. 4764.


                                                                                                                          SECTION 300316
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300316 .................   16 U.S.C. 470w(11)           Pub. L. 89–665, title III, § 301(11), as added
                                                                                                                                        Pub. L. 96–515, title V, § 501, Dec. 12, 1980,
                                                                                                                                        94 Stat. 3001; Pub. L. 102–575, title XL,
                                                                                                                                        § 4019(a)(9), Oct. 30, 1992, 106 Stat. 4764.


                                                                                                                          SECTION 300317
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300317 .................   16 U.S.C. 470w(2)            Pub. L. 89–665, title III, § 301(2), as added Pub.
                                                                                                                                        L. 96–515, title V, § 501, Dec. 12, 1980, 94
                                                                                                                                        Stat. 3001; Pub. L. 102–575, title XL,
                                                                                                                                        § 4019(a)(2), Oct. 30, 1992, 106 Stat. 4763.


                                                                                                                          SECTION 300318
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300318 .................   16 U.S.C. 470w(12)           Pub. L. 89–665, title III, § 301(12), as added
                                                                                                                                        Pub. L. 96–515, title V, § 501, Dec. 12, 1980,
                                                                                                                                        94 Stat. 3001; Pub. L. 102–575, title XL,
                                                                                                                                        § 4019(a), Oct. 30, 1992, 106 Stat. 4764; Pub.
                                                                                                                                        L. 106–208, § 5(a)(10), May 26, 2000, 114
                                                                                                                                        Stat. 319.


                                                                                                                          SECTION 300319
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300319 .................   16 U.S.C. 470w(14)           Pub. L. 89–665, title III, § 301(14), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4019(a)(12), Oct.
                                                                                                                                        30, 1992, 106 Stat. 4764.


                                                                                                                          SECTION 300320
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300320 .................   16 U.S.C. 470w(7)            Pub. L. 89–665, title III, § 301(7), as added Pub.
                                                                                                                                        L. 96–515, title V, § 501, Dec. 12, 1980, 94
                                                                                                                                        Stat. 3001; Pub. L. 102–575, title XL,
                                                                                                                                        § 4019(a)(5), Oct. 30, 1992, 106 Stat. 4764.


                                                                                                                          SECTION 300321
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              300321 .................   no source

                                                                                The words ‘‘the Trust Territory of the Pacific Islands . . . and,
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                                                                              upon termination of the Trusteeship Agreement for the Trust Terri-
                                                                              tories of the Pacific Islands’’ are omitted as obsolete. See note at




                                                                                                                                                                                           Exhibit A
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                                                                                                                                     67

                                                                              48 U.S.C. prec. 1681. For continued application of certain laws of
                                                                              the United States in certain cases, see the Covenant to Establish
                                                                              a Commonwealth of the Northern Mariana Islands in Political
                                                                              Union with the United States of America (48 U.S.C. 1801 note), the
                                                                              Compact of Free Association between the Government of the
                                                                              United States of America and the Governments of the Marshall Is-
                                                                              lands and the Federated States of Micronesia (48 U.S.C. 1901
                                                                              note), and the Compact of Free Association between the Govern-
                                                                              ment of the United States of America and the Government of Palau
                                                                              (48 U.S.C. 1931 note).

                                                                                       Subdivision 2—Historic Preservation
                                                                                                    Program
                                                                                          Chapter 3021—National Register of
                                                                                                   Historic Places
                                                                              Sec.
                                                                              302101.       Maintenance by Secretary.
                                                                              302102.       Inclusion of properties on National Register.
                                                                              302103.       Criteria and regulations relating to National Register, National Historic
                                                                                               Landmarks, and World Heritage List.
                                                                              302104.       Nominations for inclusion on National Register.
                                                                              302105.       Ownwer participation in nomination process.
                                                                              302106.       Retention of name.
                                                                              302107.       Regulations.
                                                                              302108.       Review of threats to historic property or prehistoric property.

                                                                                                                          SECTION 302101
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302101 .................   16 U.S.C. 470a(a)(1)(A)      Pub. L. 89–665, title I, § 101(a)(1)(A) (1st sen-
                                                                                                           (1st sentence)               tence), Oct. 15, 1966, 80 Stat. 915; Pub. L.
                                                                                                                                        91–383, § 11, as added Pub. L. 94–458, § 2,
                                                                                                                                        Oct. 7, 1976, 90 Stat. 1942; Pub. L. 93–54,
                                                                                                                                        § 1(d), July 1, 1973, 87 Stat. 139; Pub. L. 96–
                                                                                                                                        205, title VI, § 608(a)(1), (2), Mar. 12, 1980,
                                                                                                                                        94 Stat. 92; Pub. L. 96–515, title II, § 201(a),
                                                                                                                                        Dec. 12, 1980, 94 Stat. 2988.


                                                                                                                          SECTION 302102
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302102 .................   16 U.S.C. 470a(a)(1)(B)      Pub. L. 89–665, title I, § 101(a)(1)(B), Oct. 15,
                                                                                                                                        1966, 80 Stat. 915; Pub. L. 91–383, § 11, as
                                                                                                                                        added Pub. L. 94–458, § 2, Oct. 7, 1976, 90
                                                                                                                                        Stat. 1942; Pub. L. 93–54, § 1(d), July 1, 1973,
                                                                                                                                        87 Stat. 139; Pub. L. 96–205, title VI,
                                                                                                                                        § 608(a)(1), (2), Mar. 12, 1980, 94 Stat. 92;
                                                                                                                                        Pub. L. 96–515, title II, § 201(a), Dec. 12,
                                                                                                                                        1980, 94 Stat. 2988; Pub. L. 103–437,
                                                                                                                                        § 6(d)(29), Nov. 2, 1994, 108 Stat. 4584; Pub.
                                                                                                                                        L. 104–333, div. I, title VIII, § 814(d)(2)(F),
                                                                                                                                        Nov. 12, 1996, 110 Stat. 4196.

                                                                                 In subsection (c), the words ‘‘had been established as of Decem-
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                                                                              ber 12, 1980’’ are substituted for ‘‘have been established’’ for clar-
                                                                              ity.




                                                                                                                                                                                           Exhibit A
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                                                     Case 1:23-mj-00230-RSK ECF No. 24-1, PageID.432 Filed 04/22/24 Page 69 of 106




                                                                                                                                      68
                                                                                                                          SECTION 302103
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              302103 .................   16 U.S.C. 470a(a)(2)          Pub. L. 89–665, title I, § 101(a)(2), Oct. 15,
                                                                                                                                         1966, 80 Stat. 915; Pub. L. 91–383, § 11, as
                                                                                                                                         added Pub. L. 94–458, § 2, Oct. 7, 1976, 90
                                                                                                                                         Stat. 1942; Pub. L. 93–54, § 1(d), July 1, 1973,
                                                                                                                                         87 Stat. 139; Pub. L. 96–205, title VI,
                                                                                                                                         § 608(a)(1), (2), Mar. 12, 1980, 94 Stat. 92;
                                                                                                                                         Pub. L. 96–515, title II, § 201(a), Dec. 12,
                                                                                                                                         1980, 94 Stat. 2988.

                                                                                The words ‘‘or revise’’ are omitted as being included in ‘‘establish’’
                                                                              and ‘‘promulgate’’.
                                                                                                                          SECTION 302104
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              302104 .................   16 U.S.C. 470a(a)(3)          Pub. L. 89–665, title I, § 101(a)(3) through (5),
                                                                                                           through (5)                   Oct. 15, 1966, 80 Stat. 915; Pub. L. 91–383,
                                                                                                                                         § 11, as added Pub. L. 94–458, § 2, Oct. 7,
                                                                                                                                         1976, 90 Stat. 1942; Pub. L. 93–54, § 1(d),
                                                                                                                                         July 1, 1973, 87 Stat. 139; Pub. L. 96–205,
                                                                                                                                         title VI, § 608(a)(1), (2), Mar. 12, 1980, 94
                                                                                                                                         Stat. 92; Pub. L. 96–515, title II, § 201(a),
                                                                                                                                         Dec. 12, 1980, 94 Stat. 2989.

                                                                                 In subsection (c)(1), the word ‘‘historic’’ is omitted because a his-
                                                                              toric property already is eligible for inclusion on the National Reg-
                                                                              ister and would not have to be nominated for inclusion.
                                                                                 In subsection (c)(2), the words ‘‘or refusal’’ are omitted as unnec-
                                                                              essary.
                                                                                                                          SECTION 302105
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              302105(a) .............    16 U.S.C. 470a(a)(6) (1st,    Pub. L. 89–665, title I, § 101(a)(6), Oct. 15,
                                                                                                           last sentences)               1966, 80 Stat. 915; Pub. L. 91–383, § 11, as
                                                                                                                                         added Pub. L. 94–458, § 2, Oct. 7, 1976, 90
                                                                                                                                         Stat. 1942; Pub. L. 93–54, § 1(d), July 1, 1973,
                                                                                                                                         87 Stat. 139; Pub. L. 96–205, title VI,
                                                                                                                                         § 608(a)(1), (2), Mar. 12, 1980, 94 Stat. 92;
                                                                                                                                         Pub. L. 96–515, title II, § 201(a), Dec. 12,
                                                                                                                                         1980, 94 Stat. 2989.
                                                                              302105(b) .............    16 U.S.C. 470a(a)(6) (2d
                                                                                                           sentence)
                                                                              302105(c) .............    16 U.S.C. 470a(a)(6) (3d
                                                                                                           sentence)


                                                                                                                          SECTION 302106
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              302106 .................   16 U.S.C. 470a(a)(1)(A)       Pub. L. 89–665, title I, § 101(a)(1)(A) (last sen-
                                                                                                           (last sentence)               tence), as added Pub. L. 106–113, div. B,
                                                                                                                                         § 1000(a)(9) [title III, § 3007], Nov. 29, 1999,
                                                                                                                                         113 Stat. 1536, 1501A-551.
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                                                                                                                                                                                            Exhibit A
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                                                                                                                                     69
                                                                                                                          SECTION 302107
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302107 .................   16 U.S.C. 470a(a)(7)         Pub. L. 89–665, title I, § 101(a)(7), Oct. 15,
                                                                                                                                        1966, 80 Stat. 915; Pub. L. 91–383, § 11, as
                                                                                                                                        added Pub. L. 94–458, § 2, Oct. 7, 1976, 90
                                                                                                                                        Stat. 1942; Pub. L. 93–54, § 1(d), July 1, 1973,
                                                                                                                                        87 Stat. 139; Pub. L. 96–205, title VI,
                                                                                                                                        § 608(a)(1), (2), Mar. 12, 1980, 94 Stat. 92;
                                                                                                                                        Pub. L. 96–515, title II, § 201(a), Dec. 12,
                                                                                                                                        1980, 94 Stat. 2990.

                                                                                 In paragraph (3), the word ‘‘transfer’’ is substituted for ‘‘alloca-
                                                                              tion’’ for consistency with section 302902(c)(4) of the new title.
                                                                                                                          SECTION 302108
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302108 .................   16 U.S.C. 470a(a)(8)         Pub. L. 89–665, title I, § 101(a)(8), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4003, Oct. 30,
                                                                                                                                        1992, 106 Stat. 4753.



                                                                               Chapter 3023—State Historic Preservation
                                                                                             Programs
                                                                              Sec.
                                                                              302301.       Regulations.
                                                                              302302.       Program evaluation.
                                                                              302303.       Responsibilities of State Historic Preservation Officer.
                                                                              302304.       Contracts and cooperative agreements.

                                                                                                                          SECTION 302301
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302301 .................   16 U.S.C. 470a(b)(1)         Pub. L. 89–665, title I, § 101(b)(1), Oct. 15,
                                                                                                                                        1966, 80 Stat. 915; Pub. L. 91–383, § 11, as
                                                                                                                                        added Pub. L. 94–458, § 2, Oct. 7, 1976, 90
                                                                                                                                        Stat. 1942; Pub. L. 93–54, § 1(d), July 1, 1973,
                                                                                                                                        87 Stat. 139; Pub. L. 96–205, title VI,
                                                                                                                                        § 608(a)(1), (2), Mar. 12, 1980, 94 Stat. 92;
                                                                                                                                        Pub. L. 96–515, title II, § 201(a), Dec. 12,
                                                                                                                                        1980, 94 Stat. 2990.

                                                                                 Before paragraph (1), the words ‘‘or revise’’ are omitted as unnec-
                                                                              essary.
                                                                                 In paragraph (1), the words ‘‘chief elected official’’ are substituted
                                                                              for ‘‘Governor’’ for clarity because the definition of ‘‘State’’ in sec-
                                                                              tion 300316 of the new title includes entities in which the chief
                                                                              elected official is not the Governor.
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                                                                                                                                                                                           Exhibit A
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                                                                                                                                     70
                                                                                                                          SECTION 302302
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302302 .................   16 U.S.C. 470a(b)(2)         Pub. L. 89–665, title I, § 101(b)(2), Oct. 15,
                                                                                                                                        1966, 80 Stat. 915; Pub. L. 91–383, § 11, as
                                                                                                                                        added Pub. L. 94–458, § 2, Oct. 7, 1976, 90
                                                                                                                                        Stat. 1942; Pub. L. 93–54, § 1(d), July 1, 1973,
                                                                                                                                        87 Stat. 139; Pub. L. 96–205, title VI,
                                                                                                                                        § 608(a)(1), (2), Mar. 12, 1980, 94 Stat. 92;
                                                                                                                                        Pub. L. 96–515, title II, § 201(a), Dec. 12,
                                                                                                                                        1980, 94 Stat. 2990; Pub. L. 102–575, title
                                                                                                                                        XL, § 4004(1), Oct. 30, 1992, 106 Stat. 4753.


                                                                                                                          SECTION 302303
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302303 .................   16 U.S.C. 470a(b)(3)         Pub. L. 89–665, title I, § 101(b)(3), Oct. 15,
                                                                                                                                        1966, 80 Stat. 915; Pub. L. 91–383, § 11, as
                                                                                                                                        added Pub. L. 94–458, § 2, Oct. 7, 1976, 90
                                                                                                                                        Stat. 1942; Pub. L. 93–54, § 1(d), July 1, 1973,
                                                                                                                                        87 Stat. 139; Pub. L. 96–205, title VI,
                                                                                                                                        § 608(a)(1), (2), Mar. 12, 1980, 94 Stat. 92;
                                                                                                                                        Pub. L. 96–515, title II, § 201(a), Dec. 12,
                                                                                                                                        1980, 94 Stat. 2991; Pub. L. 102–575, title
                                                                                                                                        XL, § 4004(2), Oct. 30, 1992, 106 Stat. 4754.

                                                                                In paragraph (6) of subsection (b), the word ‘‘private’’ is added be-
                                                                              fore ‘‘oranizations’’ for consistency with paragraph (1).
                                                                                                                          SECTION 302304
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302304 .................   16 U.S.C. 470a(b)(4)         Pub. L. 89–665, title I, § 101(b)(4), Oct. 15,
                                                                                                                                        1966, 80 Stat. 915; Pub. L. 91–383, § 11, as
                                                                                                                                        added Pub. L. 94–458, § 2, Oct. 7, 1976, 90
                                                                                                                                        Stat. 1942; Pub. L. 93–54, § 1(d), July 1, 1973,
                                                                                                                                        87 Stat. 139; Pub. L. 96–205, title VI,
                                                                                                                                        § 608(a)(1), (2), Mar. 12, 1980, 94 Stat. 92;
                                                                                                                                        Pub. L. 96–515, title II, § 201(a), Dec. 12,
                                                                                                                                        1980, 94 Stat. 2991.
                                                                                                         16 U.S.C. 470a(b)(6)         Pub. L. 89–665, title I, § 101(b)(6), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4004(4), Oct. 30,
                                                                                                                                        1992, 106 Stat. 4754.



                                                                                        Chapter 3025—Certification of Local
                                                                                                   Governments
                                                                              Sec.
                                                                              302501.       Definitions.
                                                                              302502.       Certification as part of State program.
                                                                              302503.       Reguirements for certification.
                                                                              302504.       Participation of certified local governments in National Register nomina-
                                                                                               tions.
                                                                              302505.       Eligibility and responsibility of certified local government.
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                                                                                                                                                                                           Exhibit A
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                                                                                                                                     71
                                                                                                                          SECTION 302501
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              302501 .................   16 U.S.C. 470a(c)(4)         Pub. L. 89–665, title I, § 101(c)(4), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4005, Oct. 30,
                                                                                                                                        1992, 106 Stat. 4755.


                                                                                                                          SECTION 302502
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              302502 .................   16 U.S.C. 470a(c)(1) (1st    Pub. L. 89–665, title I, § 101(c)(1) (1st sentence),
                                                                                                           sentence)                    Oct. 15, 1966, 80 Stat. 915; Pub. L. 91–383,
                                                                                                                                        § 11, as added Pub. L. 94–458, § 2, Oct. 7,
                                                                                                                                        1976, 90 Stat. 1942; Pub. L. 93–54, § 1(d),
                                                                                                                                        July 1, 1973, 87 Stat. 139; Pub. L. 96–205,
                                                                                                                                        title VI, § 608(a)(1), (2), Mar. 12, 1980, 94
                                                                                                                                        Stat. 92; Pub. L. 96–515, title II, § 201(a),
                                                                                                                                        Dec. 12, 1980, 94 Stat. 2991.


                                                                                                                          SECTION 302503
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              302503 .................   16 U.S.C. 470a(c)(1) (2d,    Pub. L. 89–665, title I, § 101(c)(1) (2d, last sen-
                                                                                                           last sentences)              tences), Oct. 15, 1966, 80 Stat. 915; Pub. L.
                                                                                                                                        91–383, § 11, as added Pub. L. 94–458, § 2,
                                                                                                                                        Oct. 7, 1976, 90 Stat. 1942; Pub. L. 93–54,
                                                                                                                                        § 1(d), July 1, 1973, 87 Stat. 139; Pub. L. 96–
                                                                                                                                        205, title VI, § 608(a)(1), (2), Mar. 12, 1980,
                                                                                                                                        94 Stat. 92; Pub. L. 96–515, title II, § 201(a),
                                                                                                                                        Dec. 12, 1980, 94 Stat. 2991.

                                                                                 In subsection (b), the words ‘‘State program approved under sec-
                                                                              tion 302302 of this title’’ are substituted for ‘‘approved State pro-
                                                                              gram’’ for clarity.
                                                                                                                          SECTION 302504
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              302504 .................   16 U.S.C. 470a(c)(2)         Pub. L. 89–665, title I, § 101(c)(2), Oct. 15,
                                                                                                                                        1966, 80 Stat. 915; Pub. L. 91–383, § 11, as
                                                                                                                                        added Pub. L. 94–458, § 2, Oct. 7, 1976, 90
                                                                                                                                        Stat. 1942; Pub. L. 93–54, § 1(d), July 1, 1973,
                                                                                                                                        87 Stat. 139; Pub. L. 96–205, title VI,
                                                                                                                                        § 608(a)(1), (2), Mar. 12, 1980, 94 Stat. 92;
                                                                                                                                        Pub. L. 96–515, title II, § 201(a), Dec. 12,
                                                                                                                                        1980, 94 Stat. 2992.


                                                                                                                          SECTION 302505
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              302505 .................   16 U.S.C. 470a(c)(3)         Pub. L. 89–665, title I, § 101(c)(3), Oct. 15,
                                                                                                                                        1966, 80 Stat. 915; Pub. L. 91–383, § 11, as
                                                                                                                                        added Pub. L. 94–458, § 2, Oct. 7, 1976, 90
                                                                                                                                        Stat. 1942; Pub. L. 93–54, § 1(d), July 1, 1973,
                                                                                                                                        87 Stat. 139; Pub. L. 96–205, title VI,
                                                                                                                                        § 608(a)(1), (2), Mar. 12, 1980, 94 Stat. 92;
                                                                                                                                        Pub. L. 96–515, title II, § 201(a), Dec. 12,
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                                                                                                                                        1980, 94 Stat. 2992.




                                                                                                                                                                                             Exhibit A
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                                                                                                                                     72

                                                                                 The words ‘‘or which is making efforts to become so certified’’ are
                                                                              omitted in paragraph (1) for consistency with section 302902(c)(4)
                                                                              of the new title.

                                                                              Chapter 3027—Historic Preservation Pro-
                                                                               grams and Authorities for Indian Tribes
                                                                               and Native Hawaiian Organizations
                                                                              Sec.
                                                                              302701.       Program to assist Indian tribes in preserving historic property and pre-
                                                                                               historic property.
                                                                              302702.       Indian tribe to assume functions of State Historic Preservation Officer.
                                                                              302703.       Apportionment of grant funds.
                                                                              302704.       Contracts and cooperative agreements.
                                                                              302705.       Agreement for review under tribal historic preservation regulations.
                                                                              302706.       Eligibility for inclusion on National Register.

                                                                                                                          SECTION 302701
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302701 .................   16 U.S.C. 470a(d)(1)         Pub. L. 89–665, title I, § 101(d)(1), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4006(a)(2), Oct.
                                                                                                                                        30, 1992, 106 Stat. 4755.

                                                                                In subsection (e), the words ‘‘and initiate the program under sub-
                                                                              paragraph (A) by not later than October 1, 1994’’ are omitted as ob-
                                                                              solete.
                                                                                                                          SECTION 302702
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302702 .................   16 U.S.C. 470a(d)(2)         Pub. L. 89–665, title I, § 101(d)(2), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4006(a)(2), Oct.
                                                                                                                                        30, 1992, 106 Stat. 4756; Pub. L. 106—208,
                                                                                                                                        § 5(a)(1), May 26, 2000, 114 Stat. 318.


                                                                                                                          SECTION 302703
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302703 .................   16 U.S.C. 470a(d)(3)         Pub. L. 89–665, title I, § 101(d)(3), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4006(a)(2), Oct.
                                                                                                                                        30, 1992, 106 Stat. 4756.


                                                                                                                          SECTION 302704
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302704 .................   16 U.S.C. 470a(d)(4)         Pub. L. 89–665, title I, § 101(d)(4), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4006(a)(2), Oct.
                                                                                                                                        30, 1992, 106 Stat. 4757.


                                                                                                                          SECTION 302705
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302705 .................   16 U.S.C. 470a(d)(5)         Pub. L. 89–665, title I, § 101(d)(5), as added
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                                                                                                                                        Pub. L. 102–575, title XL, § 4006(a)(2), Oct.
                                                                                                                                        30, 1992, 106 Stat. 4757.




                                                                                                                                                                                        Exhibit A
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                                                                                                                                     73
                                                                                                                          SECTION 302706
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302706 .................   16 U.S.C. 470a(d)(6)         Pub. L. 89–665, title I, § 101(d)(6), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4006(a)(2), Oct.
                                                                                                                                        30, 1992, 106 Stat. 4757.



                                                                                                            Chapter 3029—Grants
                                                                              Sec.
                                                                              302901.       Awarding of grants and availability of grant funds.
                                                                              302902.       Grants to States.
                                                                              302903.       Grants to National Trust.
                                                                              302904.       Direct grants for the preservation of properties included on National Reg-
                                                                                               ister.
                                                                              302905.       Religious property.
                                                                              302906.       Grants and loans to Indian tribes and nonprofit organizations rep-
                                                                                               resenting ethnic or minority groups.
                                                                              302907.       Grants to Indian tribes and Native Hawaiian organizations.
                                                                              302908.       Grants to the Federated States of Micronesia, the Republic of the Mar-
                                                                                               shall Islands, and the Republic of Palau.
                                                                              302909.       Prohibited use of grant amounts.
                                                                              302910.       Recordkeeping.

                                                                                                                          SECTION 302901
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302901(a) .............    16 U.S.C. 470b(a) (1st       Pub. L. 89–665, title I, § 102(a) (1st sentence
                                                                                                           sentence paragraph           paragraph (1)), Oct. 15, 1966, 80 Stat. 916;
                                                                                                           (1))                         Pub. L. 94–422, title II, § 201(1), Sept. 28,
                                                                                                                                        1976, 90 Stat. 1319.
                                                                              302901(b) .............    16 U.S.C. 470b(a) (last      Pub. L. 89–665, title I, § 102(a) (last sentence),
                                                                                                           sentence)                    as added Pub. L. 96–515, title II, § 202(b),
                                                                                                                                        Dec. 12, 1980, 94 Stat. 2993; Pub. L. 99–514,
                                                                                                                                        § 2, Oct. 22, 1986, 100 Stat. 2095.
                                                                              302901(c) .............    16 U.S.C. 470b(d) (relat-    Pub. L. 89–665, title I, § 102(d) (relating to
                                                                                                           ing to availability)         availability), as added Pub. L. 102–575, title
                                                                                                                                        XL, § 4009(3), Oct. 30, 1992, 106 Stat. 4759.

                                                                                In subsection (b), the words ‘‘Notwithstanding any other provi-
                                                                              sion of law’’ are omitted as unnecessary.
                                                                                                                          SECTION 302902
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302902(a) .............    16 U.S.C. 470a(e)(1)         Pub. L. 89–665, title I, § 101(e)(1), formerly
                                                                                                                                        § 101(d)(1), Oct. 15, 1966, 80 Stat. 915; Pub.
                                                                                                                                        L. 91–383, § 11, as added Pub. L. 94–458, § 2,
                                                                                                                                        Oct. 7, 1976, 90 Stat. 1942; Pub. L. 93–54,
                                                                                                                                        § 1(d), July 1, 1973, 87 Stat. 139; Pub. L. 96–
                                                                                                                                        205, title VI, § 608(a)(1), (2), Mar. 12, 1980,
                                                                                                                                        94 Stat. 92; Pub. L. 96–515, title II, § 201(a),
                                                                                                                                        Dec. 12, 1980, 94 Stat. 2992; redesignated as
                                                                                                                                        § 101(e)(1) and amended, Pub. L. 102–575,
                                                                                                                                        title XL, §§ 4006(a)(1), 4007(1), Oct. 30, 1992,
                                                                                                                                        106 Stat. 4755, 4758.
                                                                              302902(b)(1) .........     16 U.S.C. 470b(a) (1st       Pub. L. 89–665, title I, § 102(a) (1st sentence
                                                                                                           sentence paragraphs          paragraphs (2), (4) through (6), (d) (relating
tjames on DSK6SPTVN1PROD with REPORTS




                                                                                                           (2), (4) through (6))        to remaining cost of project)), Oct. 15, 1966,
                                                                                                                                        80 Stat. 916; Pub. L. 94–422, title II, § 201(1),
                                                                                                                                        Sept. 28, 1976, 90 Stat. 1319.




                                                                                                                                                                                            Exhibit A
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                                                                                                                                    74
                                                                                                                SECTION 302902—CONTINUED
                                                                                   Revised Section          Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302902(b)(2) .........    16 U.S.C. 470b(b)            Pub. L. 89–665, title I, § 102(b), Oct. 15, 1966,
                                                                                                                                       80 Stat. 916; Pub. L. 94–422, title II, § 201(1),
                                                                                                                                       Sept. 28, 1976, 90 Stat. 1319; Pub. L. 102–
                                                                                                                                       575, title XL, § 4009(2), Oct. 30, 1992, 106
                                                                                                                                       Stat. 4759.
                                                                              302902(b)(3)(A) ....      16 U.S.C. 470b(a) (1st       Pub. L. 89–665, title I, § 102(a) (1st sentence
                                                                                                          sentence paragraph           paragraph (3)), Oct. 15, 1966, 80 Stat. 916;
                                                                                                          (3))                         Pub. L. 94–422, title II, § 201(1), Sept. 28,
                                                                                                                                       1976, 90 Stat. 1319; Pub. L. 96–515, title II,
                                                                                                                                       § 202(a), Dec. 12, 1980, 94 Stat. 2993; Pub. L.
                                                                                                                                       102–575, title XL, § 4009(1), Oct. 30, 1992,
                                                                                                                                       106 Stat. 4759; Pub. L. 106–208, § 5(a)(5),
                                                                                                                                       May 26, 2000, 114 Stat. 318.
                                                                              302902(b)(3)(b) ....      16 U.S.C. 470b(a) (2d        Pub. L. 89–665, title I, § 102(a) (2d sentence), as
                                                                                                          sentence)                    added Pub. L. 96–515, title II, § 202(b), Dec.
                                                                                                                                       12, 1980, 94 Stat. 2993.
                                                                              302902(b)(4) .........    16 U.S.C. 470b(d) (relat-
                                                                                                          ing to remaining cost
                                                                                                          of project)
                                                                              302902(c) .............   16 U.S.C. 470c               Pub. L. 89–665, title I, § 103, Oct. 15, 1966, 80
                                                                                                                                       Stat. 916; Pub. L. 94–422, title II, § 201(2),
                                                                                                                                       Sept. 28, 1976, 90 Stat. 1319; Pub. L. 96–515,
                                                                                                                                       title II, § 203, Dec. 12, 1980, 94 Stat. 2993;
                                                                                                                                       Pub. L. 99–514, § 2, Oct. 22, 1986, 100 Stat.
                                                                                                                                       2095; Pub. L. 102–575, title XL, § 4010, Oct.
                                                                                                                                       30, 1992, 106 Stat. 4759; Pub. L. 106–208,
                                                                                                                                       § 5(a)(6), May 26, 2000, 114 Stat. 318.
                                                                              302902(d) .............   16 U.S.C. 470b(e)            Pub. L. 89–665, title I, § 102(e), as added Pub.
                                                                                                                                       L. 102–575, title XL, § 4009(3), Oct. 30, 1992,
                                                                                                                                       106 Stat. 4759.

                                                                                In subsection (b)(4), the words ‘‘non-Federal share of the’’ are
                                                                              substituted for ‘‘remaining’’ for clarity.
                                                                                                                         SECTION 302903
                                                                                   Revised Section          Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302903(a) .............   16 U.S.C. 470a(e)(2)         Pub. L. 89–665, title I, § 101(e)(2), formerly
                                                                                                                                       § 101(d)(2), Oct. 15, 1966, 80 Stat. 915; Pub.
                                                                                                                                       L. 91–383, § 11, as added Pub. L. 94–458, § 2,
                                                                                                                                       Oct. 7, 1976, 90 Stat. 1942; Pub. L. 93–54,
                                                                                                                                       § 1(d), July 1, 1973, 87 Stat. 139; Pub. L. 96–
                                                                                                                                       205, title VI, § 608(a)(1), (2), Mar. 12, 1980,
                                                                                                                                       94 Stat. 92; Pub. L. 96–515, title II, § 201(a),
                                                                                                                                       Dec. 12, 1980, 94 Stat. 2992; redesignated as
                                                                                                                                       § 101(e)(2), Pub. L. 102–575, title XL,
                                                                                                                                       § 4006(a)(1), Oct. 30, 1992, 106 Stat. 4755;
                                                                                                                                       Pub. L. 106–208, § 5(a)(2), May 26, 2002, 114
                                                                                                                                       Stat. 318.
                                                                              302903(b) .............   16 U.S.C. 470b–1             Pub. L. 89–754, title VI, § 603, Nov. 3, 1980, 80
                                                                                                                                       Stat. 1278.

                                                                                 In subsection (a), the words ‘‘chartered by sections 468 to 468d
                                                                              of this title’’ are omitted as unnecessary.
                                                                                 In subsection (b), the text of 16 U.S.C. 470b–1(b) is omitted as
                                                                              unnecessary.
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                                                                                                                                                                                           Exhibit A
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                                                                                                                                     75
                                                                                                                          SECTION 302904
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302904(a) through          16 U.S.C. 470a(e)(3)(A)      Pub. L. 89–665, title I, § 101(e)(3)(A), (C), for-
                                                                                (c)(1).                                                 merly § 101(d)(3)(A), (C), Oct. 15, 1966, 80
                                                                                                                                        Stat. 915; Pub. L. 91–383, § 11, as added Pub.
                                                                                                                                        L. 94–458, § 2, Oct. 7, 1976, 90 Stat. 1942;
                                                                                                                                        Pub. L. 93–54, § 1(d), July 1, 1973, 87 Stat.
                                                                                                                                        139; Pub. L. 96–205, title VI, § 608(a)(1), (2),
                                                                                                                                        Mar. 12, 1980, 94 Stat. 92; Pub. L. 96–515,
                                                                                                                                        title II, § 201(a), Dec. 12, 1980, 94 Stat. 2992;
                                                                                                                                        redesignated as § 101(e)(3)(A), (C), Pub. L.
                                                                                                                                        102–575, title XL, § 4006(a)(1), Oct. 30, 1992,
                                                                                                                                        106 Stat. 4755; Pub. L. 106–208, § 5(a)(3),
                                                                                                                                        May 26, 2002, 114 Stat. 318.
                                                                              302904(c)(2) .........     16 U.S.C. 470a(e)(3)(C)

                                                                                 In subsection (a), the words ‘‘In addition to the programs under
                                                                              paragraphs (1) and (2)’’ are omitted as unnecessary.
                                                                                 In subsection (c)(1)(D), the word ‘‘individuals’’ is substituted for
                                                                              ‘‘persons’’ for clarity.
                                                                                                                          SECTION 302905
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302905 .................   16 U.S.C. 470a(e)(4)         Pub. L. 89–665, title I, § 101(e)(4), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4007(2), Oct. 30,
                                                                                                                                        1992, 106 Stat. 4758.


                                                                                                                          SECTION 302906
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302906 .................   16 U.S.C. 470a(e)(3)(B)      Pub. L. 89–665, title I, § 101(e)(3)(B), formerly
                                                                                                                                        § 101(d)(3)(B), Oct. 15, 1966, 80 Stat. 915;
                                                                                                                                        Pub. L. 91–383, § 11, as added Pub. L. 94–
                                                                                                                                        458, § 2, Oct. 7, 1976, 90 Stat. 1942; Pub. L.
                                                                                                                                        93–54, § 1(d), July 1, 1973, 87 Stat. 139; Pub.
                                                                                                                                        L. 96–205, title VI, § 608(a)(1), (2), Mar. 12,
                                                                                                                                        1980, 94 Stat. 92; Pub. L. 96–515, title II,
                                                                                                                                        § 201(a), Dec. 12, 1980, 94 Stat. 2992; redesig-
                                                                                                                                        nated as § 101(e)(3)(B), Pub. L. 102–575, title
                                                                                                                                        XL, § 4006(a)(1), Oct. 30, 1992, 106 Stat.
                                                                                                                                        4755; Pub. L. 106–208, § 5(a)(3), May 26,
                                                                                                                                        2002, 114 Stat. 318.


                                                                                                                          SECTION 302907
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302907 .................   16 U.S.C. 470a(e)(5)         Pub. L. 89–665, title I, § 101(e)(5), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4007(2), Oct. 30,
                                                                                                                                        1992, 106 Stat. 4758.


                                                                                                                          SECTION 302908
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              302908 .................   16 U.S.C. 470a(e)(6)         Pub. L. 89–665, title I, § 101(e)(6), as added
                                                                                                                                        Pub. L. 102–575, title XL, § 4007(2), Oct. 30,
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                                                                                                                                        1992, 106 Stat. 4758.




                                                                                                                                                                                            Exhibit A
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                                                                                                                                        76

                                                                                In subsection (a), the words ‘‘the Trust Territory of the Pacific Is-
                                                                              lands, and upon termination of the Trusteeship Agreement for the
                                                                              Trust Territory of the Pacific Islands’’ are omitted as obsolete. See
                                                                              note at 48 U.S.C. prec. 1681. For continued application of certain
                                                                              laws of the United States in certain cases, see the Covenant to Es-
                                                                              tablish a Commonwealth of the Northern Mariana Islands in Polit-
                                                                              ical Union with the United States of America (48 U.S.C. 1801
                                                                              note), the Compact of Free Association between the Government of
                                                                              the United States of America and the Governments of the Marshall
                                                                              Islands and the Federated States of Micronesia (48 U.S.C. 1901
                                                                              note), and the Compact of Free Association between the Govern-
                                                                              ment of the United States of America and the Government of Palau
                                                                              (48 U.S.C. 1931 note). The words ‘‘or any successor enactment’’ are
                                                                              added for clarity.
                                                                                                                             SECTION 302909
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              302909 .................   16 U.S.C. 470a(f)               Pub. L. 89–665, title I, § 101(f), formerly
                                                                                                                                           § 101(e), Oct. 15, 1966, 80 Stat. 915; Pub. L.
                                                                                                                                           91–383, § 11, as added Pub. L. 94–458, § 2,
                                                                                                                                           Oct. 7, 1976, 90 Stat. 1942; Pub. L. 93–54,
                                                                                                                                           § 1(d), July 1, 1973, 87 Stat. 139; Pub. L. 96–
                                                                                                                                           205, title VI, § 608(a)(1), (2), Mar. 12, 1980,
                                                                                                                                           94 Stat. 92; Pub. L. 96–515, title II, § 201(a),
                                                                                                                                           Dec. 12, 1980, 94 Stat. 2992; redesignated as
                                                                                                                                           § 101(f), Pub. L. 102–575, title XL,
                                                                                                                                           § 4006(a)(1), Oct. 30, 1992, 106 Stat. 4758.


                                                                                                                             SECTION 302910
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              302910 .................   16 U.S.C. 470e                  Pub. L. 89–665, title I, § 105, Oct. 15, 1966, 80
                                                                                                                                           Stat. 917.

                                                                                   The word ‘‘recipient’’ is substituted for ‘‘beneficiary’’ for clarity.

                                                                               Chapter 3031—Historic Preservation Fund
                                                                              Sec.
                                                                              303101.       Establishment.
                                                                              303102.       Contents.
                                                                              303103.       Use and availability.

                                                                                                                             SECTION 303101
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              303101 .................   16 U.S.C. 470h (1st para-       Pub. L. 89–665, title I, § 108 (1st paragraph),
                                                                                                           graph)                          Oct. 15, 1966, 80 Stat. 917; Pub. L. 91–243,
                                                                                                                                           § 1(a), May 9, 1970, 84 Stat. 204; Pub. L. 93–
                                                                                                                                           54, § 1(a), July 1, 1973, 87 Stat. 139; Pub. L.
                                                                                                                                           94–422, title II, § 201(4), Sept. 28, 1976, 90
                                                                                                                                           Stat. 1320.

                                                                                The words ‘‘(except chapter 3041) and chapter 3121’’ are added
                                                                              for clarity. The Advisory Council on Historic Preservation does not
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                                                                              receive amounts from the Fund. The National Trust for Historic
                                                                              Preservation in the United States does receive amounts.




                                                                                                                                                                                              Exhibit A
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                                                                                                                                     77
                                                                                                                          SECTION 303102
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              303102 .................   16 U.S.C. 470h (last         Pub. L. 89–665, title I, § 108 (last paragraph 1st
                                                                                                           paragraph 1st sen-           sentence), Oct. 15, 1966, 80 Stat. 917; Pub. L.
                                                                                                           tence)                       91–243, § 1(a), May 9, 1970, 84 Stat. 204;
                                                                                                                                        Pub. L. 93–54, § 1(a), July 1, 1973, 87 Stat.
                                                                                                                                        139; Pub. L. 94–422, title II, § 201(4), Sept.
                                                                                                                                        28, 1976, 90 Stat. 1320; Pub. L. 96–515, title
                                                                                                                                        II, § 205, Dec. 12, 1980, 94 Stat. 2995; Pub. L.
                                                                                                                                        100–127, Oct. 9, 1987, 101 Stat. 800; Pub. L.
                                                                                                                                        102–575, title XL, § 4011, Oct. 30, 1992, 106
                                                                                                                                        Stat. 4760; Pub. L. 106–208, §§ 2, 5(a)(7), May
                                                                                                                                        26, 2000, 114 Stat. 318, 319; Pub. L. 109–453,
                                                                                                                                        § 1(c), Dec. 22, 2006, 120 Stat. 3367.

                                                                                   Reference to fiscal years 1977–2011 is omitted as obsolete.
                                                                                                                          SECTION 303103
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              303103 .................   16 U.S.C. 470h (last         Pub. L. 89–665, title I, § 108 (last paragraph
                                                                                                           paragraph last sen-          last sentence), Oct. 15, 1966, 80 Stat. 917;
                                                                                                           tence)                       Pub. L. 91–243, § 1(a), May 9, 1970, 84 Stat.
                                                                                                                                        204; Pub. L. 93–54, § 1(a), July 1, 1973, 87
                                                                                                                                        Stat. 139; Pub. L. 94–422, title II, § 201(4),
                                                                                                                                        Sept. 28, 1976, 90 Stat. 1320.



                                                                                    Chapters 3033 Through 3037—Reserved
                                                                                                     Chapter 3039—Miscellaneous
                                                                              Sec.
                                                                              303901.       Loan insurance program for preservation of property included on National
                                                                                               Register.
                                                                              303902.       Training in, and dissemination of information concerning, professional
                                                                                               methods and techniques for preservation of historic properties.
                                                                              303903.       Preservation education and training program.

                                                                                                                          SECTION 303901
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              303901 .................   16 U.S.C. 470d               Pub. L. 89–665, title I, § 104, Oct. 15, 1966, 80
                                                                                                                                        Stat. 917; Pub. L. 96–515, title II, § 204, Dec.
                                                                                                                                        12, 1980, 94 Stat. 2994.

                                                                                 The text of 16 U.S.C. 470d(j) is omitted as unnecessary.
                                                                                 In subsection (d), the words ‘‘pursuant to section 470h of this
                                                                              title and subsections (g) and (i) of this section, as in effect on De-
                                                                              cember 12, 1980’’ are omitted as unnecessary and obsolete. The
                                                                              cross reference to subsection (i) should be to subsection (h).
                                                                                 In subsection (g)(1), the word ‘‘part’’ is translated as ‘‘section’’ for
                                                                              clarity because 16 U.S.C. 470d is the only provision of the part that
                                                                              relates to insuring loans.
                                                                                 In subsection (h)(2), the words ‘‘in addition to the amounts cov-
                                                                              ered into such fund pursuant to section 470h of this title and sub-
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                                                                              section (i) of this section’’ are omitted as unnecessary. The cross
                                                                              reference to subsection (i) should be to subsection (h).




                                                                                                                                                                                           Exhibit A
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                                                                                In subsection (i), the words ‘‘in addition to the amounts covered
                                                                              into such fund pursuant to section 470h of this title and subsection
                                                                              (g) of this section’’ are omitted as unnecessary.
                                                                                                                             SECTION 303902
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              303902 .................   16 U.S.C. 470a(i)               Pub. L. 89–665, title I, § 101(i), formerly
                                                                                                                                           § 101(h), Oct. 15, 1966, 80 Stat. 915; Pub. L.
                                                                                                                                           91–383, § 11, as added Pub. L. 94–458, § 2,
                                                                                                                                           Oct. 7, 1976, 90 Stat. 1942; Pub. L. 93–54,
                                                                                                                                           § 1(d), July 1, 1973, 87 Stat. 139; Pub. L. 96–
                                                                                                                                           205, title VI, § 608(a)(1), (2), Mar. 12, 1980,
                                                                                                                                           94 Stat. 92; Pub. L. 96–515, title II, § 201(a),
                                                                                                                                           Dec. 12, 1980, 94 Stat. 2992; redesignated as
                                                                                                                                           § 101(i), Pub. L. 102–575, title XL,
                                                                                                                                           § 4006(a)(1), Oct. 30, 1992, 106 Stat. 4758.


                                                                                                                             SECTION 303903
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              303903 .................   16 U.S.C. 470a(j)               Pub. L. 89–665, title I, § 101(j), as added Pub.
                                                                                                                                           L. 102–575, title XL, § 4008, Oct. 30, 1992,
                                                                                                                                           106 Stat. 4758.

                                                                                   In paragraph (1), the word ‘‘new’’ is omitted as unnecessary.
                                                                                   In paragraph (2), the word ‘‘increased’’ is omitted as unnecessary.

                                                                                         Subdivision 3—Advisory Council on
                                                                                               Historic Preservation
                                                                                          Chapter 3041—Advisory Council on
                                                                                                Historic Preservation
                                                                              Sec.
                                                                              304101.       Establishment; vacancies.
                                                                              304102.       Duties of Council.
                                                                              304103.       Cooperation between Council and instrumentalities of executive branch of
                                                                                               Federal Government.
                                                                              304104.       Compensation of members of Council.
                                                                              304105.       Administration.
                                                                              304106.       International Centre for the Study of the Preservation and Restoration of
                                                                                               Cultural Property.
                                                                              304107.       Transmittal of legislative recommendations, testimony, or comments to
                                                                                               any officer or agency of the United States prior to submission to Con-
                                                                                               gress.
                                                                              304108.       Regulations, procedures, and guidelines.
                                                                              304109.       Budget submission.
                                                                              304110.       Report by Secretary to Council.
                                                                              304111.       Reimbursements from State and local agencies.
                                                                              304112.       Effectiveness of Federal grant and assistance programs.
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                                                                                                                                                                                              Exhibit A
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                                                                                                                                     79
                                                                                                                          SECTION 304101
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              304101 .................   16 U.S.C. 470i               Pub. L. 89–665, title II, § 201, Oct. 15, 1966, 80
                                                                                                                                        Stat. 917; Pub. L. 91–243, § 1(b) through (e),
                                                                                                                                        May 9, 1970, 84 Stat. 204; Pub. L. 93–54,
                                                                                                                                        § 1(c), July 1, 1973, 87 Stat. 139; Pub. L. 94–
                                                                                                                                        422, title II, § 201(5), Sept. 28, 1976, 90 Stat.
                                                                                                                                        1320; Pub. L. 96–515, title III, § 301(a)
                                                                                                                                        through (f), Dec. 12, 1980, 94 Stat. 2998; Pub.
                                                                                                                                        L. 102–575, title XL, §§ 4016, 4019(b), Oct.
                                                                                                                                        30, 1992, 106 Stat. 4763, 4765; Pub. L. 104–
                                                                                                                                        333, div. I, title V, § 509(c)(1), (2), Nov. 12,
                                                                                                                                        1996, 110 Stat. 4157; Pub. L. 109–453, § 1(d),
                                                                                                                                        Dec. 22, 2006, 120 Stat. 3367.

                                                                                In subsection (a)(9), the words ‘‘the disciplines of’’ are omitted as
                                                                              unnecessary.
                                                                                                                          SECTION 304102
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              304102 .................   16 U.S.C. 470j               Pub. L. 89–665, title II, § 202, Oct. 15, 1966, 80
                                                                                                                                        Stat. 918; Pub. L. 96–515, title III, § 301(g),
                                                                                                                                        Dec. 12, 1980, 94 Stat. 2999.


                                                                                                                          SECTION 304103
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              304103 .................   16 U.S.C. 470k               Pub. L. 89–665, title II, § 203, Oct. 15, 1966, 80
                                                                                                                                        Stat. 918.

                                                                                The words ‘‘Federal agency’’ are substituted for ‘‘department, bu-
                                                                              reau, agency, board, commission, office, independent establishment
                                                                              or instrumentality of the executive branch of the Federal Govern-
                                                                              ment’’ to eliminate unnecessary words and for consistency in the
                                                                              revised chapter.
                                                                                                                          SECTION 304104
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              304104 .................   16 U.S.C. 470l               Pub. L. 89–665, title II, § 204, Oct. 15, 1966, 80
                                                                                                                                        Stat. 918; Pub. L. 91–243, § 1(f), May 9, 1970,
                                                                                                                                        84 Stat. 204; Pub. L. 94–422, title II, § 201(6),
                                                                                                                                        Sept. 28, 1976, 90 Stat. 1321; Pub. L. 96–515,
                                                                                                                                        title III, § 301(h), Dec. 12, 1980, 94 Stat.
                                                                                                                                        2999.
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                                                                                                                                                                                            Exhibit A
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                                                                                                                                     80
                                                                                                                          SECTION 304105
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              304105(a) through          16 U.S.C. 470m               Pub. L. 89–665, title II, § 205, Oct. 15, 1966, 80
                                                                                (g).                                                    Stat. 919; Pub. L. 91–243, § 1(g), May 9, 1970,
                                                                                                                                        84 Stat. 204; Pub. L. 94–422, title II, § 201(7),
                                                                                                                                        Sept. 28, 1976, 90 Stat. 1321; Pub. L. 96–515,
                                                                                                                                        title III, § 301(i), Dec. 12, 1980, 94 Stat. 2999;
                                                                                                                                        Pub. L. 104–333, div. I, title V, § 509(c)(4),
                                                                                                                                        Nov. 12, 1996, 110 Stat. 4158; Pub. L. 106–
                                                                                                                                        176, title I, § 109, Mar. 10, 2000, 114 Stat. 26;
                                                                                                                                        Pub. L. 109–453, § 1(e), Dec. 22, 2006, 120
                                                                                                                                        Stat. 3367.
                                                                              304105(h) .............    16 U.S.C. 470p               Pub. L. 89–665, title II, §§ 208, 209 as added
                                                                                                                                        Pub. L. 94–422, title II, § 201(9), Sept. 28,
                                                                                                                                        1976, 90 Stat. 1322.
                                                                              304105(i), (j) ........    16 U.S.C. 470q

                                                                                 In subsection (a), the words ‘‘at a rate within the Executive
                                                                              Schedule’’ are added to retain the ability to hire an Executive Di-
                                                                              rector within the General Schedule. The words ‘‘in the competitive
                                                                              service at a rate that may exceed the rate prescribed for the high-
                                                                              est rate established for grade 15 of the General Schedule under
                                                                              section 5332 of title 5, or in the Senior Executive Service under sec-
                                                                              tion 3393 of title 5’’ are added for consistency with the intent of the
                                                                              source provision language as it existed in 1966, which included all
                                                                              Federal employees. The language is updated to reflect the existence
                                                                              of the Senior Executive Service and senior level employees above
                                                                              grade 15.
                                                                                 In subsection (c), the words ‘‘that exceed that prescribed for the
                                                                              highest rate established for grade 15 of the General Schedule
                                                                              under section 5332 of title 5 or in the Senior Executive Service
                                                                              under section 3393 of title 5’’ are substituted for ‘‘not to exceed that
                                                                              now or hereafter prescribed for the highest rate of grade 15 of the
                                                                              General Schedule under section 5332 of title 5’’ for consistency with
                                                                              the intent of the source provision language as it existed in 1966,
                                                                              which included all Federal employees. The language is updated to
                                                                              reflect the existence of the Senior Executive Service and senior
                                                                              level employees above grade 15.
                                                                                 In subsection (d), the words ‘‘chapter 51 and subchapter III of
                                                                              chapter 53 of title 5’’ are substituted for ‘‘the Classification Act of
                                                                              1949’’ because of section 7(b) of the Act of September 6, 1966 (Pub-
                                                                              lic Law 89–554, 80 Stat. 631), the 1st section of which enacted Title
                                                                              5, United States Code.
                                                                                 In subsection (f)(1), the word ‘‘Secretary’’ is substituted for ‘‘De-
                                                                              partment of the Interior’’ because of 43 U.S.C. 1451.
                                                                                                                          SECTION 304106
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              304106 .................   16 U.S.C. 470n               Pub. L. 89–665, title II, § 206, as added Pub. L.
                                                                                                                                        91–243, § 2, May 9, 1970, 84 Stat. 204; Pub.
                                                                                                                                        L. 93–54, § 1(b), July 1, 1973, 87 Stat. 139;
                                                                                                                                        Pub. L. 94–422, title II, § 201(8), Sept. 28,
                                                                                                                                        1976, 90 Stat. 1322; Pub. L. 96–199, title I,
                                                                                                                                        § 114, Mar. 5, 1980, 94 Stat. 71; Pub. L. 106–
                                                                                                                                        208, § 5(b), May 26, 2000, 114 Stat. 319.
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                                                                                   The text of 16 U.S.C. 470n(c) is omitted as obsolete.




                                                                                                                                                                                             Exhibit A
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                                                                                                                                     81
                                                                                                                          SECTION 304107
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              304107 .................   16 U.S.C. 470r               Pub. L. 89–665, title II, § 210, as added Pub. L.
                                                                                                                                        94–422, title II, § 201(9), Sept. 28, 1976, 90
                                                                                                                                        Stat. 1322; Pub. L. 96–515, title III, § 301(k),
                                                                                                                                        Dec. 12, 1980, 94 Stat. 2999.


                                                                                                                          SECTION 304108
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              304108(a), (b) ......      16 U.S.C. 470s               Pub. L. 89–665, title II, § 211, as added Pub. L.
                                                                                                                                        94–422, title II, § 201(9), Sept. 28, 1976, 90
                                                                                                                                        Stat. 1322; Pub. L. 96–515, title III, § 301(l),
                                                                                                                                        Dec. 12, 1980, 94 Stat. 2999; Pub. L. 102–575,
                                                                                                                                        title XL, § 4018, Oct. 30, 1992, 106 Stat. 4763.
                                                                              304108(c) .............    16 U.S.C. 470v               Pub. L. 89–665, title II, § 214, as added Pub. L.
                                                                                                                                        96–515, title III, § 302(a), Dec. 12, 1980, 94
                                                                                                                                        Stat. 3000.


                                                                                                                          SECTION 304109
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              304109(a) .............    16 U.S.C. 470t(a) (1st       Pub. L. 89–665, title II, § 212(a) (1st sentence),
                                                                                                           sentence)                    (b), as added Pub. L. 94–422, title II, § 201(9),
                                                                                                                                        Sept. 28, 1976, 90 Stat. 1323; Pub. L. 96–205,
                                                                                                                                        title VI, § 608(a)(3), Mar. 12, 1980, 94 Stat.
                                                                                                                                        92; Pub. L. 96–515, title III, § 302(b), Dec. 12,
                                                                                                                                        1980, 94 Stat. 3000; Pub. L. 103–437,
                                                                                                                                        § 6(d)(29), Nov. 2, 1994, 108 Stat. 4584.
                                                                              304109(b) .............    16 U.S.C. 470t(b)


                                                                                                                          SECTION 304110
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              304110 .................   16 U.S.C. 470u               Pub. L. 89–665, title II, § 213, as added Pub. L.
                                                                                                                                        96–515, title III, § 302(a), Dec. 12, 1980, 94
                                                                                                                                        Stat. 3000.


                                                                                                                          SECTION 304111
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              304111 .................   16 U.S.C. 470v–1             Pub. L. 89–665, title II, § 215, as added Pub. L.
                                                                                                                                        104–333, div. I, title V, § 509(c)(3), Nov. 12,
                                                                                                                                        1996, 110 Stat. 4157.


                                                                                                                          SECTION 304112
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              304112 .................   16 U.S.C. 470v–2             Pub. L. 89–665, title II, § 216, as added Pub. L.
                                                                                                                                        109–453, § 1(g), Dec. 22, 2006, 120 Stat. 3368.
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                                                                                                                                                                                            Exhibit A
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                                                                                   Subdivision 4—Other Organizations and
                                                                                                 Programs
                                                                                        Chapter 3051—Historic Light Station
                                                                                                   Preservation
                                                                              Sec.
                                                                              305101.       Definitions.
                                                                              305102.       Duties of Secretary in providing a national historic light station program.
                                                                              305103.       Selection of eligible entity and conveyance of historic light stations.
                                                                              305104.       Terms of conveyance.
                                                                              305105.       Description of property.
                                                                              305106.       Historic light station sales.

                                                                                                                          SECTION 305101
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305101 .................   16 U.S.C. 470w–7(e)          Pub. L. 89–665, title III, § 308(e), as added Pub.
                                                                                                                                        L. 106–355, § 2, Oct. 24, 2000, 114 Stat. 1388.

                                                                                 The text of 16 U.S.C. 470w–7(e)(5) is omitted as unnecessary.
                                                                                 In paragraph (3)(A), the words ‘‘that is a historic property’’ are
                                                                              substituted for ‘‘provided that the ‘historic light station’ shall be in-
                                                                              cluded in or eligible for inclusion in the National Register of His-
                                                                              toric Places’’ because of the definition of ‘‘historic property’’ in sec-
                                                                              tion 300308 of the new title.
                                                                                                                          SECTION 305102
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305102 .................   16 U.S.C. 470w–7(a)          Pub. L. 89–665, title III, § 308(a), as added Pub.
                                                                                                                                        L. 106–355, § 2, Oct. 24, 2000, 114 Stat. 1385.


                                                                                                                          SECTION 305103
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305103 .................   16 U.S.C. 470w–7(b)          Pub. L. 89–665, title III, § 308(b), as added Pub.
                                                                                                                                        L. 106–355, § 2, Oct. 24, 2000, 114 Stat. 1385;
                                                                                                                                        Pub. L. 106–400, § 2, Oct. 30, 2000, 114 Stat.
                                                                                                                                        1675.


                                                                                                                          SECTION 305104
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305104 .................   16 U.S.C. 470w–7(c)(1)       Pub. L. 89–665, title III, § 308(c)(1) through (3),
                                                                                                           through (3)                  as added Pub. L. 106–355, § 2, Oct. 24, 2000,
                                                                                                                                        114 Stat. 1386.
                                                                                                         16 U.S.C. 470w–7(c)(4)       Pub. L. 89–665, title III, § 308(c)(4), as added
                                                                                                                                        Pub. L. 108–293, title VI, § 627, Aug. 9, 2004,
                                                                                                                                        118 Stat. 1066.


                                                                                                                          SECTION 305105
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)
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                                                                              305105 .................   16 U.S.C. 470w–7(d)          Pub. L. 89–665, title III, § 308(d), as added Pub.
                                                                                                                                        L. 106–355, § 2, Oct. 24, 2000, 114 Stat. 1388.




                                                                                                                                                                                            Exhibit A
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                                                                                In subsection (a), the words ‘‘Secretary of Homeland Security’’
                                                                              are substituted for ‘‘Commandant, United States Coast Guard’’ be-
                                                                              cause of 6 U.S.C. 112(a)(2), 468(b) and (h), 551(d), and 552(d) and
                                                                              the Department of Homeland Security Reorganization Plan of No-
                                                                              vember 25, 2002 (H. Doc. No. 108–16, 108th Cong., 1st Sess. (6
                                                                              U.S.C. 542 note)).
                                                                                                                          SECTION 305106
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305106 .................   16 U.S.C. 470w–8             Pub. L. 89–665, title III, § 309, as added Pub. L.
                                                                                                                                        106–355, § 3, Oct. 24, 2000, 114 Stat. 1389.

                                                                                 In subsection (b)(1)(B), the words ‘‘Secretary of Homeland Secu-
                                                                              rity’’ are substituted for ‘‘Coast Guard’’ because of 6 U.S.C.
                                                                              112(a)(2), 468(b) and (h), 551(d), and 552(d) and the Department of
                                                                              Homeland Security Reorganization Plan of November 25, 2002 (H.
                                                                              Doc. No. 108–16, 108th Cong., 1st Sess. (6 U.S.C. 542 note)).

                                                                                       Chapter 3053—National Center for
                                                                                     Preservation Technology and Training
                                                                              Sec.
                                                                              305301.       Definitions.
                                                                              305302.       National Center for Preservation Technology and Training.
                                                                              305303.       Preservation Technology and Training Board.
                                                                              305304.       Preservation grants.
                                                                              305305.       General provisions.
                                                                              305306.       Service preservation centers and offices.

                                                                                                                          SECTION 305301
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305301 .................   16 U.S.C. 470x–1             Pub. L. 89–665, title IV, § 402, as added Pub. L.
                                                                                                                                        102–575, title XL, § 4022, Oct. 30, 1992, 106
                                                                                                                                        Stat. 4766.


                                                                                                                          SECTION 305302
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305302 .................   16 U.S.C. 470x–2             Pub. L. 89–665, title IV, § 403, as added Pub. L.
                                                                                                                                        102–575, title XL, § 4022, Oct. 30, 1992, 106
                                                                                                                                        Stat. 4766.


                                                                                                                          SECTION 305303
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305303 .................   16 U.S.C. 470x–3             Pub. L. 89–665, title IV, § 404, as added Pub. L.
                                                                                                                                        102–575, title XL, § 4022, Oct. 30, 1992, 106
                                                                                                                                        Stat. 4766; Pub. L. 106–208, § 5(a)(14), May
                                                                                                                                        26, 2000, 114 Stat. 319.

                                                                                In subsection (c)(1), the words ‘‘or the Secretary’s designee’’ are
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                                                                              omitted as unnecessary because of section 2 of Reorganization Plan
                                                                              No. 3 of 1950 (5 U.S.C. App., 43 U.S.C. 1451 note).




                                                                                                                                                                                           Exhibit A
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                                                                                                                                     84
                                                                                                                          SECTION 305304
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305304 .................   16 U.S.C. 470x–4             Pub. L. 89–665, title IV, § 405, as added Pub. L.
                                                                                                                                        102–575, title XL, § 4022, Oct. 30, 1992, 106
                                                                                                                                        Stat. 4767.

                                                                                   The text of 16 U.S.C. 470x–4(e) is omitted as unnecessary.
                                                                                                                          SECTION 305305
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305305 .................   16 U.S.C. 470x–5             Pub. L. 89–665, title IV, § 406, as added Pub. L.
                                                                                                                                        102–575, title XL, § 4022, Oct. 30, 1992, 106
                                                                                                                                        Stat. 4767.

                                                                                 In subsection (c), the text of 16 U.S.C. 470x–5(c) (1st sentence)
                                                                              is omitted as unnecessary.
                                                                                                                          SECTION 305306
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305306 .................   16 U.S.C. 470x–6             Pub. L. 89–665, title IV, § 407, as added Pub. L.
                                                                                                                                        102–575, title XL, § 4022, Oct. 30, 1992, 106
                                                                                                                                        Stat. 4768.



                                                                                   Chapter 3055—National Building Museum
                                                                              Sec.
                                                                              305501.       Definitions.
                                                                              305502.       Cooperative agreement to operate musuem.
                                                                              305503.       Activities and functions.
                                                                              305504.       Matching grants to Committee.
                                                                              305505.       Annual report.

                                                                                                                          SECTION 305501
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305501 .................   16 U.S.C. 470w–5(f)          Pub. L. 89–665, title III, § 306(f), as added Pub.
                                                                                                                                        L. 96–515, title V, § 501, Dec. 12, 1980, 94
                                                                                                                                        Stat. 3003.


                                                                                                                          SECTION 305502
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305502 .................   16 U.S.C. 470w–5(a) (1st     Pub. L. 89–665, title III, § 306(a) (1st sentence),
                                                                                                           sentence), (b)               (b), as added Pub. L. 96–515, title V, § 501,
                                                                                                                                        Dec. 12, 1980, 94 Stat. 3002, 3003.

                                                                                The words ‘‘Administrator of General Services’’ are substituted
                                                                              for ‘‘Administrator of the General Services Administration’’ to use
                                                                              the correct title of the Administrator.
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                                                                                                                                                                                            Exhibit A
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                                                                                                                                     85
                                                                                                                          SECTION 305503
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305503 .................   16 U.S.C. 470w–5(a)          Pub. L. 89–665, title III, § 306(a) (last sen-
                                                                                                           (last sentence)              tence), (b), as added Pub. L. 96–515, title V,
                                                                                                                                        § 501, Dec. 12, 1980, 94 Stat. 3003.


                                                                                                                          SECTION 305504
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305504 .................   16 U.S.C. 470w–5(c)          Pub. L. 89–665, title III, § 306(c), Pub. L. 96–
                                                                                                                                        515, title V, § 501, Dec. 12, 1980, 94 Stat.
                                                                                                                                        3003.

                                                                                The word ‘‘grant’’ is substituted for ‘‘grants-in-aid’’ for clarity and
                                                                              consistency in the revised division. See page 48 of H. Rept. 96–1457
                                                                              (96th Cong., 2d Sess., 1980).
                                                                                                                          SECTION 305505
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              305505 .................   16 U.S.C. 470w–5(e)          Pub. L. 89–665, title III, § 306(e), as added Pub.
                                                                                                                                        L. 96–515, title V, § 501, Dec. 12, 1980, 94
                                                                                                                                        Stat. 3003.



                                                                                    Subdivision 5—Federal Agency Historic
                                                                                        Preservation Responsibilities
                                                                                   Chapter 3061—Program Responsibilities
                                                                                              and Authorities
                                                                              Subchapter I—In General
                                                                              Sec.
                                                                              306101. Assumption of responsibility for preservation of historic property.
                                                                              306102. Preservation program.
                                                                              306103. Recordation of historic property prior to alteration or demolition.
                                                                              306104. Agency Preservation Officer.
                                                                              306105. Agency programs and projects.
                                                                              306106. Review of plans of transferees of surplus federally owned historic property.
                                                                              306107. Planning and actions to minimize harm to National Historic Landmarks.
                                                                              306108. Effect of undertaking on historic property.
                                                                              306109. Costs of preservation as eligible project costs.
                                                                              306110. Annual preservation awards program.
                                                                              306111. Environmental impact statement.
                                                                              306112. Waiver of provisions in event of natural disaster or imminent threat to na-
                                                                                          tional security.
                                                                              306113. Anticipatory demolition.
                                                                              306114. Documentation of decisions respecting undertakings.
                                                                              Subchapter II—Lease, Exchange, or Management of Historic Property
                                                                              306121. Lease or exchange.
                                                                              306122. Contracts for managment of historic property.
                                                                              Subchapter III—Protection and Preservation of Resources
                                                                              306131. Standards and guidelines.
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                                                                                                                                                                                           Exhibit A
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                                                                                                               Subchapter I—In General
                                                                                                                          SECTION 306101
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306101(a) .............    16 U.S.C. 470h–2(a)(1)       Pub. L. 89–665, title I, § 110(a)(1), as added
                                                                                                                                        Pub. L. 96–515, title II, § 206, Dec. 12, 1980,
                                                                                                                                        94 Stat. 2996; Pub. L. 102–575, title XL,
                                                                                                                                        § 4012(1), Oct. 30, 1992, 106 Stat. 4760; Pub.
                                                                                                                                        L. 106–208, § 4, May 26, 2000, 114 Stat. 318.
                                                                              306101(b) .............    16 U.S.C. 470a(g)            Pub. L. 89–665, title I, § 101(g), (h), formerly
                                                                                                                                        § 101(f), (g), Oct. 15, 1966, 80 Stat. 915; Pub.
                                                                                                                                        L. 91–383, § 11, as added Pub. L. 94–458, § 2,
                                                                                                                                        Oct. 7, 1976, 90 Stat. 1942; Pub. L. 93–54,
                                                                                                                                        § 1(d), July 1, 1973, 87 Stat. 139; Pub. L. 96–
                                                                                                                                        205, title VI, § 608(a)(1), (2), Mar. 12, 1980,
                                                                                                                                        94 Stat. 92; Pub. L. 96–515, title II, § 201(a),
                                                                                                                                        Dec. 12, 1980, 94 Stat. 2992; redesignated as
                                                                                                                                        § 101(g), (h), Pub. L. 102–575, title XL,
                                                                                                                                        § 4006(a)(1), Oct. 30, 1992, 106 Stat. 4758.
                                                                              306101(c) .............    16 U.S.C. 470a(h)

                                                                                 In subsection (a)(3), the cross reference is treated as a cross ref-
                                                                              erence to 16 U.S.C. 470a(h), restated as subsection (c) of this sec-
                                                                              tion, rather than 16 U.S.C. 470a(g), restated as subsection (b) of
                                                                              this section, to correct an error in the source provision.
                                                                                 In subsection (c), the words ‘‘Administrator of General Services’’
                                                                              are substituted for ‘‘Administrator of the General Services Adminis-
                                                                              tration’’ to use the correct title of the Administrator.
                                                                                                                          SECTION 306102
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306102 .................   16 U.S.C. 470h–2(a)(2)       Pub. L. 89–665, title I, § 110(a)(2), as added
                                                                                                                                        Pub. L. 96–515, title II, § 206, Dec. 12, 1980,
                                                                                                                                        94 Stat. 2996; Pub. L. 102–575, title XL,
                                                                                                                                        § 4012(2), Oct. 30, 1992, 106 Stat. 4760.

                                                                                 In subsection (a), the words ‘‘except for programs and under-
                                                                              takings exempted’’ are substituted for ‘‘unless exempted’’ for clar-
                                                                              ity.
                                                                                 In subsection (b)(2), the words ‘‘as are listed in or may be eligible
                                                                              for the National Register’’ are omitted as unnecessary because of
                                                                              the definition of ‘‘historic property’’ in section 300308 of the new
                                                                              title.
                                                                                                                          SECTION 306103
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306103 .................   16 U.S.C. 470h–2(b)          Pub. L. 89–665, title I, § 110(b), as added Pub.
                                                                                                                                        L. 96–515, title II, § 206, Dec. 12, 1980, 94
                                                                                                                                        Stat. 2996.
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                                                                                                                                                                                           Exhibit A
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                                                                                                                          SECTION 306104
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306104 .................   16 U.S.C. 470h–2(c)          Pub. L. 89–665, title I, § 110(c), as added Pub.
                                                                                                                                        L. 96–515, title II, § 206, Dec. 12, 1980, 94
                                                                                                                                        Stat. 2996; Pub. L. 102–575, title XL,
                                                                                                                                        § 4006(b), Oct. 30, 1992, 106 Stat. 4757.


                                                                                                                          SECTION 306105
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306105 .................   16 U.S.C. 470h–2(d)          Pub. L. 89–665, title I, § 110(d), as added Pub.
                                                                                                                                        L. 96–515, title II, § 206, Dec. 12, 1980, 94
                                                                                                                                        Stat. 2996.


                                                                                                                          SECTION 306106
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306106 .................   16 U.S.C. 470h–2(e)          Pub. L. 89–665, title I, § 110(e), as added Pub.
                                                                                                                                        L. 96–515, title II, § 206, Dec. 12, 1980, 94
                                                                                                                                        Stat. 2996.


                                                                                                                          SECTION 306107
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306107 .................   16 U.S.C. 470h–2(f)          Pub. L. 89–665, title I, § 110(f), as added Pub.
                                                                                                                                        L. 96–515, title II, § 206, Dec. 12, 1980, 94
                                                                                                                                        Stat. 2996.


                                                                                                                          SECTION 306108
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306108 .................   16 U.S.C. 470f               Pub. L. 89–665, title I, § 106, Oct. 15, 1966, 80
                                                                                                                                        Stat. 917; Pub. L. 94—422, title II, § 201(3),
                                                                                                                                        Sept. 28, 1976, 90 Stat. 1320.

                                                                                The words ‘‘historic property’’ are substituted for ‘‘district, site,
                                                                              building, structure, or object that is included in or eligible for inclu-
                                                                              sion in the National Register’’ because of the definition of ‘‘historic
                                                                              property’’ in section 300308 of the new title.
                                                                                                                          SECTION 306109
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306109 .................   16 U.S.C. 470h–2(g)          Pub. L. 89–665, title I, § 110(g), as added Pub.
                                                                                                                                        L. 96–515, title II, § 206, Dec. 12, 1980, 94
                                                                                                                                        Stat. 2996.


                                                                                                                          SECTION 306110
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306110 .................   16 U.S.C. 470h–2(h)          Pub. L. 89–665, title I, § 110(h), as added Pub.
                                                                                                                                        L. 96–515, title II, § 206, Dec. 12, 1980, 94
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                                                                                                                                        Stat. 2997.




                                                                                                                                                                                          Exhibit A
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                                                                                The words ‘‘historic property’’ are substituted for ‘‘historic re-
                                                                              sources’’ for consistency because the defined term in the new divi-
                                                                              sion is ‘‘historic property’’.
                                                                                                                          SECTION 306111
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306111 .................   16 U.S.C. 470h–2(i)          Pub. L. 89–665, title I, § 110(i), as added Pub.
                                                                                                                                        L. 96–515, title II, § 206, Dec. 12, 1980, 94
                                                                                                                                        Stat. 2997.


                                                                                                                          SECTION 306112
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306112 .................   16 U.S.C. 470h–2(j)          Pub. L. 89–665, title I, § 110(j), as added Pub.
                                                                                                                                        L. 96–515, title II, § 206, Dec. 12, 1980, 94
                                                                                                                                        Stat. 2997.


                                                                                                                          SECTION 306113
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306113 .................   16 U.S.C. 470h–2(k)          Pub. L. 89–665, title I, § 110(k), as added Pub.
                                                                                                                                        L. 102–575, title XL, § 4012(3), Oct. 30, 1992,
                                                                                                                                        106 Stat. 4760.


                                                                                                                          SECTION 306114
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306114 .................   16 U.S.C. 470h–2(l)          Pub. L. 89–665, title I, § 110(l), as added Pub.
                                                                                                                                        L. 102–575, title XL, § 4012(3), Oct. 30, 1992,
                                                                                                                                        106 Stat. 4761; Pub. L. 106–208, § 5(a)(8),
                                                                                                                                        May 26, 2000, 114 Stat. 319.

                                                                                 The words ‘‘historic property’’ are substituted for ‘‘property in-
                                                                              cluded in or eligible for inclusion in the National Register’’ because
                                                                              of the definition of ‘‘historic property’’ in section 300308 of the new
                                                                              title. The words ‘‘to document a decision pursuant to this section’’
                                                                              are substituted for ‘‘pursuant to such section’’ for clarity. The lan-
                                                                              guage was not intended to limit agency authority to delegate re-
                                                                              sponsibilities under section 106 of the National Historic Preserva-
                                                                              tion Act ({Public Law 89–665, 80 Stat. 917). The words ‘‘agreement
                                                                              pursuant to regulations issued by the Council’’ are substituted for
                                                                              ‘‘a section 106 memorandum’’, and the word ‘‘agreement’’ is sub-
                                                                              stituted for ‘‘memorandum’’, for clarity and for consistency in the
                                                                              new section.
                                                                                        Subchapter II—Lease, Exchange, or Management of
                                                                                                       Historic Property
                                                                                                                          SECTION 306121
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306121(a) .............    16 U.S.C. 470h–3(a)          Pub. L. 89–665, title I, § 111(a), as added Pub.
                                                                                                                                        L. 96–515, title II, § 207, Dec. 12, 1980, 94
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                                                                                                                                        Stat. 2997; Pub. L. 102–575, title XL, § 4013,
                                                                                                                                        Oct. 30, 1992, 106 Stat. 4761.




                                                                                                                                                                                          Exhibit A
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                                                                                                                                     89
                                                                                                                 SECTION 306121—CONTINUED
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306121(b) .............    16 U.S.C. 470h–3(b)          Pub. L. 89–665, title I, § 111(b), as added Pub.
                                                                                                                                        L. 96–515, title II, § 207, Dec. 12, 1980, 94
                                                                                                                                        Stat. 2997.


                                                                                                                          SECTION 306122
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306122 .................   16 U.S.C. 470h–3(c)          Pub. L. 89–665, title I, § 111(c), as added Pub.
                                                                                                                                        L. 96–515, title II, § 207, Dec. 12, 1980, 94
                                                                                                                                        Stat. 2997.


                                                                                   Subchapter III—Protection and Preservation of Resources
                                                                                                                          SECTION 306131
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              306131 .................   16 U.S.C. 470h–4             Pub. L. 89–665, title I, § 112, as added Pub. L.
                                                                                                                                        102–575, title XL, § 4014, Oct. 30, 1992, 106
                                                                                                                                        Stat. 4761; Pub. L. 106–208, § 5(a)(9), May
                                                                                                                                        26, 2000, 114 Stat. 319.

                                                                                In subparagraphs (A) and (B) of subsection (a)(1), the words ‘‘the
                                                                              disciplines involved, specifically’’ are omitted as unnecessary.
                                                                                In subsection (a)(3), the words ‘‘within 2 years after October 20,
                                                                              1992’’ are omitted as obsolete.
                                                                                In subsection (b)(1), the word ‘‘property’’ is substituted for ‘‘re-
                                                                              sources’’ for consistency because the defined term in the new divi-
                                                                              sion is ‘‘property’’.

                                                                                                 Subdivision 6—Miscellaneous
                                                                                                     Chapter 3071—Miscellaneous
                                                                              Sec.
                                                                              307101.       World Heritage Convention.
                                                                              307102.       Effective date of regulations.
                                                                              307103.       Access to information.
                                                                              307104.       Inapplicability of division to White House, Supreme Court building, and
                                                                                               United States Capitol.
                                                                              307105.       Attorney’s fees and costs to prevailing parties in civil actions.
                                                                              307106.       Authorization for expenditure of appropriated funds.
                                                                              307107.       Donations and bequests of money, personal property, and less than fee in-
                                                                                               terests in historic property.
                                                                              307108.       Privately donated funds.

                                                                                                                          SECTION 307101
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              307101(a) .............    no source
                                                                              307101(b) through          16 U.S.C. 470a–1             Pub. 96–515, title IV, § 401, Dec. 12, 1980, 94
                                                                                (d).                                                    Stat. 3000; Pub. L. 103–437, § 6(d)(28), Nov.
                                                                                                                                        2, 1994, 108 Stat. 4584.
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                                                                              307101(e) .............    16 U.S.C. 470a–2             Pub. L. 96–515, title IV, § 402, Dec. 12, 1980, 94
                                                                                                                                        Stat. 3000.




                                                                                                                                                                                           Exhibit A
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                                                                                 Subsection (a) is added for clarity because of the definition of
                                                                              ‘‘Secretary’’ in section 300316 of the new title.
                                                                                                                          SECTION 307102
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              307102 .................   16 U.S.C. 470w–6             Pub. L. 89–665, title III, § 307, as added Pub. L.
                                                                                                                                        96–515, title V, § 501, Dec. 12, 1980, 94 Stat.
                                                                                                                                        3004; Pub. L. 103—437, § 6(d)(29), Nov. 2,
                                                                                                                                        1994, 108 Stat. 4584; Pub. L. 104–333, div. I,
                                                                                                                                        title VIII, § 814(d)(1)(O), (2)(E), Nov. 12, 1996,
                                                                                                                                        110 Stat. 4196; Pub. L. 106–176, title I,
                                                                                                                                        § 120(a)(2), Mar. 10, 2000, 114 Stat. 28; Pub.
                                                                                                                                        L. 106–208, § 5(a)(11)–(13), May 26, 2000, 114
                                                                                                                                        Stat. 319.


                                                                                                                          SECTION 307103
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              307103 .................   16 U.S.C. 470w–3             Pub. L. 89–665, title III, § 304, as added Pub. L.
                                                                                                                                        96–515, title V, § 501, Dec. 12, 1980, 94 Stat.
                                                                                                                                        3002; Pub. L. 102–575, title XL, § 4020, Oct.
                                                                                                                                        30, 1992, 106 Stat. 4765.


                                                                                                                          SECTION 307104
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              307104 .................   16 U.S.C. 470g               Pub. L. 89–665, title I, § 107, Oct. 15, 1966, 80
                                                                                                                                        Stat. 915.


                                                                                                                          SECTION 307105
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              307105 .................   16 U.S.C. 470w–4             Pub. L. 89–665, title III, § 305, as added Pub. L.
                                                                                                                                        96–515, title V, § 501, Dec. 12, 1980, 94 Stat.
                                                                                                                                        3002.


                                                                                                                          SECTION 307106
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              307106 .................   16 U.S.C. 470w–1             Pub. L. 89–665, title III, § 302, as added Pub. L.
                                                                                                                                        96–515, title V, § 501, Dec. 12, 1980, 94 Stat.
                                                                                                                                        3002.


                                                                                                                          SECTION 307107
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              307107 .................   16 U.S.C. 470w–2             Pub. L. 89–665, title III, § 303, as added Pub. L.
                                                                                                                                        96–515, title V, § 501, Dec. 12, 1980, 94 Stat.
                                                                                                                                        3002.


                                                                                                                          SECTION 307108
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)
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                                                                              307108 .................   16 U.S.C. 470h–1             Pub. L. 89–665, title I, § 109, as added Pub. L.
                                                                                                                                        96–244, § 1, May 19, 1980, 94 Stat. 346.




                                                                                                                                                                                             Exhibit A
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                                                                                In subsection (a), the word ‘‘included’’ is substituted for ‘‘listed’’
                                                                              for consistency in the revised subtitle.

                                                                                   Division B—Organizations and Programs
                                                                                   Subdivision 1—Administered by National
                                                                                                Park Service
                                                                                         Chapter 3081—American Battlefield
                                                                                                Protection Program
                                                                              Sec.
                                                                              308101.       Definition.
                                                                              308102.       Preservation assistance.
                                                                              308103.       Battlefield acquisition grant program.

                                                                                                                             SECTION 308101
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              308101 .................   16 U.S.C. 469k–1(c)(1)(D)       Pub. L. 111–11, title VII, subtitle D,
                                                                                                                                           § 7301(c)(1)(D), Mar. 30, 2009, 123 Stat. 1213.


                                                                                                                             SECTION 308102
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              308102 .................   16 U.S.C. 469k–1(b)             Pub. L. 111–11, title VII, subtitle D, § 7301(b),
                                                                                                                                           Mar. 30, 2009, 123 Stat. 1213.


                                                                                                                             SECTION 308103
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              308103(a) .............    16 U.S.C. 469k–                 Pub. L. 111–11, title VII, subtitle D,
                                                                                                           1(c)(1)(A), (C)                 § 7301(c)(1)(A) through (C), (2) through (6),
                                                                                                                                           Mar. 30, 2009, 123 Stat. 1213.
                                                                              308103(b) .............    16 U.S.C. 469k–
                                                                                                           1(c)(1)(B), (2)
                                                                              308103(c) .............    16 U.S.C. 469k–
                                                                                                           1(c)(1)(B), (3)
                                                                              308103(d) through          16 U.S.C. 469k–1(c)(4)
                                                                                (f).                       through (6)

                                                                                In subsection (f), reference to fiscal years 2009 to 2011 is omitted
                                                                              as obsolete.

                                                                                       Chapter 3083—National Underground
                                                                                          Railroad Network to Freedom
                                                                              Sec.
                                                                              308301.       Definition.
                                                                              308302.       Program.
                                                                              308303.       Preservation and interpretation of Underground Railroad history, historic
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                                                                                               sites, and structures.
                                                                              308304.       Authorization of appropriations.




                                                                                                                                                                                             Exhibit A
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                                                                                                                                       92
                                                                                                                            SECTION 308301
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              308301 .................   no source


                                                                                                                            SECTION 308302
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              308302 .................   16 U.S.C. 469l–1               Pub. L. 105–203, § 3, July 21, 1998, 112 Stat.
                                                                                                                                          679; Pub. L. 110–229, title III, subtitle G,
                                                                                                                                          § 361(a)(1), May 8, 2008, 122 Stat. 801.

                                                                                In subsection (a), the words ‘‘a program to be known as’’ are
                                                                              omitted as unnecessary. The words ‘‘national network’’ are sub-
                                                                              stituted for ‘‘program’’ because of the definition of ‘‘national net-
                                                                              work’’ in section 308301 of this title and for consistency with sub-
                                                                              sections (b) and (c).
                                                                                                                            SECTION 308303
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              308303 .................   16 U.S.C. 469l–2               Pub. L. 105–203, § 4, as added Pub. L. 106–291,
                                                                                                                                          title I, § 150(h), Oct. 11, 2000, 114 Stat. 959;
                                                                                                                                          Pub. L. 110–229, title III, subtitle G,
                                                                                                                                          § 361(a)(2), May 8, 2008, 122 Stat. 801.


                                                                                                                            SECTION 308304
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              308304 .................   16 U.S.C. 469l–3               Pub. L. 105–203, § 5, as added Pub. L. 110–229,
                                                                                                                                          title III, subtitle G, § 361(a)(3), May 8, 2008,
                                                                                                                                          122 Stat. 801.



                                                                                    Chapter 3085—National Women’s Rights
                                                                                               History Project
                                                                              Sec.
                                                                              308501.       National women’s rights history project national registry.
                                                                              308502.       National women’s rights history project partnerships network.

                                                                                                                            SECTION 308501
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              308501 .................   16 U.S.C. 469m(b)              Pub. L. 111–11, title VII, subtitle B, § 7111(b),
                                                                                                                                          Mar. 30, 2009, 123 Stat. 1200.

                                                                                In subsection (e), reference to fiscal years 2009 to 2011 is omitted
                                                                              as obsolete.
                                                                                                                            SECTION 308502
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)
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                                                                              308502 .................   16 U.S.C. 469m(c)              Pub. L. 111–11, title VII, subtitle B, § 7111(c),
                                                                                                                                          Mar. 30, 2009, 123 Stat. 1200.




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                                                                                In subsection (b)(1), the words ‘‘nongovernmental managing enti-
                                                                              ty’’ are substituted for ‘‘nongovernmental managing network’’ for
                                                                              consistency.
                                                                                In subsection (d), reference to fiscal years 2009 to 2011 is omitted
                                                                              as obsolete.

                                                                               Chapter 3087—National Maritime Heritage
                                                                              Sec.
                                                                              308701.       Policy.
                                                                              308702.       Definitions.
                                                                              308703.       National Maritime Heritage Grants Program.
                                                                              308704.       Funding.
                                                                              308705.       Designation of America’s National Maritime Museum.
                                                                              308706.       Regulations.
                                                                              308707.       Applicability of other authorities.

                                                                                                                          SECTION 308701
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              308701 .................   16 U.S.C. 5402               Pub. L. 103–451, § 3, Nov. 2, 1994, 108 Stat.
                                                                                                                                        4770.


                                                                                                                          SECTION 308702
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              308702 .................   16 U.S.C. 5406               Pub. L. 103–451, § 7, Nov. 2, 1994, 108 Stat.
                                                                                                                                        4777.

                                                                                   The definition of ‘‘Committee’’ is omitted as obsolete.
                                                                                                                          SECTION 308703
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              308703 .................   16 U.S.C. 5403               Pub. L. 103–451, § 4, Nov. 2, 1994, 108 Stat.
                                                                                                                                        4770.

                                                                                The text of 16 U.S.C. 5403(j) is omitted as obsolete.
                                                                                In subsection (a), the text of 16 U.S.C. 5403(a)(3) is omitted as
                                                                              obsolete.
                                                                                In subsections (b)(1) and (c)(1), the references are to paragraph
                                                                              (2) to correct errors in the source provisions.
                                                                                In subsection (d)(4), the word ‘‘records’’ is substituted for ‘‘books,
                                                                              documents, papers, and records’’ to eliminate unnecessary words.
                                                                                In subsection (f), the text of 16 U.S.C. 5403(f)(1) is omitted as ob-
                                                                              solete.
                                                                                In subsection (g), the text of 16 U.S.C. 5403(g)(2) is omitted as
                                                                              obsolete.
                                                                                In subsection (h)(2), the text of 16 U.S.C. 5403(h)(5) and (6) is
                                                                              omitted as obsolete.
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                                                                                                                          SECTION 308704
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              308704 .................   16 U.S.C. 5405               Pub. L. 103–451, § 6, Nov. 2, 1994, 108 Stat.
                                                                                                                                        4776; Pub. L. 105–85, div. A, title X,
                                                                                                                                        § 1026(c), Nov. 18, 1997, 111 Stat. 1878; Pub.
                                                                                                                                        L. 106–398, § 1 [div. C, title XXXV, § 3502(a)],
                                                                                                                                        Oct. 30, 2000, 114 Stat. 1654, 1654A–490;
                                                                                                                                        Pub. L. 110–181, div. C, title XXXV, § 3514,
                                                                                                                                        Jan. 28, 2008, 122 Stat. 594; Pub. L. 111–84,
                                                                                                                                        div. C, title XXXV, § 3509, Oct. 28, 2009, 123
                                                                                                                                        Stat. 2721; Pub. L. 111–383, div. A, title X,
                                                                                                                                        § 1075(n), Jan. 7, 2011, 124 Stat. 4378.

                                                                                 The text of 16 U.S.C. 5405(b)(2) is omitted as obsolete.
                                                                                 In subsection (a)(1)(C), before subparagraph (i), the words
                                                                              ‘‘whether collected before or after October 28, 2009’’ are omitted as
                                                                              obsolete.
                                                                                                                          SECTION 308705
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              308705 .................   16 U.S.C. 5409               Pub. L. 105–261, div. A, title X, § 1068, Oct. 17,
                                                                                                                                        1998, 112 Stat. 2135.


                                                                                                                          SECTION 308706
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              308706 .................   16 U.S.C. 5407               Pub. L. 103–451, § 8, Nov. 2, 1994, 108 Stat.
                                                                                                                                        4778.

                                                                                The words ‘‘within 1 year after November 2, 1994’’ are omitted
                                                                              as obsolete.
                                                                                                                          SECTION 308707
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              308707 .................   16 U.S.C. 5408               Pub. L. 103–451, § 9, Nov. 2, 1994, 108 Stat.
                                                                                                                                        4778.



                                                                                   Chapter 3089—Save America’s Treasures
                                                                                                 Program
                                                                              Sec.
                                                                              308901.       Definitions.
                                                                              308902.       Establishment.
                                                                              308903.       Grants.
                                                                              308904.       Guidelines and regulations.
                                                                              308905.       Authorization of appropriations.

                                                                                                                          SECTION 308901
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              308901 .................   16 U.S.C. 469o(b)            Pub. L. 111–11, title VII, subtitle D, § 7303(b),
                                                                                                                                        Mar. 30, 2009, 123 Stat. 1216.
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                                                                                In paragraph (4), the words ‘‘in reference to a collection or his-
                                                                              toric property’’ are added for clarity.




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                                                                                                                           SECTION 308902
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              308902 .................   16 U.S.C. 469o(a), (c)(1)     Pub. L. 111–11, title VII, subtitle D, § 7303(a),
                                                                                                                                         (c)(1), Mar. 30, 2009, 123 Stat. 1216, 1217.

                                                                                In subsection (a), the words ‘‘The purpose of this section is to au-
                                                                              thorize within the Department of the Interior the Save America’s
                                                                              Treasures Program’’ are omitted as unnecessary. The words ‘‘to be
                                                                              carried out by the Director of the National Park Service’’ are omit-
                                                                              ted because the definition of ‘‘Secretary’’ in section 308901 of the
                                                                              new title provides that the Secretary acts through the Director and
                                                                              because this is the only place in the chapter where the Director is
                                                                              mentioned.
                                                                                In subsection (b), the words ‘‘subject to paragraph (6)(A)(ii)’’ are
                                                                              omitted as unnecessary.
                                                                                                                           SECTION 308903
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              308903 .................   16 U.S.C. 469o(c)(2)          Pub. L. 111–11, title VII, subtitle D, § 7303(c)(2)
                                                                                                           through (7)                   through (7), Mar. 30, 2009, 123 Stat. 1217.

                                                                                 In subsections (b) and (c), the word ‘‘competitive’’ is omitted for
                                                                              consistency in the chapter.
                                                                                 In subsection (e)(1)(A), the words ‘‘by the Secretary’’ are omitted
                                                                              as unnecessary.
                                                                                 In subsection (e)(1)(B), the word ‘‘organization’’ is substituted for
                                                                              ‘‘entity’’ for consistency.
                                                                                                                           SECTION 308904
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              308904 .................   16 U.S.C. 469o(d)             Pub. L. 111–11, title VII, subtitle D, § 7303(d),
                                                                                                                                         Mar. 30, 2009, 123 Stat. 1218.


                                                                                                                           SECTION 308905
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              308905 .................   16 U.S.C. 469o(e)             Pub. L. 111–11, title VII, subtitle D, § 7303(e),
                                                                                                                                         Mar. 30, 2009, 123 Stat. 1218.



                                                                               Chapter 3091—Commemoration of Former
                                                                                             Presidents
                                                                              Sec.
                                                                              309101.       Sites and structures that commemorate former Presidents.

                                                                                                                           SECTION 309101
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              309101 .................   16 U.S.C. 467b(a)             Pub. L. 96–199, title I, § 120(a) through (c),
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                                                                                                           through (c)                   Mar. 5, 1980, 94 Stat. 73; Pub. L. 103–437,
                                                                                                                                         § 6(d)(26), Nov. 2, 1994, 108 Stat. 4584.




                                                                                                                                                                                             Exhibit A
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                                                                                In subsection (d), the words ‘‘and he shall administer the site in
                                                                              accordance with sections 1, 2, 3, and 4 of this title, as amended and
                                                                              supplemented, and sections 461 to 467 of this title, as amended’’
                                                                              are omitted as unnecessary because a site established under this
                                                                              section is a System unit that the Secretary administers under 16
                                                                              U.S.C. 1, 2, 3, 4, and 461 to 467, restated as section 100101(a),
                                                                              chapter 1003, sections 100751(a), 100752, 100753, and 102101, and
                                                                              chapter 3201 of the new title.

                                                                                   Subdivision 2—Administered Jointly With
                                                                                             National Park Service
                                                                               Chapter 3111—Preserve America Program
                                                                              Sec.
                                                                              311101.       Definitions.
                                                                              311102.       Establishment.
                                                                              311103.       Designation of Preserve America Communities.
                                                                              311104.       Regulations.
                                                                              311105.       Authoriztion of appropriations.

                                                                                                                          SECTION 311101
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              311101 .................   16 U.S.C. 469n(b)            Pub. L. 111–11, title VII, subtitle D, § 7302(b),
                                                                                                                                        Mar. 30, 2009, 123 Stat. 1214.


                                                                                                                          SECTION 311102
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              311102 .................   16 U.S.C. 469n(c)            Pub. L. 111–11, title VII, subtitle D, § 7302(c),
                                                                                                                                        Mar. 30, 2009, 123 Stat. 1214.


                                                                                                                          SECTION 311103
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              311103 .................   16 U.S.C. 469n(d)            Pub. L. 111–11, title VII, subtitle D, § 7302(d),
                                                                                                                                        Mar. 30, 2009, 123 Stat. 1215.


                                                                                                                          SECTION 311104
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              311104 .................   16 U.S.C. 469n(e)            Pub. L. 111–11, title VII, subtitle D, § 7302(e),
                                                                                                                                        Mar. 30, 2009, 123 Stat. 1216.


                                                                                                                          SECTION 311105
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              311105 .................   16 U.S.C. 469n(f)            Pub. L. 111–11, title VII, subtitle D, § 7302(f),
                                                                                                                                        Mar. 30, 2009, 123 Stat. 1216.
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                                                                                      Subdivision 3—Administered by Other
                                                                                          Than National Park Service
                                                                                   Chapter 3121—National Trust for Historic
                                                                                      Preservation in the United States
                                                                              Sec.
                                                                              312101.       Definitions.
                                                                              312102.       Establishment and purposes.
                                                                              312103.       Principal office.
                                                                              312104.       Board of trustees.
                                                                              312105.       Powers.
                                                                              312106.       Consultation with National Park System Advisory Board.

                                                                                                                          SECTION 312101
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              312101 .................   no source


                                                                                                                          SECTION 312102
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              312102 .................   16 U.S.C. 468                Oct. 26, 1949, ch. 735, § 1, 63 Stat. 927.


                                                                                                                          SECTION 312103
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              312103 .................   16 U.S.C. 468a               Oct. 26, 1949, ch. 735, § 2, 63 Stat. 927.

                                                                                   The words ‘‘inhabitant and’’ are omitted as unnecessary.
                                                                                                                          SECTION 312104
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              312104 .................   16 U.S.C. 468b               Oct. 26, 1949, ch. 735, § 3, 63 Stat. 928; July 28,
                                                                                                                                       1953, ch. 255, 67 Stat. 228.


                                                                                                                          SECTION 312105
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              312105 .................   16 U.S.C. 468c               Oct. 26, 1949, ch. 735, § 4, 63 Stat. 928.

                                                                                 In subsection (h), the words ‘‘local agencies’’ are substituted for
                                                                              ‘‘municipal departments or agencies’’ for consistency in the revised
                                                                              title and with other titles of the United States Code.
                                                                                                                          SECTION 312106
                                                                                   Revised Section           Source (U.S. Code)                    Source (Statutes at Large)

                                                                              312106 .................   16 U.S.C. 468d               Oct. 26, 1949, ch. 735, § 5, 63 Stat. 929.

                                                                                The words ‘‘National Park System Advisory Board’’ are sub-
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                                                                              stituted for ‘‘Advisory Board on National Parks, Historic Sites,
                                                                              Buildings, and Museums’’ because the Boared was renamed when




                                                                                                                                                                                            Exhibit A
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                                                                              section 3 of the Act of August 21, 1935 (known as the Historic
                                                                              Sites, Buildings, and Antiquities Act (ch. 593, 49 Stat. 667)) was
                                                                              amended by section 9 of Public Law 91–383, as added by section
                                                                              2 of Public Law 94–458 (90 Stat. 1940).

                                                                                   Chapter 3123—Commission for the
                                                                               Preservation of America’s Heritage Abroad
                                                                              Sec.
                                                                              312301.       Definition.
                                                                              312302.       Declaration of national interest.
                                                                              312303.       Establishment.
                                                                              312304.       Duties and powers; administrative support.
                                                                              312305.       Reports.

                                                                                                                             SECTION 312301
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              312301 .................   no source


                                                                                                                             SECTION 312302
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              312302 .................   16 U.S.C. 469j(a)               Pub. L. 99–83, title XIII, § 1303(a), Aug. 8,
                                                                                                                                           1985, 99 Stat. 280.


                                                                                                                             SECTION 312303
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              312303(a) .............    16 U.S.C. 469j(b)               Pub. L. 99–83, title XIII, § 1303(b), (d) through
                                                                                                                                           (f), Aug. 8, 1985, 99 Stat. 280.
                                                                              312303(b) through          16 U.S.C. 469j(d)
                                                                                (f).                       through (f)

                                                                                In subsection (c), the text of 16 U.S.C. 469j(d)(2)(B) is omitted as
                                                                              obsolete.
                                                                                                                             SECTION 312304
                                                                                   Revised Section           Source (U.S. Code)                       Source (Statutes at Large)

                                                                              312304(a) .............    16 U.S.C. 469j(c)               Pub. L. 99–83, title XIII, § 1303(c), (g), Aug. 8,
                                                                                                                                           1985, 99 Stat. 280, 281.
                                                                              312304(b) .............    16 U.S.C. 469j(g)

                                                                                In subsection (a)(2), the word ‘‘Secretary’’ is substituted for ‘‘De-
                                                                              partment’’ because of 22 U.S.C. 2651 and 2651a(a).
                                                                                In subsection (b)(3), the words ‘‘under section 5376 of title 5’’ are
                                                                              substituted for ‘‘for grade GS–18 of the General Schedule (5 U.S.C.
                                                                              5332(a))’’ because of section 529 [title I, § 101(c)(1)] of the Treasury,
                                                                              Postal Service, and General Government Appropriations Act, 1991
                                                                              (Public Law 101–509, 5 U.S.C. 5376 note).
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                                                                                                                                                                                              Exhibit A
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                                                                                                                                       99
                                                                                                                             SECTION 312305
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              312305 .................   16 U.S.C. 469j(h)              Pub. L. 99–83, title XIII, § 1303(h), Aug. 8,
                                                                                                                                          1985, 99 Stat. 282.

                                                                                The words ‘‘and to each House of Congress’’ are omitted pursuant
                                                                              to section 3003 of the Federal Reports Elimination and Sunset Act
                                                                              of 1995 (31 U.S.C. 1113 note). See the 4th item on page 174 of
                                                                              House Document No. 103–7.

                                                                                   Chapter 3125—Preservation of Historical
                                                                                           and Archeological Data
                                                                              Sec.
                                                                              312501.       Definition.
                                                                              312502.       Threat of irreparable loss or destruction of significant scientific, pre-
                                                                                               historical, historical, or archeological data by Federal construction
                                                                                               projects.
                                                                              312503.       Survey and recovery by Secretary.
                                                                              312504.       Progress reports by Secretary on surveys and work undertaken as result
                                                                                               of surveys.
                                                                              312505.       Notice of dam construction.
                                                                              312506.       Administration.
                                                                              312507.       Assistance to Secretary by Federal agencies responsible for construction
                                                                                               projects.
                                                                              312508.       Cost of identification, surveys, evaluation, and data discovery with respect
                                                                                               to historic property.

                                                                                                                             SECTION 312501
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              312501 .................   16 U.S.C. 469c–1               Pub. L. 86–523, § 8, as added Pub. L. 96–205,
                                                                                                                                          title VI, § 608(b)(2), Mar. 12, 1980, 94 Stat.
                                                                                                                                          92.

                                                                                The words ‘‘the Trust Territory of the Pacific Islands’’ are omit-
                                                                              ted as obsolete. See note at 48 U.S.C. prec. 1681. For continued ap-
                                                                              plication of certain laws of the United States in certain cases, see
                                                                              the Covenant to Establish a Commonwealth of the Northern Mar-
                                                                              iana Islands in Political Union with the United States of America
                                                                              (48 U.S.C. 1801 note), the Compact of Free Association between the
                                                                              Government of the United States of America and the Governments
                                                                              of the Marshall Islands and the Federated States of Micronesia (48
                                                                              U.S.C. 1901 note), and the Compact of Free Association between
                                                                              the Government of the United States of America and the Govern-
                                                                              ment of Palau (48 U.S.C. 1931 note).
                                                                                                                             SECTION 312502
                                                                                   Revised Section           Source (U.S. Code)                      Source (Statutes at Large)

                                                                              312502 .................   16 U.S.C. 469a–1               Pub. L. 86–523, § 3, as added Pub. L. 93–291,
                                                                                                                                          § 1(3), May 24, 1974, 88 Stat. 174.
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                                                                                                                                                                                           Exhibit A
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                                                                                                                                  100
                                                                                                                          SECTION 312503
                                                                                   Revised Section           Source (U.S. Code)                   Source (Statutes at Large)

                                                                              312503 .................   16 U.S.C. 469a–2            Pub. L. 86–523, § 4, as added Pub. L. 93–291,
                                                                                                                                       § 1(3), May 24, 1974, 88 Stat. 174.


                                                                                                                          SECTION 312504
                                                                                   Revised Section           Source (U.S. Code)                   Source (Statutes at Large)

                                                                              312504 .................   16 U.S.C. 469a–3            Pub. L. 86–523, § 5, formerly § 2(c), (e), June 27,
                                                                                                                                       1960, 74 Stat. 220, renumbered as § 5 and
                                                                                                                                       amended Pub. L. 93–291, § 1(4), (6), (7), May
                                                                                                                                       24, 1974, 88 Stat. 175; Pub. L. 96–205, title
                                                                                                                                       VI, § 608(b)(1), Mar. 12, 1980, 94 Stat. 92;
                                                                                                                                       Pub. L. 103–437, § 6(d)(27), Nov. 2, 1994, 108
                                                                                                                                       Stat. 4584; Pub. L. 104–333, div. I, title VIII,
                                                                                                                                       § 814(d)(2)(B), Nov. 12, 1996, 110 Stat. 4196.


                                                                                                                          SECTION 312505
                                                                                   Revised Section           Source (U.S. Code)                   Source (Statutes at Large)

                                                                              312505 .................   16 U.S.C. 469a              Pub. L. 86–523, § 2, formerly § 2(a), June 27,
                                                                                                                                       1960, 74 Stat. 220, renumbered as § 2 and
                                                                                                                                       amended Pub. L. 93–291, § 1(2), (5), May 24,
                                                                                                                                       1974, 88 Stat. 174, 175.

                                                                                 In subsection (a), the words ‘‘Federal agency’’ are substituted for
                                                                              ‘‘agency of the United States’’ for consistency in the revised title
                                                                              and with other titles of the United States Code.
                                                                                                                          SECTION 312506
                                                                                   Revised Section           Source (U.S. Code)                   Source (Statutes at Large)

                                                                              312506 .................   16 U.S.C. 469b              Pub. L. 86–523, § 6, formerly § 3, June 27, 1960,
                                                                                                                                       74 Stat. 221, renumbered as § 6 and amended
                                                                                                                                       Pub. L. 93–291, § 1(8), May 24, 1974, 88 Stat.
                                                                                                                                       175.


                                                                                                                          SECTION 312507
                                                                                   Revised Section           Source (U.S. Code)                   Source (Statutes at Large)

                                                                              312507(a) .............    16 U.S.C. 469c(a)           Pub. L. 86–523, § 7, formerly § 4, June 27, 1960,
                                                                                                           through (c)                 74 Stat. 221, renumbered as § 7 and amended
                                                                                                                                       Pub. L. 93–291, § 1(9), May 24, 1974, 88 Stat.
                                                                                                                                       175; Pub. L. 95–625, title VI, § 603, Nov. 10,
                                                                                                                                       1978, 92 Stat. 3518.
                                                                              312507(b) .............    16 U.S.C. 469c(d)

                                                                                In subsection (a), the text of 16 U.S.C. 469c(b) and (c) is omitted
                                                                              as obsolete. The words ‘‘cost of the’’ are added for clarity.
                                                                                In subsection (b), the words ‘‘Beginning fiscal year 1979’’ are
                                                                              omitted as obsolete.
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                                                                                                                                                                                           Exhibit A
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                                                                                                                                    101
                                                                                                                            SECTION 312508
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              312508 .................   16 U.S.C. 469c–2              Pub. L. 96–515, title II, § 208, Dec. 12, 1980, 94
                                                                                                                                         Stat. 2997; Pub. L. 103–437, § 6(d)(28), Nov.
                                                                                                                                         2, 1994, 108 Stat. 4584.


                                                                                            Division C—American Antiquities
                                                                                   Chapter 3201—Policy and Administrative
                                                                                                Provisions
                                                                              Sec.
                                                                              320101.       Declaration of national policy.
                                                                              320102.       Powers and duties of Secretary.
                                                                              320103.       Cooperation with governmental and private agencies and individuals.
                                                                              320104.       Jurisdiction of States in acquired land.
                                                                              320105.       Criminal penalties.
                                                                              320106.       Limitation on obligation or expenditure of appropriated amounts.

                                                                                                                            SECTION 320101
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              320101 .................   16 U.S.C. 461                 Aug. 21, 1935, ch. 593, § 1, 49 Stat. 666.


                                                                                                                            SECTION 320102
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              320102 .................   16 U.S.C. 462(a) through      Aug. 21, 1935, ch. 593, § 2(a) through (k) (1st
                                                                                                           (k) (1st sentence)           sentence), 49 Stat. 666; Pub. L. 89–249, § 8,
                                                                                                                                        Oct. 9, 1965, 79 Stat. 971.


                                                                                                                            SECTION 320103
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              320103 .................   16 U.S.C. 464                 Aug. 21, 1935, ch. 593, § 4, 49 Stat. 668.


                                                                                                                            SECTION 320104
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              320104 .................   16 U.S.C. 465                 Aug. 21, 1935, ch. 593, § 5, 49 Stat. 668.


                                                                                                                            SECTION 320105
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              320105 .................   no source

                                                                                   The section is added for informational purposes.
                                                                                                                            SECTION 320106
                                                                                   Revised Section           Source (U.S. Code)                     Source (Statutes at Large)

                                                                              320106(a) .............    16 U.S.C. 466(c)              Aug. 21, 1935, ch. 593, § 6(a), (c), 49 Stat. 668;
                                                                                                                                        Pub. L. 102–575, title XL, § 4023, Oct. 30,
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                                                                                                                                        1992, 106 Stat. 4768.
                                                                              320106(b) .............    16 U.S.C. 466(a)




                                                                                                                                                                                            Exhibit A
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                                                                                The words ‘‘Except as provided in subsection (b) of this section’’
                                                                              are omitted as obsolete.

                                                                                     Chapter 3203—MONUMENTS, RUINS,
                                                                                     SITES, AND OBJECTS OF ANTIQUITY
                                                                              Sec.
                                                                              320301.       National monuments.
                                                                              320302.       Permits.
                                                                              320303.       Regulations.

                                                                                                                          SECTION 320301
                                                                                   Revised Section           Source (U.S. Code)                   Source (Statutes at Large)

                                                                              320301(a) through          16 U.S.C. 431               June 8, 1906, ch. 3060, § 2, 34 Stat. 225.
                                                                                (c).
                                                                              320301(d) .............    16 U.S.C. 431a              Sept. 14, 1950, ch. 950, § 1 (proviso relating to
                                                                                                                                       national monuments), 64 Stat. 849.


                                                                                In subsection (c), the word ‘‘parcel’’ is substituted for ‘‘tract’’ for
                                                                              consistency in this section.
                                                                                In subsection (d), the word ‘‘further’’ is omitted as obsolete.

                                                                                                                          SECTION 320302
                                                                                   Revised Section           Source (U.S. Code)                   Source (Statutes at Large)

                                                                              320302 .................   16 U.S.C. 432 (1st sen-     June 8, 1906, ch. 3060, § 3, 34 Stat. 225; July
                                                                                                           tence)                      26, 1947, ch. 343, title II, § 205(a), 61 Stat.
                                                                                                                                       501.


                                                                                In subsection (a), section 205(a) of the National Security Act of
                                                                              1947 (ch. 343, 61 Stat. 501) was repealed by section 53 of the Act
                                                                              of August 10, 1956 (ch. 1041, 70A Stat. 676). Section 1 of the Act
                                                                              of August 10, 1956 (70A Stat. 1), enacted Title 10, ‘‘Armed Forces’’,
                                                                              and under sections 3010 to 3013 of title 10, the Department of the
                                                                              Army remains under the administrative supervision of the Sec-
                                                                              retary of the Army.
                                                                                                                          SECTION 320303
                                                                                   Revised Section           Source (U.S. Code)                   Source (Statutes at Large)

                                                                              320303 .................   16 U.S.C. 432 (last sen-    June 8, 1906, ch. 3060, § 4, 34 Stat. 225.
                                                                                                           tence)


                                                                                                         SECTION 4—CONFORMING AMENDMENTS

                                                                                                                            SECTION 4(a)

                                                                                Section 4(a) of the bill transfers various provisions to title 18,
                                                                              United States Code, because the material more appropriately be-
                                                                              longs in title 18.
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                                                                                                                                                                                         Exhibit A
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                                                                                                                           SECTION 4(a)(1)

                                                                               Section 4(a)(1) adds new sections 1865 and 1866 to title 18,
                                                                              United States Code, as follows:
                                                                                                                              SECTION 1865
                                                                                   Revised Section            Source (U.S. Code)                   Source (Statutes at Large)

                                                                              1865(a) .................   16 U.S.C. 3 (1st sentence   Aug. 25, 1916, ch. 408, § 3 (1st sentence words
                                                                                                            words after ‘‘National      after ‘‘National Park Service’’), 39 Stat. 535;
                                                                                                            Park Service’’)             June 2, 1920, ch. 218, § 5 (last sentence words
                                                                                                                                        after ‘‘for other purposes’ ’’ and before pro-
                                                                                                                                        viso), 41 Stat. 732.
                                                                              1865(b) .................   16 U.S.C. 1912(d)           Pub. L. 94–429, § 13(d), Sept. 28, 1976, 90 Stat.
                                                                                                                                        1345.
                                                                              1865(c) .................   16 U.S.C. 413               Mar. 3, 1897, ch. 372, §§ 1, 2, 5, 29 Stat. 621,
                                                                                                                                        622.
                                                                              1865(d) .................   16 U.S.C. 414.

                                                                                In subsection (a), the words ‘‘fined under this title’’ are sub-
                                                                              stituted for ‘‘punished by a fine of not more than $500’’ for consist-
                                                                              ency with chapter 227.
                                                                                In subsection (b), the words ‘‘fined under this title’’ are sub-
                                                                              stituted for ‘‘fined not more than $2,500’’ for consistency with chap-
                                                                              ter 227.
                                                                                In subsection (c), the words ‘‘fined under this title but not less
                                                                              than $10’’ are substituted for ‘‘deemed guilty of a misdemeanor,
                                                                              punishable by a fine of not less than $10 nor more than $1,000’’
                                                                              for consistency with chapter 227.
                                                                                In subsection (d), the words ‘‘fined under this title’’ are sub-
                                                                              stituted for ‘‘guilty of a misdemeanor, punishable by a fine of not
                                                                              more than $1,000’’ for consistency with chapter 227.
                                                                                                                              SECTION 1866
                                                                                   Revised Section            Source (U.S. Code)                   Source (Statutes at Large)

                                                                              1866(a) .................   16 U.S.C. 462(k) (last      Aug. 21, 1935, ch. 593, § 2(k) (last sentence), 49
                                                                                                            sentence)                   Stat. 667.
                                                                              1866(b) .................   16 U.S.C. 433               June 8, 1906, ch. 3060, § 1, 34 Stat. 225.

                                                                                 In subsection (a), the provision is transferred to title 18 to make
                                                                              clear that it is a criminal penalty. The words ‘‘fined under this
                                                                              title’’ are substituted for ‘‘punished by a fine of not more than
                                                                              $500’’ for consistency with chapter 227.
                                                                                 In subsection (b), the words ‘‘fined under this title’’ are sub-
                                                                              stituted for ‘‘fined in a sum of not more than $500’’ for consistency
                                                                              with chapter 227.
                                                                                                                           SECTION 4(a)(2)

                                                                                 Section 4(a)(2) makes a conforming amendment to the analysis
                                                                              of chapter 91 of title 18, United States Code.
                                                                                                                              SECTION 4(b)

                                                                                 Section 4(b) of the bill transfers 16 U.S.C. 457 to title 28, United
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                                                                              States Code, because the material more appropriately belongs in
                                                                              title 28.




                                                                                                                                                                                           Exhibit A
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                                                                                                                              SECTION 4(b)(1)

                                                                                Section 4(b)(1) adds a new chapter 190 to title 28, United States
                                                                              Code, as follows:
                                                                                                             CHAPTER 190—MISCELLANEOUS
                                                                              Sec.
                                                                              5001.       Civil action for death or personal injury in a place subject to exclusive juris-
                                                                                                diction of United States.

                                                                                                                                SECTION 5001
                                                                                   Revised Section               Source (U.S. Code)                   Source (Statutes at Large)

                                                                              5001 .....................     16 U.S.C. 457               Feb. 1, 1928, ch. 15, 45 Stat. 54.

                                                                                 In subsection (a), the words ‘‘civil action’’ are substituted for ‘‘ac-
                                                                              tion’’ for consistency in the revised title and with other titles of the
                                                                              United States Code.
                                                                                                                              SECTION 4(b)(2)

                                                                                Section 4(b)(2) makes a conforming amendment to the table of
                                                                              contents of part VI of title 28, United States Code.
                                                                                                                                SECTION 4(c)

                                                                                Section 4(c) of the bill restates section 1 of the Act of May 26,
                                                                              2000 (Public Law 106–206, 114 Stat. 314), so that it does not apply
                                                                              to the National Park Service.
                                                                                                                                 SECTION 4(c)
                                                                                   Revised Section               Source (U.S. Code)                   Source (Statutes at Large)

                                                                              4(c) .......................   16 U.S.C. 460l–6d (less     Pub. L. 106–206, § 1 (less National Park Serv-
                                                                                                               National Park Service)      ice), May 26, 2000, 114 Stat. 314.

                                                                                In subsection (e)(1), the words ‘‘in accordance with the formula
                                                                              and purposes established for the Recreational Fee Demonstration
                                                                              Program (Public Law 104–134)’’ are omitted as obsolete because
                                                                              the Program was repealed by section 813(b) of the Federal Lands
                                                                              Recreation Enhancement Act (Public Law 108–447, 118 Stat. 3390).
                                                                                                                                SECTION 4(d)

                                                                                Section 4(d) of the bill restates section 512 of the Credit Card Ac-
                                                                              countability Responsibility and Disclosure Act of 2009 (Public Law
                                                                              111–24, 123 Stat. 1764) so that it applies only to the National
                                                                              Wildlife Refuge System.
                                                                                                                                 SECTION 4(d)
                                                                                   Revised Section               Source (U.S. Code)                   Source (Statutes at Large)

                                                                              4(d) .......................   16 U.S.C. 1a–7b (relating   Pub. L. 111–24, title V, § 512 (relating to Na-
                                                                                                               to National Wildlife        tional Wildlife Refuge System), May 22, 2009,
                                                                                                               Refuge System)              123 Stat. 1764.
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                                                                                                 SECTION 5—CONFORMING CROSS-REFERENCES

                                                                                Section 5 of the bill makes conforming cross-references in laws
                                                                              classified to various titles of the United States Code. These amend-
                                                                              ments are necessary because of the restatement of the source provi-
                                                                              sions in section 3 of the bill.

                                                                                           SECTION 6—TRANSITIONAL AND SAVINGS PROVISIONS

                                                                                   Section 6 of the bill contains transitional and savings provisions.

                                                                                                                  SECTION 7—REPEALS

                                                                                Section 7 of the bill repeals provisions replaced by the bill, along
                                                                              with unnecessary and obsolete provisions (see ‘‘Disposition Table’’
                                                                              above).

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                                                                                                                                                                           Exhibit A
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